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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ARMANDO LEZA,
                                                  Case No. SA-17-CA-0101-FB
               Petitioner,
                                                  PETITION FOR WRIT OF HABEAS
       v.                                         CORPUS PURSUANT TO 28 U.S.C.
                                                  § 2254 BY A PERSON IN STATE
LORIE DAVIS, Director, Texas Department of        CUSTODY
Criminal Justice, Correctional Institutions
Division,                                         (Death Penalty Habeas Corpus Case)

               Respondent.



       Armando Leza (“Leza”), through his attorneys, the Office of the Federal Public Defender,

District of Nevada, files this Petition for Writ of Habeas Corpus on the grounds that he is

unlawfully held in custody, in violation of the laws and Constitution of the United States of

America, by the Texas Department of Criminal Justice, Lorie Davis, Director.

       DATED this 9th day of January, 2018.
                                                   Respectfully submitted
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INTRODUCTION

       Armando Leza is Intellectually Disabled (“ID”), a condition that he has had since birth.

His mother drank while pregnant, causing Leza to suffer from neurological deficits associated with

Fetal Alcohol Spectrum Disorder (“FASD”). As a result, Leza has exhibited severe language

deficits, learning disabilities, and impulsivity from infancy. Growing up, Leza was not toilet

trained or able to dress himself until the age of seven. By the age of sixteen, Leza was diagnosed

with several mental health problems and was never able to live independently or sustain long-term

employment. Trial counsel failed to investigate and develop evidence of Leza’s impairments, and

as a result, the jury convicted and sentenced Leza to death for the murder of Caryl Jean Allen

without hearing any evidence of his neurological deficits. Because Leza is ID, his death sentence

is unconstitutional under Atkins v. Virginia, 536 U.S. 304 (2002) and therefore, must be

overturned.

       In addition to Leza’s unconstitutional death sentence, his trial was riddled with faulty

evidence. To connect Leza to the crime, the State focused on two sets of bloody footprints found

in the victim’s apartment and presented testimony that a drop of the victim’s blood was found on

the top of Leza’s left shoe. This testimony was blatantly misleading for two reasons. First, a test

of Leza’s left shoe, at most, confirmed the presence of Allen’s DNA—there was never a conclusive

finding the DNA was blood. As Leza had been a guest in Allen’s apartment on previous occasions,

the presence of her DNA, which could include skin cells and salvia, was unremarkable. And

second, testing showed no evidence of blood on the bottom of Leza’s shoes. Thus the bloody

footprints could not be tied to Leza.

       The State also focused the jury’s attention on a videotaped interview Leza had with the

police. While the jury watched Leza confess, the jury never heard that Leza’s neurological

impairments made him uniquely susceptible to the officer’s pressuring questions, and further, that

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Leza’s statements were made while he was severely sleep-deprived and under the influence of

drugs (heroin and possibly cocaine). More importantly, the jury should never have heard Leza’s

interview with the police because the statements were obtained following an unconstitutional

waiver caused by a Miranda warning that Leza’s was unable to understand due to his intellectual

disabilities.

        The most misleading omission, however, was the trial court’s failure to admit into evidence

co-defendant Delores Trevino’s guilty plea admitting to “intentionally caus[ing] the death of”

Allen “by cutting and stabbing” her with a knife. Further, the State failed to disclose that Trevino

admitted to asking “God to forgive me” following the killing. And while the jury did not know

about Trevino’s admissions, the State nonetheless improperly argued to the jury there was

sufficient evidence to establish Leza was the sole actor responsible for stabbing and killing Allen.

        Finally, because of the State’s omission of critical evidence and Leza’s own trial counsel’s

ineffectiveness, the jury unfortunately did not hear a wealth of mitigation evidence including:

Leza’s ID and related FASD, Leza’s abhorrent and transient living conditions throughout his life,

his mother’s physical abuse, Leza’s pre-disposition to addiction, his lack of role models, and his

inability to perform simple tasks and susceptibility to negative influences due to his brain

impairments. As a result of these monumental errors, and others described below, Leza should be

granted a new guilt trial. And because Leza is ID, the State should be constitutionally prohibited

from seeking a sentence of death.

JURISDICTION

        This Court has jurisdiction pursuant to 28 U.S.C. § 2241(d) because Leza was convicted in

the 187th District Court in Bexar County, Texas. Subject matter jurisdiction is conferred by 28

U.S.C. § 2254.



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PROCEDURAL HISTORY

         Armando Leza is confined under a sentence of death pursuant to the judgment of the 187th

District Court, Bexar County, Texas, case number 2007-CR-4563A, which was rendered and

entered on May 11, 2009. CR at 836-37.

A.       Trial Court Proceedings

         On April 11, 2007, the presiding judge of the 187th District Court, the Honorable Raymond

Angelini, appointed Samuel Bayless as lead counsel to represent Leza. On the same date, the court

appointed Barbara Hughes as second-chair counsel. CR 14-15. 1 Bayless moved to withdraw from

the case on October 17, 2008 for health reasons, and he was replaced by Terrance McDonald on

October 22, 2008. CR 463-64, 466. 2

         On May 23, 2007, Leza was indicted for the capital murder of Caryl Jean Allen. The

indictment alleged that Leza intentionally caused the death of Allen in the course of committing

or attempting to commit robbery. CR 16.

         Voir dire began on April 17, 2009 (2 RR) and concluded on May 6, 2009 (11 RR 10). The

guilt-phase trial commenced on May 11, 2009 (12 RR 8), and concluded on May 18, 2009 (16 RR

44). The jurors returned a guilty verdict the same day. 16 RR 82-83.

         The entire punishment-phase case was presented on May 18 and May 19, 2009. 17 RR; 18

RR. The jurors received instruction and argument on May 20, 2009 (19 RR 6-13) and began

deliberation the same morning (19 RR 37). The jurors reached a verdict on the morning of May

21, 2009, and sentenced Leza to death. 20 RR 3-5.

         On May 27, 2009, Leza filed a Motion for New Trial. The motion was denied by the court

on May 29, 2009. CR 854-56.


1
    Barbara Hughes died unexpectedly on October 8, 2012. Ex. 120 at 1-8; Writ RR 182.
2
    Samuel Bayless died on January 11, 2010, from complications of diabetes.
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B.        State Appellate Proceedings

          On May 27, 2009, Angela Moore was appointed to represent Leza in his direct appeal. CR

842. On June 16, 2010, Leza’s opening brief was filed. 3 Ex. 3. The State filed its answering brief

on December 17, 2010. Moore filed a reply on March 3, 2011. Ex. 6. The Court of Criminal

Appeals (“CCA”) affirmed Leza’s judgement on October 12, 2011. Leza v. State, 351 S.W.3d 344

(Tex. Crim. App. 2011).

C.        State Habeas Proceedings

          On June 25, 2009, the district court appointed Jay Brandon to represent Leza in the initial

state post-conviction habeas proceedings. Ex. 2. On January 4, 2011, Brandon filed a Motion to

Appoint Co-Counsel on Leza’s case as Brandon was leaving private practice to join the Bexar

County District Attorney Office. Ex. 4. The state court granted Brandon’s motion the same day,

and appointed Michael Gross as co-counsel to represent Leza. Ex. 5. The court clarified that Gross

would serve as sole counsel “[a]fter the withdrawal of Jay Brandon. . . .” Id.

          On April 29, 2011, Leza filed a timely application for post-conviction writ of habeas

corpus. Both Gross and Brandon signed the pleading. Ex. 8. The application raised eight grounds

for relief. 4

          The State sought to recuse itself from Leza’s post-conviction case due, in part, to Brandon’s

employment at the District Attorney’s Office. Ex. 10. On March 6, 2015, the state court appointed

John Economidy as Attorney Pro Tem to represent the State. Ex. 11. An evidentiary hearing was

held on October 12, 2015. The district court entered Findings of Fact, Conclusions of Law

(“FFCL”) on March 1, 2016 recommending habeas relief be denied. Ex. 13.



3
    A list of the issues raised in the direct appeal can be found in the attached Appendix.
4
    A list of the issues raised in the initial state application can be found in the attached Appendix.


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       On January 11, 2017, the CCA entered an order adopting the district court’s proposed

FFCL, and denied post-conviction relief. Ex. 15.

D.     Federal Court Proceedings

       On February 16, 2017, this Court appointed the Office of the Federal Public Defender to

represent Leza in his federal habeas litigation. ECF No. 2. This timely Petition follows.

CLAIM ONE (LEZA IS INTELLECTUALLY DISABLED)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because his diagnosed intellectual disability renders

him functionally and developmentally below the requisite level that is subject to execution.

Exhaustion: This claim has not been presented to the state courts because of the ineffectiveness

of trial and initial post-conviction counsel. Strickland v. Washington, 466 U.S. 668 (1984);

Martinez v. Ryan, 566 U.S. 1 (2012); Trevino v. Thaler, 569 U.S. 413 (2013).

A.     Executing The Intellectually Disabled Constitutes Cruel And Unusual
       Punishment

       The Eighth Amendment prohibits the execution of intellectually disabled (“ID”)

individuals. Atkins v. Virginia, 536 U.S. 304, 318, 321 (2002). 5           Intellectual disability is

characterized by: (1) “significantly subaverage” or “significant limitations” in intellectual

functioning; (2) accompanied by “significant limitations” in adaptive behavior; and (3) the onset

of which occurs prior to the age of eighteen. See American Association of Intellectual and

Developmental Disabilities (“AIDD”) 6; INTELLECTUAL DISABILITY: DEFINITION, CLASSIFICATION




5 At the time of the Atkins decision, the term “mental retardation” was still being used, but that
term has since been replaced by “intellectual disability.” Although courts still refer to intellectual
disability as mental retardation, intellectual disability will be used throughout this Petition (except
in the context of a direct quote). See also Ex. 16 at ¶9.
6 Formerly the American Association on Mental Retardation (“AAMR”).



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AND SYSTEMS OF SUPPORTS (11th ed. 2010) (hereinafter “AAIDD Manual”); American Psychiatric

Association, THE DIAGNOSTIC AND STATISTICAL MANUAL OF MENTAL DISORDERS (5th ed. Revised

2013) (hereinafter “DSM-V”); Hall v. Florida, 134 S. Ct. 1986, 1993-94 (2014); accord Moore v.

Texas, 137 S. Ct. 1039, 1048-49 (2017); Ex. 16 at ¶¶9-11. 7 An ID determination “must be

‘informed by the medical community’s diagnostic framework.’” Moore, 137 S. Ct. at 1049

(quoting Hall, 134 S. Ct. at 2000); see Brumfield, 135 S. Ct. at 2278, 2280. While “being informed

by the medical community does not demand adherence to everything stated in the latest medical

guide,” the Court emphasized that its precedent does not “license disregard of current medical

standards.” Moore, 137 S. Ct. at 1049.

        The Court in Atkins initially observed “an IQ between 70 and 75 or lower . . . is typically

considered the cutoff IQ score for the intellectual function prong of the mental retardation

definition.” Atkins, 536 U.S. at 309 n.5; see AAIDD Manual at 36; DSM-V at 37. 8 Recently, the

Supreme Court made clear that, even if a person obtains a score above that range, deficits in the

individual’s adaptive functioning are relevant to a determination of ID. Moore, 137 S. Ct. at 1050;

see also Hall, 134 S. Ct. at 1990, 1992; DSM-V at 37; see Ex. 16 at ¶17; see also ¶16. In fact, the

Supreme Court in Moore found that “[m]ild levels of intellectual disability, although they may fall

outside Texas citizens’ consensus, nevertheless remain intellectual disabilities . . . and States may




7 The Texas Legislature has not provided a statutory definition of intellectual disability. See
Moore, 137 S. Ct. at 1047 (overruling Ex parte Briseno, 135 S.W.3d 1 (Tex. Crim. App. 2004)).
In the absence of a statutory definition, it is appropriate for this Court to rely on the definitions set
out by the American Association on Intellectual and Developmental Disabilities (“AAIDD”) and
the American Psychiatric Association (“APA”). See Atkins, 536 U.S. at 308 n.3; Hall, 134 S. Ct.
at 1990; Brumfield v. Cain, 135 S. Ct. 2269, 2278, 2280 (2015); Moore, 137 S. Ct. at 1039, 1044,
1048.
8 See Brumfield, 135 S. Ct. at 2278; Hall, 134 S. Ct. at 1995.


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not execute anyone in ‘the entire category of [intellectually disabled] offenders . . . .’” Moore, 137

S. Ct. at 1051, see 1049-50 (rejecting ID assessment that terminates based solely on an IQ test).

       As will be explained below, based upon the reports of experts, Dr. Kenneth Benedict and

Dr. Ginger Calloway, Leza satisfies the criteria for ID, and thus is intellectually disabled. Ex. 16

at ¶62; Ex. 17 at 21-22.

       1.      Leza suffers from significant limitations in intellectual functioning
               a.      Intellectual functioning

       A “significant limitation in intellectual functioning” is defined as “an IQ score on a reliable

and well-validated measure of general intellectual functioning of approximately two standard

deviations below the population mean, considering the standard error of measurement for the

specific instruments used and the instrument’s strengths and limitations.” AAIDD Manual.

       A single IQ score may not represent an examinee’s actual level of intellectual functioning.

Hall, 134 S. Ct. at 2001. The term “Standard Error of Measurement” (“SEM”), is the technical

term used to quantify the variability between a test taker’s “true” ability and his or her obtained

test score on an IQ test. The SEM is the basis for providing a statistical confidence interval within

which a person’s true score falls. The AAIDD Manual states that because of the SEM inherent in

all IQ scores, it is incumbent on clinicians to report IQ scores within an associated range of possible

scores, referred to as a confidence interval. Ex. 16 at ¶13.

       Confidence intervals are typically stated at the 95% level of probability—meaning there is

a 95 percent chance the “true” IQ score falls within the given range of scores. Because of the error

of measurement, the AAIDD definition allows for a diagnosis of ID based on an IQ score of 75 or

below (where the SEM is presumed to be plus or minus five points using the most recent and

sophisticated measures of intelligence), so long as there is evidence of concurrent, related deficits



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in adaptive behavior prior to the age of eighteen. The DSM-5 also recognizes the importance of

the SEM in the definition of subaverage intellectual functioning. Ex. 16 at ¶14.

       The AAIDD further requires the “Flynn Effect” be taken into account when assessing

intellectual functioning. The “Flynn Effect” is the empirically well-established phenomenon that

IQ scores of a population generally increase over time. Because of the Flynn Effect, the AAIDD

recommends clinicians use the most recent version of an instrument, together with the most current

normative data available for the instrument, at all times. When scores have been obtained on older

or outdated tests instruments, the AAIDD Manual states that a correction based on the age of the

norms is warranted. Ex. 16 at ¶15.

               b.        Evidence of significant limitations in Leza’s intellectual
                         functioning

       When an individual’s intelligence has been assessed on multiple occasions, it is important

that scores from previous tests be carefully interpreted and explained. Ex. 16 at ¶19. In Leza’s

case, he has been tested three times (1993, 2009, and 2014) and all three reports lead to the

conclusion Leza is ID.

                         (1)   Dr. Sherman’s 1993 testing

       Leza’s first psychometric evaluation occurred in June 1993, and was conducted by Dr. J.O.

Sherman at the Bexar County Juvenile Center, as part of a Court Order in advance of a Certification

and Transfer Hearing. Leza was sixteen at the time of the evaluation. This was not a full

neuropsychological evaluation, and it cannot be considered a complete evaluation of ID given the

absence of adaptive behavior measures or the reporting of intelligence subtest scores. Ex. 16 at

¶24.

       In conducting the evaluation, Dr. Sherman relied on the Wechsler Intelligence Scale for

Children–Revised (WISC-R). However, in doing so, Dr. Sherman failed to rely on the most recent


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standard measure of intelligence. The WISC-III, published in 1991, was the most recent edition of

the WISC and was available at the time of Leza’s evaluation.

       Under the outdated WISC-R, Dr. Sherman reported the following scores: Verbal IQ 69;

Performance IQ 105; and Full Scale IQ 85. Because Dr. Sherman relied on an outdated intelligence

scale, there is a clear need to apply the Flynn Effect and to consider SEM in analysis of Leza’s

scores. Ex. 16 at ¶25. When applying the Flynn Effect, the reported Full Scale IQ score of 85

converts to a score of 79, which falls in the “borderline range of intellectual functioning.” Id. at

¶26. Furthermore, when considering the SEM, the applicable score range for the Full Scale IQ falls

between 74 and 84. Id. Notably, studies of the WISC-R, in comparison to later editions of the

WISC, have demonstrated that the WISC-R Performance IQ score tends to yield higher ability

estimates than subsequent editions—thereby supporting a finding that Leza’s Full Scale IQ score

(of 79) was really lower than what the WISC-R presented. Id. at ¶28.

       There is a more striking psychometric issue involved in the administration and

interpretation of Dr. Sherman’s testing—a 36-point standard score discrepancy exists between the

reported Verbal IQ Score of 69 and the Performance IQ score of 105. This discrepancy is both

statistically and clinically significant because it shows the Full Scale IQ does not represent a

“unitary construct of intelligence.” The Verbal IQ Score and the Performance IQ Score are used

to calculate the Full Scale IQ Score, which can be roughly conceptualized as an “average” of the

Verbal and Performance scores. In situations involving large discrepancies of this magnitude—in

this case, more than two standard deviations separating the lower Verbal IQ and higher

Performance IQ Scores—the construct of a “general intelligent quotient” breaks down or loses its

meaning. Ultimately, what can be concluded as a certainty is that Leza was in the intellectually

impaired range of functioning across the verbal/oral language aspects of the test. Ex. 16 at ¶27.



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       Dr. Sherman also relied on the Wide Range Achievement Test–Revised (WRAT-R) in

conducting Leza’s evaluation, and reported the followings scores: Reading 58; Spelling 57; and

Arithmetic 74. All of these scores fall within the range of intellectual impairment and are also

essentially consistent with the Verbal IQ score of 69 reported from the same evaluation. Ex. 16 at

¶29.

       Finally, it is of note that Dr. Sherman provided four developmental disorder diagnoses:

Developmental Reading Disorder, Developmental Arithmetic Disorder, Developmental

Expressive Language Disorder, and Specific Developmental Disorder, NOS-Spelling. In the

current edition of the DSM-5, all of these diagnoses fall under the rubric of “Neurodevelopmental

Disorders.” Ex. 16 at ¶31.

       Given the wide-ranging nature of the noted developmental difficulties, and the notably low

scores in Verbal IQ and across areas of achievement, there was sufficient reason for Dr. Sherman

to raise the need for a more thorough cognitive or neuropsychological evaluation to rule out the

presence of a more generalized cognitive delay (i.e., Intellectual Disability). Ex. 16 at ¶31.

                         (2)   Dr. Milam’s 2009 testing

       Leza’s second evaluation was conducted by Dr. Daneen Milam in December 2009 as part

of Leza’s initial state post-conviction litigation. Dr. Milam conducted ten hours of

neuropsychological testing and relied upon the Wechsler Adult Intelligence Scale-Fourth Edition

(WAIS-IV) in conducting her evaluation. Ex. 16 at ¶32. Dr. Milam’s testing was highly focused

on FASD and substance abuse, not ID. Id. at ¶33. While Dr. Milam’s neuropsychological

evaluation provides some information that is relevant to ID, like Dr. Sherman’s evaluation

discussed above, it did not directly address all of the relevant factors needed to determine an ID

diagnosis. Id. at ¶34.



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       According to Dr. Milam’s report, Leza exhibited scores in the intellectually disabled range

on verbal subtests, but not on visual, gross, and fine motor tasks. Ex. 16 at ¶37. Consequently, Dr.

Milam concluded Leza was not ID. However, Dr. Milam’s conclusion is incorrect for a number of

reasons—most importantly because her conclusion is based on the erroneous belief that all test

scores need to fall in the range of impaired functioning to support a diagnosis of ID. See Ex. 16 at

¶38. However, it is well-established that individuals who are diagnosed with ID display a range of

strengths and weaknesses, just as non-ID individuals do. Id. In addition, while Dr. Milam provides

numerous examples that demonstrate deficits in Leza’s adaptive behavior, she did not make any

specific or conclusive findings as to whether Leza suffered from adaptive behavior deficits.

Therefore, her evaluation does not constitute a complete assessment for ID. Id.

       As to the IQ scores specifically, the reported Full Scale IQ score from Dr. Milam’s

evaluation is a 79, which does not need to be subject to a Flynn analysis given that the test date

occurred only one year after publication of the WAIS-IV. However, consideration of the SEM

leads to the finding that there is a 95 percent chance that Leza’s Full Scale IQ score falls between

a score of 75 to 83. Ex. 16 at ¶¶39-40.

       Further, the Verbal Comprehension Index (VCI) of 68 falls within the mentally impaired

range of functioning. Additionally, the Perceptual Reasoning Index (PRI), which is tantamount to

the Performance IQ score on older editions of the WAIS-IV, falls in the lower end of the average

range (92). However, examination of the PRI subtest profile and qualitative aspects of Leza’s

performance is instructive in this case. There is variability among the three subtests that compose

the PRI, with a pattern suggesting that Leza performs better on a more concrete task such as Block

Design, where he can physically manipulate materials, than on more strictly cognitive tasks such

as Matrix Reasoning and Visual Puzzles. Leza performs inconsistently on these latter two subtests,



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thereby raising questions about the consistency of his higher-order reasoning skills when engaged

with visual information processing. A similar degree of score variability is also seen on visual

memory subtests from the Wechsler Memory Scale–Fourth Edition (WMS-IV), with percentile

scores ranging from the 9th to 84th percentiles, again suggesting that relative strengths associated

with visual information processing are not uniformly strong or intact. Ex. 16 at ¶41.

       Lastly, in looking at Leza’s WAIS-IV scores, data from the composite scales show a

significant amount of variability—twenty-four standard-score points. As noted above in the

analysis of Dr. Sherman’s WISC-R, this amount of discrepancy presents a problem with respect

to the validity of a unitary measure of ability, as represented by a Full-Scale IQ score. Ex. 16 at

¶39.

                       (3)     Dr. Murphey’s 2014 testing

       Leza’s third evaluation was conducted by Dr. Murphey in 2014, again as part of Leza’s

initial state post-conviction litigation. Dr. Murphey used the Stanford Binet Intelligence Scale–

Fifth Edition (“SB5”), which showed Leza had a Full Scale IQ of 74. That score falls within the

standard error of measurement to be considered a reflection of significant intellectual delay in the

range of two standard deviations below the mean. Ex. 16 at ¶43.

       The findings from the SB5 involve a significant, yet lesser degree of discrepancy between

Verbal and Nonverbal IQ scores (13 standard score points). Further, this score differential is in the

opposite direction than was found on the earlier WISC-R (Dr. Sherman) and WAIS-IV (Dr.

Milam). On the SB5, Leza’s Nonverbal IQ is a 69, a score that falls in the impaired range of

intellectual functioning even without any consideration of SEM or Flynn Effect. In contrast, his

Verbal IQ score is an 82. Ex. 16 at ¶44. This shows that Leza’s performance on standardized

intelligence tests convey substantial conceptual deficits, at different points in time, from both

verbal- and visual-based tests of intelligence. Additionally, this conclusion provides support

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against the interpretation provided by Dr. Milam that Leza’s cognitive deficits are limited to only

the verbal/linguistic domain. Id. at ¶45.

        The discrepancies across different measures of intelligence (i.e., Wechsler versus Stanford

Binet) are best understood to reflect Leza’s sensitivity to the specific contextual factors associated

with any given test. The type of discrepant test findings present in Leza’s case most typically point

to a generalized cognitive dysfunction associated with brain damage, as well as severe problems

generalizing or applying understanding or learning from one context to another. Ex. 16 at ¶45.

                        (4)     Summary of IQ

        With evidence of impaired functioning—lower than two standard deviations below the

mean—across measures of verbal, nonverbal, and quantitative reasoning, collected between the

ages of sixteen to forty, it is clear Leza suffers from a general intellectual deficit as supported

psychometrically in the form of IQ scores from four different IQ tests. Ex. 16 at ¶59(e).

        2.      Leza suffers from significant limitations in adaptive functioning
                a.      Adaptive functioning

        In addition to significant limitations in intellectual functioning, an ID diagnosis requires

“significant limitations . . . in adaptive behavior as expressed in conceptual, social, and practical

adaptive skills.” AAIDD Manual at 1; accord DSM-V at 37-38. Significant limitations can be

found in one of the three domains: conceptual, social, or practical. AAIDD Manual at 43, 46;

DSM-V at 37; see Ex. 16 at ¶20.

        The AAIDD Manual provides examples of “representative skills” in each of the three

domains. Representative conceptual skills are “language; reading and writing; and money, time,

and number concepts.”          AAIDD Manual at 44. Representative social skills constitute

“interpersonal skills, social responsibility, self-esteem, gullibility, naïveté (i.e., wariness), follows

rules/obeys laws, avoids being victimized.” Id. Representative practical skills are “activities of

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daily living (personal care), occupational skills, use of money, safety, health care,

travel/transportation, schedules/routines, and use of the telephone.” Id.; see Ex. 17 at 8-9; Ex. 16

at ¶21.

          Similarly, the DSM-V discusses deficits in adaptive functioning as “how well a person

meets community standards of personal independence and social responsibility, in comparison to

others of similar age and sociocultural background.” The DSM-V also speaks in terms of assessing

adaptive functioning using both clinical evaluation and individualized, culturally-appropriate,

psychometrically-sound measures including interviews with parents or other family members,

teachers, counselors, and care providers. DSM-V at 37-38.

          Importantly, adaptive functioning is not to be assessed through examining the strengths of

an individual, but through an exploration of his deficits. See AAIDD Manual at 1 (“Intellectual

disability is characterized by significant limitations both in intellectual functioning and in adaptive

behavior as expressed in conceptual, social, and practical adaptive skills.”) (emphasis added); Id.

at 8 (“[P]eople with ID are complex human beings who likely have certain gifts as well as

limitations. Like all people, they often do some things better than others. Individuals may have

capabilities and strengths that are independent of their ID….”) (emphasis added); accord Moore,

137 S. Ct. at 1051.

                 b.     Evidence of Leza’s adaptive deficits

          Dr. Ginger Calloway, a licensed psychologist who specializes in Atkins evaluations,

conducted interviews, administered testing, and reviewed social history records for Leza and

concluded that Leza has significant adaptive deficits in two categories—Conceptual and

Practical—and deficits likely in the Social classification. Ex. 17 at 2, 22. An individual only needs

adaptive deficits in one of the three categories to be considered ID under this classification. Ex. 16

at ¶21.

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                       (1)    Conceptual

       Leza has significant deficits in the following subsections of Conceptual behavior:

functional academics; communication; and self-direction. Ex. 17 at 12-15. In functional

academics, Leza has been labeled a “slow learner” at school, and testing shows Leza struggles

with almost every category of learning—testing at a fourth grade level in total achievement. Id. at

10, 12. Leza has great difficulty in counting money and making change. Id. at 12-13. As to

communication, Leza did not talk until the age of two and this was followed by a long history of

language-related deficits involving expressive and receptive language disabilities. Id. at 13. Leza

has also been diagnosed with developmental reading disorder and developmental expressive

language disorder. Leza has been described by many who know him as someone who did not

communicate with others, but instead would stay by himself. Id. at 14. Lastly, with regard to self-

direction, there is no evidence Leza ever made a major life decision. Leza has never held a job that

was not working for a family member, did not attempt to get a driver’s license, has never lived

independently or signed a lease, never had a checking account, and never had a plan for the future.

Id.

                       (2)    Practical

       Leza has significant deficits in the following areas of Practical behavior: home living, self-

care, work, and community use. Ex. 17 at 15-19. With regard to home living, Leza was not able to

dress himself until the third grade, was not toilet trained until the age of seven, and could not do

basic chores like taking out the trash or going to the store and buying items from a shopping list.

Id. at 15. Leza also could not operate a microwave oven or other small appliances, did not know

how to work a washer or dryer, and could not clear a plate from the table or clean a house. Id. at

15-16. As to self-care, Leza was incapable of most tasks, including dressing himself without

assistance, washing his hands with soap and water, blowing and wiping his nose with a tissue,

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bathing daily, cutting meat into bite sized pieces, getting out of bed on time, obtaining a haircut,

and avoiding unhealthy food and drink. Id. at 16.

        Additionally, with regard to work skills, Leza could only obtain a job working for his father

and even then, could not complete most of the tasks assigned. At a construction job, Leza could

not use a tape measure, a drill, or a mixer, could not tear down a wall without repeated instruction,

and had difficulty focusing on whatever task he was assigned. And at a restaurant job, Leza was

only able to wash dishes because all the other tasks were too complicated, including serving soup,

working the cash register, cleaning fish, or going to the grocery store for supplies. Ex. 17 at 16-

18. Lastly, with regard to community, Leza was unable to ride a bus alone as he would get lost,

could not read a bus schedule, and could not read street signs. And if he got lost while riding the

bus, Leza would ride around until he recognized a familiar landmark. Leza also would get lost

riding his bicycle, even though he was in an area he knew. Id. at 18-19.

                       (3)     Social

        Leza also has deficits in the following Social area of adaptive deficits: leisure and social

skills. Ex. 17 at 19-20. Leza does not talk much, becomes easily frustrated in social settings, and

does not have friends. Leza is easily led by others and is often taken advantage of. Id. at 19-20.

Additionally, Leza does not understand social customs, such as how close to stand to someone,

how to respond to a funny comment or joke, or how to use a knife, fork, or napkin. During his

youth, Leza preferred to play with the toys of his younger brothers, even when Leza was a teenager.

Leza also lacked awareness of matters like stepping out in front of traffic or when to cross the

street. Id. at 20. Leza also has been described as gullible, suggestible, docile, and dependent on

others. Id.




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       In sum, a portrait of Leza showed him to be hapless, quiet, highly dependent on others,

highly suggestible, gullible, unable to function independently as an adult, and unable to master

many tasks of daily living. Ex. 17 at 20.

                       (4)     Summary of adaptive deficits

       Based upon her evaluation, Dr. Calloway found that Leza suffers from significant

limitations in adaptive functioning in two of the three main areas: Conceptual and Practical. Dr.

Calloway also concluded Leza has areas of deficits in the Social area. As an individual only needs

deficits in one area of adaptive functioning, and here Leza has at least two, if not three, he meets

the criteria of ID for adaptive deficits. Ex. 17 at 22; see Ex. 16 at ¶20.

       Further, Leza’s composite scoring on the Scholastic Abilities Test for Adults (“SATA”)—

which was administered by Dr. Calloway in her evaluation of Leza and is also used to evaluate an

individual’s adaptive deficits—falls at 70, two standard deviations below the mean. Further, of the

nine subtests that comprise the SATA, eight fell below the 5th percentile. Ex. 16 at ¶¶48, 50; Ex.

17 at 9-10, 13

       3.        Leza’s limitations began before the age of eighteen

       The final criterion for ID is onset before the age of eighteen. ID is characterized as a

neurodevelopmental disorder because persons with the disability are significantly impaired in their

attainment of abilities and skills during the developmental period (birth to eighteen years) in

relation to those without the disability. This criteria, however, does not require the disability be

formally diagnosed before the age of eighteen. Ex. 16 at ¶22.

       With respect to the third diagnostic criterion, Leza’s intellectual and adaptive functioning

date back well before the age of eighteen, as shown above. Ex. 16 at ¶61. Indeed, there are

numerous reports of delayed developmental milestones such as walking, talking, and toileting, as

well as many other hallmarks of developmentally-based phenomenon such as school failures,

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grade retentions, and an occupational history that started in early adolescence and did not progress

to any degree of independence as he approached the age of eighteen. Id.

       4.      Conclusion

       Upon a review of the three diagnostic criterion for ID, and in light of all the information

reviewed by Dr. Benedict, including the findings of Dr. Calloway regarding adaptive deficits, Leza

meets the criteria for ID to a high degree of psychological certainty. Ex. 16 at ¶62. A finding of ID

is prejudicial per se and bars the State from executing Leza.

B.     Trial Counsel Were Ineffective For Failing To Investigate And Present
       Evidence At Trial Establishing Leza Is ID And Thus Constitutionally Exempt
       From The Death Penalty

       Trial counsel never investigated and presented evidence that Leza was ID. If counsel had

presented such evidence, Leza would have been ineligible for the death penalty as discussed fully

above. See Atkins, 536 U.S. at 321; accord Moore, 137 S. Ct. at 1047. Exhaustion: This claim

has not been presented to the state courts because of the ineffectiveness of Leza’s trial and initial

post-conviction counsel.

       At the time of trial, counsel had in their possession a multitude of documents and evidence

which should have alerted them to the need to investigate and present evidence that Leza is ID,

including that Leza had a low IQ, suffered from brain impairment, and had various adaptive

deficits. Counsel’s failure to present a claim that Leza was ID was deficient.

       Counsel had in their possession Leza’s school records. Ex. 48. A review of these records

show that Leza was identified as a “slow learner” in kindergarten and that he failed multiple grades

in school. The records also show that Leza was in specialized classes at certain points of his

schooling and that he was passed along to higher grades even though he was functionally illiterate.

Further, school testing showed that Leza had the reading skill of a third grader and the math skills

of a sixth grader when he should have been at a high school level. These learning deficits were

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characterized as “severe.” A deficit picture this extreme should have triggered an investigation by

counsel into whether Leza was ID. Ex. 48 at 6, 17, 36-37; Ex. 67 at 7-8; Ex. 17 at 5; Ex. 66 at 2.

       Counsel also had in their possession Leza’s Memory and Freedom from Distractibility test

results, which showed a score that fell in the ID range. Leza’s scores on the WRAT-Revised also

showed that he had severe deficits in Reading, Spelling, and Arithmetic. Ex. 69. Further, Dr.

Sherman’s report should have alerted counsel to the potential that Leza was ID based on a dramatic

split in Leza’s IQ scores (69 verbal/105 performance)—a split which is highly unusual, suggests

brain damage, and ultimately should have been investigated by trial counsel. Ex. 67 at 8. Lastly,

counsel had in their possession Leza’s 1993 juvenile court psychological evaluation prepared by

Dr. Sherman, which showed Leza’s full-scale IQ was below average, with a verbal IQ score of

69—clearly in the ID range. The report also showed that Leza was learning-disabled and that he

was placed in special resource reading classes at around age sixteen. See Initial State App., Ex. 22

(Texas Youth Commission “TYC” school records).

       Further, counsel knew, but failed to appreciate, the significance of multiple developmental

delays in Leza’s childhood and adolescence, including his failure to walk until the age of eighteen

months and his delay in talking until the age of two. Ex. 67 at 7; Ex. 66 at 2; Ex. 63 (Brown

collateral interview of Celia Leza). These deficits, including language deficits, learning

disabilities, attention problems, impulsivity, and faulty decision-making, should have alerted

counsel to neurological impairment which would have required testing by an expert, and which in

turn, would have led to an ID diagnosis. Ex. 67 at 8; Ex. 66 at 4.

       A proper investigation also would have uncovered information from family members and

friends that would have alerted counsel to the fact that Leza had adaptive deficits, part of a

diagnosis of ID. If counsel had properly interviewed family members, they would have learned



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Leza was slow to do most everyday functions, including simple tasks like getting dressed in the

morning, tying his shoes, bathing, or taking out the trash. Writ RR 163-64; Ex. 63 (Brown

interview of Celia Leza). Counsel additionally would have learned that Leza’s inability to read and

write caused him such embarrassment that he did not want to attend school. Id. When he did attend

school, Leza became frustrated and acted out in order to be expelled from the classroom so that

the teacher and the other children would not see how much Leza struggled with the school work.

Ex. 103 at ¶9. Counsel would have additionally discovered Leza was a follower and was unable to

do things that other children could do. Ex. 107 at ¶8. And Leza was different from other kids, and

was even described by his older brother as “really, really slow, maybe even retarded.” Ex. 103 at

¶6.

       Counsel’s deficient performance prejudiced Leza. Had counsel conducted the required

investigation, and hired experts qualified to diagnose ID, counsel would have presented evidence

to the jury that Leza suffered from “significantly subaverage” or “significant limitations” in

intellectual functioning; that was accompanied by “significant limitations” in adaptive behavior;

and which occurred prior to the age of eighteen. If counsel had presented such evidence, jurors

would have found Leza ID, and he would not have been eligible for the death penalty. Atkins, 536

U.S. at 320-21.

C.     Counsel Was Ineffective For Failing To Investigate Leza’s Intellectual
       Functioning Because Evidence Of Low Intellectual Functioning—Even If Such
       Evidence Failed To Establish Death Ineligibiilty Under Atkins—Would Have
       Been Highly Relevant To The Jury’s Determination Of Leza’s Sentence

       Even if this Court finds Leza is not ID, Leza is still entitled to relief because counsel’s

performance was deficient for failing to present highly relevant evidence—including Leza’s

borderline intelligence, brain damage, and adaptive deficits—which would have been significant

to the jury’s determination of Leza’s ultimate sentence. See Daniel v. Comm, Alabama Dept. of


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Corrections, 822 F.3d 1248, 1278-79 n. 21 (11th Cir. 2016). Exhaustion: This claim was

presented to the state court as Claim V in Leza’s initial state application. Ex. 8 at 77, 86-91. The

state court’s adjudication of the claim was contrary to, and consisted of an unreasonable

application of, clearly established federal law and was based on an unreasonable determination of

the facts. See Ex. 15 at 4; Ex. 13 at 155, 167-68.

       As discussed above, trial counsel had in their possession sufficient evidence to alert them

to the fact Leza’s level of intellectual functioning was low and warranted further investigation.

That investigation would have uncovered evidence of Leza’s borderline intellectual functioning

and brain damage (Exs. 65-67) as well as adaptive deficits (Ex. 17; Ex. 67), which would have

been highly relevant to the jury’s determination of Leza’s sentence, in conjunction with the vast

amount of other mitigating evidence that counsel failed to investigate and present. Daniel, 822

F.3d at 1278-79.

       Because counsel failed to investigate ID, the jurors did not hear that Leza had slowed

developmental progress as an infant, was considered slow by his mother and siblings, failed

multiple grades in school, was in specialized classes because he was labeled a slow learner, and

suffered from generally low overall functioning. The jurors never heard that neuropsychological

testing indicated Leza had severe learning deficits in all areas, had brain impairment in five

domains including executive functioning, and had IQ scores indicative of borderline intellectual

functioning. The jurors never heard that Leza’s reading level was around the third grade and that

his writing grade level never surpassed a fourth grade level. Jurors also never heard that Leza was

late to walk, late to talk, and soiled his pants up until he was seven years old. The jurors never

heard that Leza could not accomplish a simple task, like clearing a plate from the table or going to

the store to buy grocery items.



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       Because counsel failed to investigate whether Leza was ID, the jurors did not hear that

Leza could not handle change or count money, never had a bank account, never signed a lease,

could not live independently, and could not ride a bus alone as he would get lost. The jurors never

heard that Leza could not work appliances like a microwave, a washing machine, or a dryer. The

jurors never heard that Leza could not dress himself without assistance, wash his hands with soap

and water, remember to bathe daily, cut meat into bite size pieces, get a haircut, or blow and wipe

his nose. Leza could not even heat soup without repeated instruction.

       Because counsel failed to investigate whether Leza was ID, the jurors never heard that Leza

did not understand simple social customs like how close to stand to someone or how to use

silverware. The jurors never heard that Leza was highly dependent on others, could not live

independently, was highly suggestible and gullible, hapless, and naïve.

       Had Leza’s counsel investigated whether Leza was ID, that investigation would have

uncovered an incredible amount of mitigating evidence, some of which is discussed above. Had

counsel conducted this investigation—whether or not Leza was ultimately found to be ID—it is

reasonably likely that at least one juror would have voted for a penalty other than death. Wiggins

v. Smith, 539 U.S. 510, 537 (2003).

CLAIM TWO (MIRANDA WAIVER)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because Leza did not knowingly and voluntarily

waive his right to remain silent or his right to counsel prior to his interview with law enforcement.

Further, trial and post-conviction counsel were ineffective for failing to raise these issues in state

court. Exhaustion: Portions of this claim were presented to the state court as Points of Error One

and Two in the direct appeal. Ex. 3 at 10-29; Ex. 6 at 2-5. Portions of this claim were also presented

to the state court as Claim III in Leza’s initial state application. Ex. 8 at 23-27. The state courts’

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adjudication of the exhausted portions of the claim were contrary to, and consisted of an

unreasonable application of, clearly established federal law, and were based on an unreasonable

determination of the facts. See Ex. 9 at 4-9; Ex. 13 at 119-28; Ex. 15 at 3-4. Those portions of the

claim not presented to the state courts was due to the ineffectiveness of trial and initial post-

conviction counsel.

A.       Relevant Facts

         On April 5, 2007, late in the evening, Leza and his girlfriend (Trevino) were taken into

custody. 13 RR 11, 14; 3 RR 22. Leza’s police interrogation began shortly after midnight. Ex. 77

at 1. Leza was visibly sleep-deprived and video footage shows him nodding off despite being

handcuffed. Ex. 75 (Leza interrogation 12:43 AM–12:53 AM). Officers were aware Leza was

likely under the influence of heroin (and possibly cocaine), and Leza specifically told Detective

Greiner he had “just shot up.” 12 RR 138-39; Ex. 77 at 6. Nevertheless, Greiner read Leza a

Miranda warning (the “Warning”) and subsequently instructed Leza, “Alright just sign your name

right there that you understand.” Ex. 77 at 3; Ex. 73. 9 Greiner falsely reassured Leza, “You’re

under arrest right now for just traffic tickets. You know it’s no big deal.” Ex. 77 at 4. Leza was

subsequently interrogated for over two and one-half hours. Exs. 74-75. 77.

B.       Leza Did Not Validly Waive His Miranda Rights

         A waiver of Miranda rights must be made voluntarily, knowingly, and intelligently to be

effective. Moran v. Burbine, 475 U.S. 412, 421 (1986). A waiver is valid when it is: (1) “the

product of a free and deliberate choice rather than intimidation, coercion, or deception”; and (2)

“made with a full awareness of both the nature of the right being abandoned and the consequences

of the decision to abandon it.” Id. In this case, Leza did not validly waive his Miranda rights



9
    Miranda v. Arizona, 384 U.S. 436 (1966).
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because: (1) the Warning given to him by police failed to inform Leza he had the right to remain

silent or to request counsel; (2) the Warning, as given, precluded Leza from fully understanding

the nature of his rights and the consequences of abandoning them; and (3) Leza’s ID, FASD, drug

use, and sleep deprivation prevented him from voluntarily and knowingly waiving his rights.

       1.      The Warning was invalid because it failed to advise Leza he had the
               right to remain silent or to request counsel

       The Warning given to Leza was critically flawed because it did not advise him that he

could invoke his right to remain silent, nor did it advise him he could invoke his right to counsel.

Thus, the Warning failed in its essential purpose.

       The Warning stated the “above rights are continuing rights which can be urged by you at

any stage of the proceedings.” Ex. 73 (emphasis added). In bold type, the Warning stated: “Do you

understand these rights?” Id. There was no opportunity for Leza to actually invoke his right to

remain silent or invoke his right to counsel, nor was there a place where Leza could affirmatively

waive those rights on the form he was given.

       The distinction between the opportunity to “invoke” one’s rights and the opportunity to

merely “urge” one’s right is significant. Definitions of the word “urge” focus “on advocacy rather

than decision authority.” Ex. 21 at 4-5. “Simply put, to urge means something entirely different

than to decide.” Id. at 5. While the Supreme Court has approved Miranda warnings that advise of

the opportunity to “use” rights (Florida v. Powell, 559 U.S. 50 (2010)), it has never approved a

warning that merely offers a suspect the opportunity to “urge” his rights. The reason for this is

simple: Miranda requires a suspect be “assure[d] a continuous opportunity to exercise” his rights

and to be told of this option. Miranda, 384 U.S. at 444.

       Here, the Warning was deficient because it failed to offer Leza the opportunity to invoke

his rights to remain silent or to have counsel. Berghuis v. Thompkins, 560 U.S. 370, 387 (2010).


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Instead, the Warning merely instructed his rights could be “urged.” The word “urge” did not

communicate the choice to decide on the waiver. Thus, any waiver was ambiguous and invalid, as

a consistent pattern of Texas decisions demonstrate. See, e.g., State v. Panetti, 891 S.W.2d 281,

282-84 (Tex. App. 1994); Lucia v. State, No. 10-04-00229-CR, 2005 WL 2044863, at *1 (Tex.

App. Aug. 24, 2005). Because Leza was not advised of the opportunity to invoke his right to

counsel or of his right to remain silent, law enforcement consciously (and systemically) withheld

a significant component of the Miranda warning in violation of the federal Constitution.

       2.      Leza did not understand the nature of his rights or the consequences of
               abandoning them

       In addition to the substantive deficiencies, the Warning, as written and presented to Leza,

substantially exceeded his ability to understand the rights he was waiving and the resulting

consequences because it was: (1) unnecessarily long and orally presented; and (2) written at a

reading level beyond Leza’s abilities to recall and comprehend.

       First, the Warning given to Leza was substantially longer than the typical warning given to

an arrestee. Ex. 21 at 1-2. Specifically, the “rights portion” consisted of 139 words and outlined

seven specific rights. This exceeds a typical Miranda warning by more than forty words, thereby

making it 45.9% longer than the average warning. Ex. 73; Ex. 21 at 1.

       In addition to the excessive length, the Warning was read aloud to Leza. Studies have

shown that orally presented concepts are difficult to recall, and when applied to Miranda warnings

specifically, impaired recall is very likely to occur when the orally presented material exceeds

seventy-three words. Ex. 21 at 2. In fact, the average recall for passages of similar length of well-

educated adults (i.e., the vast majority having a twelfth grade education or higher) is between 48%

and 50%, meaning about half of the basic concepts read to them will be missed. Id. at 2. The

Warning here far exceeded seventy-three words, and Leza is not a well-educated adult, having


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dropped out of school sometime around the sixth grade. Ex. 63 at 9; Ex. 65 at 2, 5. Additionally,

the Warning, unlike the studies cited above, was given in a highly stressful, inherently coercive

custodial environment, which would have further affected Leza’s ability to comprehend and recall

the information given. Based upon these studies, if Leza had been a well-educated adult, and in a

non-stressful environment, he would have understood only about half of the basic concepts Greiner

read to him in the Warning. However, because Leza’s capacity differed from the tested subjects

due to his individual circumstances (he is ID) and the environment in which he received the

Warning, it is likely Leza understood well less than half of the Warning as it was given.

        Second, even assuming Leza had been given a full opportunity to read the Warning, rather

than have it read to him, 10 the Warning is still flawed as it was written at a reading level

substantially higher than required for a typical Miranda warning. Ex. 21 at 3. Nationally, the

average reading level of a Miranda warning is at a seventh grade reading level. Id. at 3-5. The

Warning used here was over a full year higher, at the 8 to 8.4 range for reading grade level. Id.

Additionally, the right to counsel advisements were written at the 12 to 12.9 grade level (legal

services to indigents) and the 13.5 to 14 grade level (the right to a lawyer). Id. at 3, 7. Thus, for an

individual to understand the language of the right to counsel given in Leza’s Warning, he/she

would need at least some college education. Id. at 3. Furthermore, the Warning contained six

important terms (charge, proceeding, right, stage, state, and waive), all of which require at least an

Eighth grade education to accurately understand, with the word “waive” being understood best by

those who have had at least one year of college education. Id. at 4, 8.




10
   It is clear from the police interview however that Leza was not given a chance to read the
Warning. After the Warning was read to him, Leza was told just to sign his name. See Ex. 77 at 3
(“Alright just sign your name right there that you understand.”).
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       Ultimately, the reading comprehension demands for understanding concepts like the right

to counsel and waiver of one’s rights far exceeded Leza’s level of comprehension. Leza was

identified as a slow learner in kindergarten, and repeated at least three grades before being passed

into seventh grade despite functional illiteracy and then ultimately dropping out. Ex. 63 at 8-9; Ex.

65 at 2, 5. Further, Leza is intellectually disabled. Exs. 16-17. At the time of the interrogation,

Leza had difficulty even completing the witness information form which simply asked for personal

details. Ex. 77 at 4-6. Thus, even if he had the opportunity to completely review the written

warning—which he did not—Leza could not have understood half of the concepts in the document.

       3.      Leza’s ID, FASD, heroin use, and sleep deprivation impacted his ability
               to waive his rights

       The deficiencies of the Warning were made worse when considered in conjunction with

Leza’s ID and FASD, sleep deprivation, and the fact that he was under the influence of drugs when

he was interviewed.

       Due to his FASD and ID, Leza has issues with suggestibility and can be easily led. Ex. 63

at ¶17; Ex. 17 at 20; Writ RR 196-203. Leza is described as dependent on others, naïve, and

gullible. Ex. 17 at 20. Because of his low IQ and gullibility, Leza could have easily been led by

Greiner to waive his Miranda rights or falsely confess. Additionally, Leza’s language deficits

impaired his understanding of statements made by others and made him more susceptible to

manipulation by those who are more cognitively sophisticated. Ex. 63 at ¶¶24-25, 29. Thus, when

told he was simply “under arrest for tickets” (Ex. 77 at 3) immediately before the Warning was

given, Leza likely took the statement at face value. Similarly, when Greiner instructed: “Alright

just sign your name right there that you understand,” Leza complied because he was a follower—

not because he actually understood. Id.; Ex. 63 at ¶30. Leza’s signature did not, and could not,

signify he understood the content of the advisement or that he was waiving his rights.


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       Further, Leza was under the influence of drugs (heroin and possibly cocaine) during the

interrogation—substances that impair mental functioning—and officers read the warning to Leza

at a high rate of speed, despite knowing he was under the influence of narcotics. Numerous courts

have recognized that intoxication by a defendant is relevant to determining whether a waiver of

Miranda rights was voluntary where there is evidence of police coercion. See, e.g., Colorado v.

Connelly, 479 U.S. 157, 164-65 (1986). Here, the impact of Leza’s drug use on his ability to

comprehend what was happening while in custody was substantial. Because Leza was under the

influence while the Warning was read to him, by the time he offered incriminating statements he

no longer would have remembered the content of the Warning. 3 RR 84-87. Heroin has a broad

range of effects on the body and brain including relaxation, disinhibition, and impairment of

memory and attention. Evidence also suggests Leza was on cocaine at the time of the interrogation.

The effects of cocaine include confusion and talkativeness. These drugs together would have

impaired Leza’s ability to understand his Miranda warning and to voluntarily consent to being

interrogated. Ex. 18 at 8-9.

       In addition to his other deficits, Leza was significantly sleep-deprived, which would have

further impacted his ability to comprehend the Warning given. Sleep-deprivation impairs cognitive

skills that are crucial to resisting a coercive environment. Ex. 98 at 1. Further, the odds of offering

a false confession increase significantly when one is sleep-deprived. Id. at 1, 3.

       4.      The totality of the circumstances prevented Leza from knowingly and
               voluntarily waiving his rights

       Ultimately, Leza never explicitly waived his rights. The Warning itself was substantively

deficient because it provided no opportunity for Leza to “invoke” his rights. Thus, he was never

advised he had the opportunity to invoke his right to counsel or his right to remain silent.




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         Even if Leza’s actions could legitimately be considered a “waiver,” it was not a knowing,

intelligent, or voluntary waiver because: (1) the length of the Warning read aloud to Leza posed a

formidable challenge to recall information; and (2) the Warning, as written, required a reading

comprehension level substantially higher than required for a typical Miranda warning and a

vocabulary level that significantly exceeded Leza’s seventh grade education. Additionally, officers

read the warning to Leza at a high rate of speed, despite knowing he was under the influence of

narcotics, and affirmatively deceived Leza about the reason for his arrest. Because of Leza’s

combined deficits, narcotic use (Ex. 18), ID (Ex. 16, Ex. 17), FASD (Ex. 63 at 8-10; Ex. 65 at 1,

6-8; Writ RR 71-72, 132), and sleep-deprivation, his ability to comprehend the Warning and the

consequences of his actions was substantially impaired. Thus, Leza’s Miranda waiver was not

valid.

         The admission of Leza’s confession had a substantial and injurious effect on the jury’s guilt

and punishment verdicts. By far, the most damning evidence against Leza were his own statements,

on which the State relied heavily to secure his conviction. 12 RR 17-19 (prosecution opening

statement guilt); 16 RR 36, 38-41, 43 (prosecution closing argument guilt); 19 RR 32 (prosecution

closing argument punishment).

         Further, securing a conviction based on Leza’s statements in this context raises an

impermissible “possibility of false confession[]” by an intellectually disabled defendant. Atkins v.

Virginia, 536 U.S. 304, 320 (2002). The Supreme Court has noted “in recent years a disturbing

number of inmates on death row have been exonerated” including “at least one mentally retarded

person who unwittingly confessed to a crime that he did not commit.” Id. at 321 n.25. Because of

Leza’s low intellectual functioning, there is an unacceptable risk that Leza’s conviction and

sentence rest on such a false confession.



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C.     Counsel Were Ineffective For Failing To Properly Address The Deficient
       Miranda Warning

       Though trial counsel challenged the confession through a motion to suppress (CR 162; 3

RR 20–104, 4 RR 3–6), this presentation was flawed. Dr. John Roache, the expert hired to testify

pre-trial that Leza’s statement was involuntary due to Leza’s heroin and cocaine intoxication, was

not properly prepared because Dr. Roache was not given any information regarding Leza’s ID and

FASD, and therefore could not take into consideration the effects of Leza’s pre-existing deficits in

conjunction with his drug use. Ex. 20; Ex. 18 at 11-12. If he had been given such information, Dr.

Roache would have testified that in addition to the harmful effects of heroin and cocaine on Leza,

which would have produced a temporary drug-induced intellectual disability, Leza’s own pre-

existing neurological condition—including receptive language deficits, attention problems,

impulsivity, and deficits in decision-making—would have compounded Leza’s inability to

comprehend the Warning given to him. Ex. 18 at 12. In sum, concerns about Leza’s ability to

comprehend and consent to speaking to the police were greater due to his ID and FASD, something

Dr. Roache did not know about. Id.

       Second, trial counsel did not raise any challenge to the confession (and did not call any

expert witnesses to address the validity of Leza’s purported waiver) at trial before the jury. Such a

challenge should have been part of the defense’s trial presentation. Crane v. Kentucky, 476 U.S.

683, 688 (1986).

       And third, trial counsel failed to properly contest the following points: the waiver was not

voluntary, knowing, or intelligent (Leza v. State, 351 S.W.3d at 348); counsel failed to challenge

the adequacy of the warnings; and failed to object to the argument that Leza “waived his right to

silence by signing a written form to indicate that he understood his Miranda rights and then

responding to police questioning anyway.” Leza, 351 S.W.3d at 348.


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       Likewise, post-conviction counsel failed to raise significant aspects of the Miranda issue

in Leza’s initial state application, including Leza’s impairments and deficits (ID, FASD, sleep-

deprivation), and the flawed nature of the waiver given (limited word and reading comprehension,

use of the word “urge” rather than “invoke”).

       For all of these reasons, Leza’s statement should have been suppressed, and there is a

reasonable probability that a more favorable outcome would have been obtained at the guilt and

punishment phases if counsel had performed effectively.

CLAIM THREE (FALSE DNA/BLOOD EVIDENCE)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the State wrongly introduced false

testimony and improper argument regarding DNA, blood, and footprint evidence. In addition, trial

counsel were ineffective for failing to: (1) utilize their own forensic DNA expert to assist in

defending against the State’s case; (2) object to the State’s false evidence and improper argument;

and (3) effectively cross-examine the State’s witnesses. Exhaustion: This claim has not been

presented to the state courts because of the ineffectiveness of trial and post-conviction counsel.

A.     The State’s Case Relied Heavily On Crime Scene Evidence Which, Either Did
       Not Exist, Or If It Did Exist, Was Never Directly Connected To Leza

       The State’s case against Leza was based primarily upon two pieces of evidence: Leza’s

statement to the police (see Claim Two, above), and forensic crime scene evidence. However, as

discussed below, the forensic evidence relied upon by the State was false and should never have

been introduced at trial because it was not conclusively shown to exist and/or was not connected

to Leza.




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       1.      The State introduced false evidence that the DNA material on Leza’s
               left shoe was the victim’s blood

       Starting in its opening guilt-phase argument, the prosecutor informed the jurors that they

would hear evidence that the victim’s blood was found on Leza’s shoe. 12 RR 20. Detective

McCampbell continued this theme, testifying he instructed the Bexar County Crime Lab (CIL) to

conduct “a DNA analysis of the victim’s blood to compare it to the blood found on the Defendant’s

shoes.” 12 RR 107 (emphasis added).

       Robert Sailors, a forensic scientist at the CIL, testified Leza’s left shoe “tested positive for

the presence of blood during . . . testing . . . .” 13 RR 112. When asked by the State, “. . . can you

say [Leza’s] shoes were in contact with Caryl Jean Allen’s blood; right,” Sailors answered, “Yes,

ma’am.” 13 RR 119 (emphasis added).

       And in closing guilt-phase argument, the State returned to the “blood” evidence arguing

Leza was clearly guilty of the murder because the “victim’s blood is on the Defendant’s shoe at

his arrest two days later.” 16 RR 41. The State doubled down on this argument stating soon after:

“It is most definitely Caryl Jean Allen’s blood on the Defendant’s shoe two days later.” Id. at 42.

       Although the State presented evidence and argument that the victim’s “blood” was found

on Leza’s left shoe, in fact the CIL never tested the material on the shoe for blood, and thus any

mention of the material being blood was completely false and highly prejudicial.

       The CIL tested Leza’s left shoe (item 3G2) with the phenolphthalein (Kastle-Meyer) test.

Ex. 9 at 2; Ex. 72 at 9, 16. This is a presumptive test for the presence of hemoglobin-containing

blood from various organisms including mammals. Id.; Tobe, Watson, Daeid, Evaluation of Six

Presumptive Tests for Blood. 11 The CIL, however, never conducted a confirmatory test for blood.



11
  This presumptive test can also reveal false positive results in the presence of substances other
than blood including cleaning agents, metal salts, and vegetable extracts. Ex. 19 at 2.
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Ex. 19 at 2-3; see also 14 RR 13-14; Ex. 72 at 9, 16. Because a confirmatory test was not conducted,

it was not possible for anyone to conclude Leza’s left shoe contained the victim’s blood. Ex. 19 at

2. Thus, any evidence—or argument—by the State that the material found on the shoe was

conclusively blood, was false and constituted misconduct. Mooney v. Holohan, 294 U.S. 103, 112

(1935); Miller v. Pate, 386 U.S. 1, 6 (1967); see Alcorta v. Texas, 355 U.S. 28, 31 (1957); Faulder

v. Johnson, 81 F.3d 515, 519 (5th Cir. 1996); Napue v. Illinois, 360 U.S. 264, 269 (1959).

       At most, the State could say the material deposited on Leza’s left shoe was DNA belonging

to the victim. However, without the confirmatory test, the material could have been saliva, mucus,

skin cells, or some other human biological matter. Ex. 19 at 3. That is a significant limitation in

this case for two reasons.

       First, Leza was not a stranger to the victim. Leza and Trevino lived in the same apartment

complex as the victim, and had been in the victim’s car and apartment before the night of the

killing. See 12 RR 15, 17-18, 92,133; 13 RR 53; Ex. 75. Thus, the DNA material found on the

shoe—whether it was skin cells, mucus, saliva, or some other biological matter—could have

predated the killing in this case. That is to say, Leza could have come into contact with this

biological material in a previous ride in the victim’s car or visit to the victim’s apartment. In sum,

there is no way to determine when the DNA came to be deposited on Leza’s shoe. Ex. 19 at 3.

       And second, the CIL’s own standards and acceptable lab practices recognize the limitations

of serology testing and the dangers in overreaching conclusions. Ex. 19 at 3. According to the CIL

Serology/DNA Operations Manual, “A positive presumptive test for blood should be interpreted

only as the possible presence of blood.” Ex. 70 at 35 (emphasis added). The Operations Manual

also states: “Due to the nature of serological evidence, a definitive identification or interpretation




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should not be made without justification documented scientific data.” Id. at 36-37 (emphasis

added).

          The erroneous inclusion of false “blood” evidence in this case, and the State’s misconduct

in presenting it, had a substantial and injurious effect on the guilt and punishment verdicts. This

was one of the major pieces of evidence connecting Leza to the crime scene. However, because it

could not be said the material was blood, and because it could have been some other biological

material deposited on Leza’s shoe before the killing, the State’s insistence the material was the

victim’s blood left a false impression on the jurors that the evidence against Leza was strong. See

Mooney, 294 U.S. at 112 (the presentation of false evidence is intolerable because it perpetrates a

fraud on the judge and the jury and undermines the “rudimentary demands of justice.”); Berger v.

United States, 295 U.S. 78, 88 (1935). 12

                 2.      Trial counsel were ineffective

          In addition to the prosecutorial misconduct discussed above, trial counsel were ineffective

for failing to impeach Sailors and McCampbell as to their false testimony that the DNA material

on the shoe was blood.

          Soon after appointment, defense counsel sought discovery of the DNA evidence held by

the CIL. 1 CR 68, 81. After the State noticed the defense it would be calling at trial experts from

the CIL—Robert Sailors and Erica Graham—counsel moved for funding to hire an independent

DNA expert (Dean Wideman), and to permit Wideman access to the DNA laboratory records. 2

CR 455-56, 489-90; Ex. 22 at ¶¶2-3. The court granted the defense motion and Wideman was

appointed. 2 CR 492-93.



12
  The state district court’s FFCL also misidentified the biological material as blood, a finding that
was clearly unreasonable. See Ex. 13 at 27 (discussing “blood” on Leza’s shoe); 28 (“blood found
on [ ] Leza’s shoes”); 106 (“blood” found on Leza’s shoes).
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       Wideman received the State’s DNA laboratory records from the CIL, including DNA

serology testing worksheets, chain of custody records, evidence submission forms, communication

logs, evidence exam notes, DNA testing worksheets, electropherograms, testing protocols, and

CODIS worksheets, and conducted a case review of the materials. Ex. 22 at ¶4; Ex. 104. In addition

to his review of the CIL records, Wideman requested from defense counsel information specific

to Leza’s case, including police reports, autopsy report, witness statements, crime scene

photographs and videos, and other forensic lab reports. Ex. 22 at ¶5.

       Wideman, however, never had any substantive conversations with defense counsel about

the CIL materials he reviewed, and defense counsel never provided to Wideman the records he

requested for his review. Wideman submitted his bill to the court without being utilized by counsel,

either pre-trial or during the trial. Ex. 22 at ¶6; Ex. 104. If counsel had consulted Wideman, and if

Wideman had been given the materials related to Leza’s case as he requested, Wideman could

have assisted counsel in preparing their cross-examination of the State’s DNA experts. Ex. 22 at

¶6. For counsel to have hired an expert to review the DNA reports, and then not use that expert,

amounted to gross deficient performance.

       Wideman could have alerted counsel that a confirmatory test for blood was never

conducted. This information would have assisted trial counsel in objecting to any mention by the

State that the evidence on Leza’s shoe was blood, let alone blood belonging to the victim. Further,

Wideman could have assisted counsel in impeaching Sailors and McCampbell’s testimony if their

testimony had somehow been deemed admissible.

       In addition, since counsel had the same reports that Wideman received from the CIL, there

was no reason why counsel did not review the reports themselves and discover that no




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confirmatory test for blood had been conducted. Counsel then could have objected to any false

testimony about the victim’s blood being admitted before the jury.

       Moreover, and perhaps most importantly, counsel prejudiced Leza’s case by unnecessarily

conceding that the material found on Leza’s shoe was blood. In closing guilt-phase argument,

defense counsel wrongly told the jurors, “There’s no doubt [Leza] was in the apartment, okay? He

had a speck of blood on his left foot.” 16 RR 24. Moments later counsel stated again that there was

a “speck of blood on his left shoe,” 16 RR 26, and followed that with, “They found blood on his

left shoe,” and “That’s why there’s one speck of blood on his left foot.” Id; see also id. at 29

(“Speck of blood on his shoe. Fact.”). See McCoy v. Louisiana, 138 S. Ct. 53 (2017) (cert. granted).

If counsel had utilized Wideman, or simply read the CIL reports, counsel would not have made

this grave error. Simply put, if counsel had performed effectively, it is reasonably probable the

jurors would not have found Leza guilty of capital murder.

       3.      While the State was aware the bottom of Leza’s left shoe tested negative
               for the presumption of blood, it improperly inferred to the jury that
               bloody footprints found at the crime scene belonged to Leza

       In addition to the false evidence that the victim’s blood was found on Leza’s shoe, the State

also falsely tied Leza to “bloody” footprints found at the crime scene.

       Robert Ross, a crime scene investigator for SAPD, testified that there were two sets of

bloody footprints found in the victim’s apartment. 12 RR 63-65, 67. Detective Greiner testified to

the same, and pointed out that one set of bloody shoe prints was considerably smaller than the

other, raising an inference with the jury that one set belonged to Leza and the other to Trevino. 13

RR 28-30. And in closing argument, the State again pointed out the “two sets of bloody footprints,”

once again connecting the footprints to Leza. See 16 RR 40.

       However, the CIL tested the bottom of Leza’s left shoe for the presumption of blood, and

the test came back negative for the possible presence of blood. Ex. 19 at 4; Ex. 72 at 16. And the

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State never conducted any test of the bottom of Leza’s right shoe. Id. Thus, it was misleading for

the State to introduce evidence of bloody footprints because they could not be connected to Leza.

       Further, trial counsel were ineffective for failing to utilize Wideman, who could have

alerted counsel to the fact that the bottom of Leza’s shoe tested negative for the presence of blood.

Or at the very least, counsel themselves could have read the CIL reports, discovered this

information, and then effectively cross examined Ross and Greiner as to their false and irrelevant

testimony attempting to link Leza to the footprints.

       Counsel also should have objected to the State’s prejudicial arguments made in closing

argument attempting to link the bloody footprints to Leza. Effective counsel would have objected

to the State’s misleading argument. If counsel had performed effectively, either by properly using

the expert they had, or at a minimum reading the CIL reports they had in their possession, it is

reasonably probable the jurors would not have found Leza guilty of capital murder.

       4.      Trevino’s DNA profile could not be excluded on Leza’s right shoe

       In closing, the State argued that the only real verdict the jurors could return in this case was

that Leza was guilty of murder of the victim as a principal actor. The State also argued there was

no evidence that Trevino alone committed the murder. 16 RR 33-34.

       However, trial counsel failed to point out that Leza’s right shoe tested positive with the

presumption of blood and the DNA profile on the shoe did not exclude Trevino. Ex. 19 at 4; Ex.

71 at 23. This evidence was available in the CIL report, which counsel had in their possession.

       The fact that Trevino’s DNA (possibly blood) was found on Leza’s shoe strongly indicates

Trevino was more involved in the killing than the State argued, further supporting the defense’s

argument that Leza’s only involvement in the killing was his arrival after Trevino committed

murder. See 16 RR 26-30.



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       If counsel had utilized the expert they had, Ex. 22 at ¶6, or simply read the reports in their

possession, they would have been able to raise this issue with the jurors, and it is reasonably

probable that the jurors would not have found Leza guilty of capital murder.

B.     Other Errors Related To The Crime Scene Evidence Introduced At Trial

       In addition to the points argued above, there were additional errors with respect to the crime

scene evidence introduced at trial.

       1.      Robert Sailors testimony regarding CIL accreditation

       Trial counsel failed to effectively cross-examine CIL analyst Sailors regarding his

testimony related to CIL’s lab accreditation. As it stood, Sailor’s testimony over-emphasized the

type of accreditation CIL undertook.

       During his examination by the State, Sailors was asked about CIL’s accreditation. Sailors

responded the CIL had been accredited by the American Society of Crime Laboratory Directors

(ASCLD) since 1998. 13 RR 102. When asked whether the ASCLD had specific standards that

the CIL was to follow, Sailors responded, “Yes ma’am,” and explained that the CIL was re-

certified annually by the ASCLD. Id.

       While it is true that an accrediting agency such as the ASCLD will audit a participating lab

for, among other things, having “on file” a set of written procedures and protocols, it is not the

function of ASCLD to monitor the implementation of such procedures in every case analyzed by

the lab and/or every testimony given by a lab analyst. Further, the ASCLD does not engage in

surprise inspections in order to maintain lab certification. 13 The ASCLD’s manner of accrediting

a lab is a demonstrated problem. Between 2005 and 2011, there have been multiple errors at



13
  In that regard, accreditation by the ASCLD is less stringent than restaurant food inspections in
the City of San Antonio, where the inspections are unannounced. See Code City of San Antonio,
Ch. 13, Sec. 13-4.
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ASCLD certified laboratories across the nation including evidence contamination, cheating related

to competency, fraud, and mistakes. See Appendix A of: https://tinyurl.com/PDSDCAmicus. See

also Ex. 19 at 4. Leza’s defense counsel did not cross-examine Sailors about this topic, leaving the

jurors with a false impression that CIL’s accreditation by the ASCLD meant more than it did.

        2.      The State’s false testimony regarding collection of the victim’s DNA

        The State also introduced false testimony about how DNA material was collected from the

victim in this case.

        In his direct testimony, Detective McCampbell stated the blood of the victim in this case

was preserved for possible DNA comparison. See 12 RR 106. That testimony was inaccurate.

Rather, an oral swab was taken of the victim for later DNA comparison; no blood was collected

from the victim. Ex. 71 at 21, 22, 29; 13 RR 106, 111.

        The prejudice from Detective McCampbell’s testimony had a substantial and injurious

effect on the guilt and punishment verdict. Any testimony, either direct or indirect, that the victim’s

blood was used for DNA comparisons, was false, and left the jurors with the false impression that

the material on Leza’s left shoe was the victim’s blood. As discussed above, this was incorrect as

no blood was taken from the victim and further, no confirmatory test for blood was ever conducted.

C.      Trial and Post-Conviction Counsel Were Ineffective

        Trial counsel were ineffective for failing to object to the introduction of false testimony

that blood matching the victim’s was found on Leza’s left shoe, that bloody footprints found in the

victim’s apartment belonged to Leza, and that blood was taken from the victim for comparison

purposes. Counsel were also ineffective for failing to cross examine the witnesses who testified

falsely, were ineffective for failing to point out to the jurors that there was no DNA found on the

bottom of Leza’s shoe, and that Trevino’s DNA was found on Leza’s shoe, were ineffective for

failing to request a mistrial when the false evidence was testified to, and were ineffective for failing

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to request a curative instruction. These deficiencies were the product of counsel’s failure to utilize

their own DNA expert, Ex. 22 at ¶¶4-6, and failure to read or comprehend the CIL reports in their

possession.

       Further, trial counsel were ineffective for conceding that Leza was in the victim’s

apartment at the time of the crime based upon “blood” found on his shoe. In closing guilt-phase

argument, trial counsel stated, “Armando Leza was in that apartment. Fact.” 15 RR 23. A few

sentences later, counsel again conceded Leza’s presence at the murder: “There’s no doubt he was

in the apartment. Okay? He had a speck of blood on his left shoe.” Id. at 24; see McCoy, 138 S.

Ct. 53 (2017) (cert. granted).

       But, as discussed above, the State introduced false testimony that blood was on Leza’s left

shoe. Rather, without the confirmatory test, the material could have been saliva, mucus, skin cells,

or some other human biological matter. Ex. 19 at 3. That is significant because Leza had been in

the victim’s car, and possibly apartment, days or even weeks before the murder. See 12 RR 15,

17-18, 92,133; 13 RR 53; Ex. 75. Thus, the biological material found on the shoe could have

predated the killing in this case. That is to say, Leza could have come into contact with this

biological material in a previous ride in the victim’s car or visit to the victim’s apartment. Ex. 19

at 3. Thus, counsel’s “concession” that Leza was at the apartment the night of the killing, based

upon “blood” found on his shoe, was unnecessary and overly prejudicial to Leza’s guilt-phase

case. In short, counsel’s performance was deficient, and there is a reasonable probability of a more

favorable outcome if counsel had performed effectively.

       Further, post-conviction counsel was ineffective for failing to raise any of these claims

during the state post-conviction proceedings below. Counsel’s ineffectiveness establishes cause

for Leza’s failure to raise these claims below. Martinez, 566 U.S. at 8-9.



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CLAIM FOUR (FAILURE TO OBJECT TO JUDGE’S COMMENT RE: DNA)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because of judicial bias and ineffective assistance

of trial counsel. Exhaustion: This claim has not been presented to the state courts because of the

ineffectiveness of trial and initial post-conviction counsel.

       The right to a fair trial conducted by an impartial judge is a fundamental right of a

defendant. Tumey v. Ohio, 273 U.S. 510 (1927) (adjudication by a biased judge requires reversal

without regard to prejudice). Judges are not to comment upon evidence or convey their opinion of

the case to the jury. Tex. Crim. Proc. Code Ann. § 38.05.

       Robert Sailors, a forensic scientist with the Bexar County Criminal Investigations

Laboratory, testified as to the DNA evidence collected in Leza’s case. 13 RR 97. As described in

Claim Three above, Sailors offered false testimony as to the supposed “blood” evidence he stated

was located on Leza’s shoes. He also explained the victim was not excluded as being the donor of

human DNA found from the swab on the left shoe, but she was excluded as being the donor of

human DNA on the right shoe. 13 RR 113-14. Sailors then offered a description of the likelihood

of a random match. 13 RR 114. He offered a mathematical calculation as the probability of random

match and wrote out the number. 13 RR 115.

       After writing out the number, the trial court stated, “Okay. That’s a lot of zeros.” 13 RR

115. Defense counsel was silent. The prosecutor then built upon the court’s comment, and asked

Sailors: “It’s a whole lot of zeros; right?” 13 RR 115. The trial court’s comment reinforced

Sailors’s material testimony (which separately included a material falsehood regarding the claimed

presence of the victim’s blood DNA) before the jury. The Court’s lack of partiality prejudiced

Leza and emphasized the import of the false and misleading DNA evidence against Leza. See

Proenza v. State, __ S.W.3d __, 2017 WL 5483135 (Tex. Crim. App. Nov. 15, 2017) (judicial

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comments can be fundamental error reviewable even in the absence of a contemporaneous

objection).

       Counsel was ineffective for failing to object to the judge’s improper comment, for failing

to ask the court to strike its extraneous comment, and for failing to request the court offer a curative

instruction before he proceeded to cross-examine Sailors. Either individually or collectively, this

error was prejudicial, and there is a reasonable probability of a more favorable result if counsel

had performed effectively.

CLAIM FIVE (IAC REGARDING TREVINO PLEA AGREEMENT)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because trial counsel were ineffective for failing to

introduce and procure admission of co-defendant Dolores Trevino’s November 2008 plea

agreement into evidence during both the guilt and punishment phases of Leza’s trial. Exhaustion:

This claim was presented to the state courts in Leza’s initial state application. See Ex. 8 at 64-69.

The state courts’ adjudication of the claim was contrary to, and consisted of an unreasonable

application of, clearly established federal law, and was based on an unreasonable determination of

the facts. Ex. 15 at 2; Ex. 13 at 128-32, 153-54. To the extent the Court finds aspects of this claim

were not fairly presented to the state courts, Leza contends they were not presented because of the

ineffectiveness of Leza’s trial and initial post-conviction counsel.

A.     Background

       A grand jury indicted Leza for capital murder arising from the killing of Allen and named

Dolores Trevino as Leza’s co-defendant. CR 16. The indictment alleged “Leza . . . did intentionally

cause the death of an individual, namely, Caryl Jean Allen, . . . , by CUTTING AND STABBING

THE COMPLAINANT WITH A DEADLY WEAPON, NAMELY A KNIFE, THAT IN THE

MANNER OF ITS USE AND INTENDED USE WAS CAPABLE OF CAUSING DEATH AND

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SERIOUS BODILY INJURY, and . . . was in the course of committing or attempting to commit

the offense of ROBBERY of Caryl Jean Allen.” Id.

       About six months prior to Leza’s trial, Trevino pleaded guilty to the murder of Allen—a

lesser-included offense to capital murder—that was punishable by five years to life in prison. See

Exs. 82-84. With the plea, Trevino admitted to virtually all of the allegations set forth in Leza’s

indictment. Trevino “judicially confess[ed] and admit[ted]” that she “did intentionally cause the

death of an individual, namely, Caryl Jean Allen, . . . , by CUTTING AND STABBING THE

COMPLAINANT WITH A DEADLY WEAPON, NAMELY A KNIFE, THAT IN THE

MANNER OF ITS USE AND INTENDED USE WAS CAPABLE OF CAUSING DEATH AND

SERIOUS BODILY INJURY.” Ex. 85 at 2. On June 1, 2009, following Leza’s trial, Trevino was

sentenced to life in prison. Ex. 116.

       Trial counsel failed to procure admission of Trevino’s plea agreement at Leza’s trial,

during both the guilt and punishment phases. 14 The State filed a motion in limine and argued

Trevino’s plea was not relevant to Leza’s guilt, but conceded it would become relevant if Trevino

testified. 12 RR 4. The State sought to preclude consideration of the plea at both phases of the trial.

Id. The trial court granted the motion with respect to the guilt phase, but indicated the plea could

be relevant during the punishment phase. Id. Trial counsel did not oppose the motion, or argue the

plea was admissible during the guilt phase.

       Trial counsel attempted to introduce evidence of Trevino’s plea during the punishment

phase. Outside of the presence of the jury, counsel called Deputy District Clerk Lillian Cronk. 18

RR 163. Cronk testified Trevino had pleaded guilty to Allen’s murder and had admitted that she




14
  At the state writ hearing, trial counsel admitted he had access to copies of Trevino’s plea
documents at the time of Leza’s trial. Writ RR 193-94.
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used a deadly weapon during commission of the crime. 18 RR 164. Trial counsel argued the plea

is “admissible for the jury’s consideration as to the full disclosure of the participants in this defense

[sic].” 18 RR 165. Counsel further argued there was evidence that Trevino was the “principle and

not the party, and it would be a factor to be considered for [the jury] in assessing punishment in

answering the special issues.” Id. The trial court acknowledged that “I think it’s not fair for it not

to come into evidence,” but stated “I don’t see any kind of vehicle that it comes in under.” 18 RR

165-66. Trial counsel failed to proffer any legal authority in response by which the plea could be

admitted. Consequently, the trial court ruled “[i]t is not going to be admitted,” but conceded that

“[i]t ought to be.” 18 RR 166.

B.        Counsel Failed To Argue the Plea Was Admissible On State Law Grounds

          Trial counsel were ineffective for failing to raise various provisions of state law supporting

the admission of Trevino’s plea. As an initial matter, the plea was relevant to the issues at stake in

the guilt phase. At trial, the State argued Leza was guilty of capital murder because he

“intentionally caused the death of . . . Allen, by cutting or stabbing her with a deadly weapon,

which is a knife . . . .” 16 RR 31. The State insisted that “[i]t’s cutting or stabbing” and that it “[did

not] have to prove to you both.” 16 RR 32. However, Trevino’s plea established Leza did not cut

or stab Allen with a knife as the State claimed. In her plea, Trevino confessed to killing Allen by

both cutting and stabbing her with a knife. 15 Ex. 85 at 2. Moreover, Trevino’s plea also undermined

the State’s alternative contentions that Leza was guilty of capital murder as a party or co-

conspirator. See 16 RR 33-34. The State’s alternative theories were based on Leza’s recorded

interrogation where Leza indicated he was with Trevino in Allen’s apartment and helped bind

Allen. See 16 RR 33-34, 38-40, 43-44. Because Trevino’s plea demonstrated Leza’s confession



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     As a signatory to the plea, the State was bound by this admission.
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during the interrogation was false, it necessarily cast the rest of Leza’s statements in the

interrogation into doubt. In short, at the very least, Trevino’s plea made the facts at issue in the

guilt phase “more or less probable.” Tex. R. Crim. Evid. 401.

       For similar reasons, the plea was also relevant to issues during the punishment phase.

Pursuant to Code of Criminal Procedure § 37.071(2)(b)(2), the jury was required to determine

whether, beyond a reasonable doubt, “the defendant, Armando Leza, actually caused the death of

Caryl Jean Allen or did not actually cause the death of Caryl Jean Allen but intended to kill Caryl

Jean Allen or anticipated that a human life would be taken?” 3 CR 819. As set forth above,

Trevino’s plea was relevant to this issue: it was probative as to whether Leza “actually caused the

death of . . . Allen,” and also cast into doubt Leza’s claims he was with Trevino in Allen’s

apartment and helped bind Allen with the intent to facilitate her murder.

       Additionally, the jury was instructed to determine whether Leza “would commit criminal

acts of violence that would constitute a continuing threat to society,” and “whether, taking into

consideration all the evidence, including the circumstances of the offense, Armando Leza’s

character and background, and the personal moral culpability of Armando Leza, there is a

sufficient mitigating circumstance or circumstances to warrant that a sentence of life imprisonment

without parole rather than a death sentence be imposed.” 3 CR 818, 820-21. Trevino’s plea was

necessarily relevant to both of these questions. Because the plea established Leza did not

personally murder Allen, it was probative as to both his future dangerousness to society and his

personal moral culpability. Trial counsel rendered deficient performance by failing to raise these

arguments. To the extent the Court finds trial counsel’s arguments in support of the plea’s

admissibility were adequate, however, Leza contends in the alternative that the trial court erred in

rejecting them and barring admission of the plea.



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       The prosecution did not raise any evidentiary objections other than relevancy when

opposing introduction of Trevino’s plea. However, to the extent the trial court’s ruling was based

on Texas’s hearsay prohibition, trial counsel were ineffective for failing to cite hearsay exceptions

and exclusions that would permit admission of the plea. For instance, the plea could have been

admissible as a: (1) statement by an opposing party because the State—Leza’s opposing party at

trial—prepared, signed and adopted it. Rule 801(e)(2); (2) public record, Rule 803(8)-(9); or (3)

statement against interest, Rule 803(24). Trial counsel could also have proposed the trial court

simply take judicial notice of the plea as a “fact that is not subject to reasonable dispute,” and

inform the jury of the plea in its instructions during both the guilt and punishment phases. Rule

201(b). Trial counsel could also have called Trevino as a witness and introduced the plea as a

recorded recollection, Rule 803(5). If Trevino had testified Leza was responsible for Allen’s death,

trial counsel could also have introduced Trevino’s plea as impeachment evidence, Rule 613(a),

(b). Hence, trial counsel were ineffective for failing to raise these arguments in support of the

plea’s admission. See also pages 54-55, below.

C.     Counsel Failed To Argue The Plea Was Admissible On Constitutional Grounds

       Trial counsel were also ineffective for failing to raise four federal constitutional grounds

in support of the plea’s admissibility in the punishment phase. First, trial counsel were ineffective

for failing to argue the plea was admissible pursuant to the Eighth Amendment’s prohibition

against cruel and unusual punishment because it showed the State had already accepted the fair

and proportionate sentence for Allen’s death was at a maximum life imprisonment. Accordingly,

a death sentence for Leza was disproportionate given that Trevino had pleaded guilty to the same

crime and would only receive a prison sentence instead of the death penalty.

       Second, trial counsel were ineffective for failing to argue the plea showed the State’s

pursuit of the death penalty for Leza violated the Equal Protection Clause. The plea showed the

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State was singling out Leza for the death penalty, even as it accepted a maximum sentence of life

imprisonment for Trevino for the same crime. The plea also suggested the State’s attempt to

procure a death sentence against Leza was discriminatory and based on his gender.

       Third, trial counsel were ineffective for failing to argue the plea should have been

introduced pursuant to Leza’s Sixth, Eighth, and Fourteenth Amendment rights to present a

defense and mitigating evidence during the punishment phase. See Holmes v. South Carolina, 547

U.S. 319, 324 (2006); Smith v. Texas, 543 U.S. 37, 44 (2004); Parker v. Dugger, 498 U.S. 308,

315 (1991); Eddings v. Oklahoma, 455 U.S. 104, 110 (1982); Green v. Georgia, 442 U.S. 95, 96-

97 (1979) (per curiam); Lockett v. Ohio, 438 U.S. 586, 604-05 (1978);; Chambers v. Mississippi,

410 U.S. 284, 302 (1973). 16

       Finally, Tison v. Arizona, 481 U.S. 137 (1987), required the jury to make death-eligibility

findings regarding Leza’s involvement in Allen’s death in addition to those set forth by state law,

and trial counsel were ineffective for failing to argue Trevino’s plea should have been introduced

as relevant to such findings.

D.     Leza Was Prejudiced By Trial Counsel’s Deficient Performance

       As a result of trial counsel’s failure to introduce evidence of Trevino’s plea, the jury heard

no evidence of Trevino’s involvement and concession to Allen’s murder. During the guilt phase

of trial, it is reasonably probable the outcome would have been different if trial counsel had argued

for admission of Trevino’s plea because the plea would have negated the State’s theory that Leza


16
  Many states have found that a co-defendant’s life sentence is a relevant mitigating factor which
should be presented to a jury. See In re Burgess, 811 So.2d 617, 628 (Ala. 2000); State v. Lynch,
357 P.3d 119, 142 (Ariz. 2015); Woldt v. People, 64 P.3d 254, 260 n.8 (Colo. 2003); Garden v.
State, 844 A.2d 311, 317 (Del. 2004); Keen v. State, 775 So.2d 263, 284 (Fla. 2000); Holmes v.
State, 671 N.E.2d 841, 850-51 (Ind. 1996); Johnson v. State, 495 A.2d 1, 16-17 (Md. 1985);
Howell v. State, 860 So.2d 704, 762 (Miss. 2003); State v. Smith, 931 P.2d 1272, 1281 (Mont.
1996); N.H. Rev. Stat. §630:5 (5)(g); State v. Getsy, 702 N.E.2d 866, 892 (Ohio 1998); State v.
Agee, 364 P.3d 971, 998-99 (Ore. 2015).
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personally murdered Allen. The prosecution’s remaining theories that Leza was guilty—i.e. either

as a party to the murder or as a co-conspirator to robbery—did not support the verdict because

these theories were based either on statements from Leza’s interrogation (which were cast into

doubt by Trevino’s plea), or on DNA and bloody footprint evidence (which, as set forth in Claim

Three, did not support Leza’s guilt). 16 RR 33-34, 38-40, 41-42, 43-44.

       Trial counsel’s failure to procure admission of Trevino’s plea also severely prejudiced Leza

during the punishment phase. Chambers, 410 U.S. at 302. As a result of counsel’s deficient

performance, the jury assessed Leza’s moral culpability without knowing it was Trevino who

actually murdered Allen, or that the maximum penalty Trevino would suffer for the murder was

between five years and life imprisonment. Trevino’s admission would have altered Leza’s moral

culpability in the eyes of the jury. Individuals who were seated on Leza’s jury stated during voir

dire in response to questioning by trial counsel that two people who committed the same crime

should receive the same punishment. 5 RR 77; 6 RR 20. Additionally, another juror disliked that

a person could only be sentenced from five years to life for committing non-capital murder and

could not be sentenced to death. 10 RR 126-27. It is reasonably likely these jurors would have felt

the differing sentences were unfair or been unwilling to impose a death sentence on Leza if they

had known Allen’s actual murderer would only serve, at worst, a sentence of life imprisonment.

Hence, there is a reasonable probability the outcome of Leza’s punishment phase would have been

different had trial counsel raised the arguments presented here in support of the plea’s admission

during the punishment phase.

CLAIM SIX (BRADY EVIDENCE)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the State withheld exculpatory evidence.

Brady v. Maryland, 373 U.S. 83 (1963). Exhaustion: This claim has not been presented to the

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state courts because: (1) the State failed to disclose the evidence; (2) due to the ineffectiveness of

trial and initial post-conviction counsel; and/or (3) the conflict with post-conviction counsel (see

Claim Twenty-Three below).

       On November 19, 2008, Delores Trevino entered an open plea to the murder of Allen. See

Exs. 82-84. Before entering the plea, the State met with Delores Trevino. Ex. 83 at ¶V (“I have

also provided a true and correct statement of the Capital Murder of Caryl Jean Allen to members

of the Bexar County District Attorney’s Office, and agree to testify to those details given in my

interview . . . .”). Notes of this meeting were prepared by the District Attorney’s Office. Ex. 86.

These notes were not disclosed to trial counsel, but were obtained by Leza’s current counsel during

a review of the State’s file. The State’s interview with Trevino contains exculpatory material that

should have been provided to defense counsel.

       Notes from that interview included the following exculpatory comments from Trevino: “I

got the knife from the kitchen” and “I got the things to tie her up with and got the knife.” Ex 86 at

3. Trevino’s statements that she tied up the victim and got the knife are exculpatory as they show

her direct involvement in the homicide. Additionally, and perhaps most importantly, Trevino said:

“I had to kill her, but when I did, I asked God to forgive me.” Id (emphasis added). Trevino’s

confession to the State included a statement unequivocally affirming her direct responsibility for

the murder of Allen.

       Trevino offered direct statements that she got the murder weapon, tied up the victim, killed

the victim, and sought forgiveness. Ex 86 at 3. The State failed to disclose this evidence. Kyles v.

Whitley, 514 U.S. 419, 441-44 (1995). If this evidence had been available, Leza could have

attacked the integrity of the State’s case—that Leza was the killer and Trevino played little to no

part in the crime.



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       Armed with the admissions of guilt, Leza could have shown at trial that the prosecution

elected not to call the alleged co-conspirator because her statements were consistent with Leza’s

position that he was not the primary actor and that Trevino was the sole killer. Trevino’s

undisclosed statements to the prosecution put the murder weapon in her hand. Her own statements

also demonstrate that she bound the victim prior to killing her, that she killed the victim, and prayed

for forgiveness. Ex 86 at 3.

       The three elements of a Brady violation are clearly met here. Strickler v. Greene, 527 U.S.

263, 281-82 (1999). First, Trevino’s statements were favorable to Leza as she admitted

responsibility for binding the victim, obtaining the murder weapon, killing the victim, and then

praying for forgiveness. Ex 86 at 3. Second, the State suppressed these statements.

       And third, the suppression of Trevino’s interview with the prosecution prejudiced Leza.

With regard to prejudice, the State argued that Leza was the master-mind of the crime, and killed

Allen. At most, the State argued, Trevino aided Leza by holding down the victim. 16 RR 33-34,

37, 40-41. However, the statements suppressed by the State show an entirely different picture. One

in which Trevino tied up the victim, got the murder weapon from the kitchen, killed the victim,

and then asked God for forgiveness. Ex. 86 at 3. If the jurors had heard this evidence, none of the

proffered theories advanced by the State, blaming Leza for the murder, could have been found true

by the jurors.

       Furthermore, when the cumulative effect of these undisclosed statements is considered in

conjunction with the false and misleading testimony regarding bloody footprints and blood DNA

(Claim Three), there is, at a minimum, a reasonable probability of a different result. United States

v. Bagley, 473 U.S. 667, 675-76 (1985).




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       In addition to committing a Brady violation, the State also committed prosecutorial

misconduct by making arguments during closing that were contradicted by the suppressed Trevino

statements. For example, the State said: “They tied her up and killed her” and “They tied her up.”

16 RR 37, 40. However, Trevino told the prosecution that she got the things to tie up the victim,

not that they both did. Ex 86 at 3. The prosecution was clearly aware of Trevino’s statements since

they were made directly by Trevino to the District Attorney’s Office. See also Claim Twenty-

Three below.

       Alternatively, should the State argue that it did not suppress these statements and that they

were disclosed, then prior counsel was ineffective for failing to recognize the import of Trevino’s

statements and utilize them to demonstrate Leza’s innocence. The State’s suppression of this

exculpatory evidence requires that Leza’s conviction must be reversed and he must be granted a

new trial. Further, post-conviction counsel’s conflict of interest excuses any bar to raising this

claim now. See Claim Twenty-Three below.

CLAIM SEVEN (TREVINO’S CONFESSION TO AMANDA LEZA)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the trial court wrongfully precluded the

jury from hearing Amanda Leza testify at the punishment phase that Dolores Trevino admitted to

killing the victim. In the alternative, trial counsel were ineffective for failing to properly prepare

Amanda to testify at punishment. Trial counsel were also ineffective for failing to call Amanda to

testify at the guilt phase. Further, trial and post-conviction counsel were ineffective for failing to

raise all of these issues in state court. Exhaustion: This claim was presented to the state courts in

part as Point of Error Eleven in the direct appeal, and in part as Claim II in Leza’s initial state

application. Ex. 3 at 115-24; Ex. 6 at 8; Ex. 8 at 20-22. The state courts’ adjudication of these

claims was contrary to, and consisted of an unreasonable application of, clearly established federal

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law, and was based on an unreasonable determination of the facts. See Ex. 9 at 26-28; Ex. 13 at

115–19; Ex. 15 at 2. The remaining portions of this claim were not presented to the state court

because of the ineffectiveness of trial and initial post-conviction counsel.

A.     Relevant Facts

       Amanda Leza was riding in a car with Leza, Trevino, and Celia Leza when Trevino

confessed to killing Allen and committing the crime alone. 17 According to Amanda, Trevino did

not show any remorse and even smiled when she confessed to the killing. Trevino also told

Amanda she tied up Allen and slit her throat. Ex. 106 at ¶25; 18 RR 104-05, 108, 111. Despite this

admission, trial counsel did not seek to introduce Amanda’s testimony at the guilt phase of trial.

At punishment, counsel sought to admit Amanda’s testimony, but the trial court excluded it as

hearsay and because Amanda “could not follow directions” to testify to Trevino’s statements

verbatim. 18 RR 113-14.

B.     Trial Counsel Were Ineffective For Failing To Call Amanda Leza To Testify
       During The Guilt Phase of Leza’s Trial

       Despite awareness of Trevino’s confession to Amanda, counsel did not call Amanda to

testify. Trial counsel’s decision constituted deficient performance because: (1) Amanda’s

testimony was admissible; and (2) had trial counsel called Amanda to testify, there is a reasonable

probability that, with knowledge of Trevino’s confession, the jury would have acquitted Leza.

       1.      Amanda Leza’s testimony was admissible

       Amanda’s testimony could have been introduced by trial counsel under an exception to the

hearsay rule, or alternatively, as a non-hearsay statement. Under Tex. R. Evid. 803(24), Amanda’s

testimony regarding Trevino’s admission to killing Allen could be admitted as a statement against




17
  For the purposes of this Claim and to avoid confusion, Amanda Leza will be referred to as
“Amanda.”
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interest. This statement is contrary to Trevino’s interest because it would expose her to criminal

liability, and therefore, would only be made if Trevino believed it to be true. Id. Additionally,

Trevino’s statements to Amanda were corroborated by Trevino’s: (1) initial statements to law

enforcement claiming she alone committed the murder (Ex. 79); (2) subsequent statements to the

State before she pleaded guilty to killing Allen and asking God for forgiveness (Ex. 86 at 3); and

(3) guilty plea to Allen’s murder (Exs. 83, 84). All of these corroborating circumstances support

the trustworthiness of Amanda’s testimony.

       Alternatively, Trevino’s statements to Amanda could have been introduced as non-hearsay

statements for their effect upon Amanda. Tex. R. Evid. 801(c); also see, e.g., United States v.

Herrera, 600 F.2d 502 (5th Cir. 1979); United States v. Wright, 783 F.2d 1091, 1098 (D.C. Cir.

1986). Trial counsel could have argued that, as a result of hearing Trevino’s inculpatory statements

(18 RR 105, 108), Amanda called law enforcement to tell them where to find Leza and Trevino.

18 RR 106; Ex. 106 at ¶25.

       2.      Amanda Leza’s testimony would have created reasonable doubt

       Trial counsel’s failure to present Amanda’s testimony constituted deficient performance

because had trial counsel called Amanda to testify, there is a reasonable probability that, with

knowledge of Trevino’s confession, the jury would have acquitted Leza of capital murder or, at

most, convicted him of a lesser offense. The admission of Trevino’s confession would have

substantially altered the story presented at trial and undermined a substantial number of the State’s

theories of Leza’s guilt, which focused on Leza as the individual solely responsible for Allen’s

death. Thus, trial counsel’s failure to call Amanda Leza as a witness constituted deficient

performance.




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C.     The Trial Court’s Ruling Precluding Amanda Leza’s Testimony At The
       Punishment Phase of Trial Was Erroneous

       During the punishment phase of trial, the court precluded Amanda’s testimony that Trevino

confessed to killing Allen because: (1) Amanda was not testifying to Trevino’s direct quotations;

and (2) the testimony constituted hearsay. 18 RR 113-14. The court’s ruling, however, was

erroneous.

       First, there is no requirement a witness testify to another person’s statements verbatim.

Thus, Amanda’s recitation of Trevino’s statement did not need to be an exact quote. Second, as to

the trial court’s determination that Amanda’s testimony was hearsay, defense counsel properly

argued the statements could be admitted as non-hearsay “statement[s] against penal interest.” 18

RR 108–09. The trial court, however, prevented Amanda from testifying about Trevino’s

confession because Amanda “can’t follow directions.” 18 RR 113. As a result of its ruling, the

court failed to consider the proper evidentiary grounds offered by trial counsel, and thus, its failure

to admit Amanda’s testimony was erroneous. 18

D.     Trial Counsel Were Ineffective For Failing To Adequately Argue The
       Admissibility Of Amanda Leza’s Testimony

       While counsel appropriately argued Amanda’s testimony was a statement against penal

interest in an attempt to have her testimony admitted, counsel failed to exhaust all available

arguments. For example, counsel should have additionally argued Leza had a due process right to

present a complete defense and for the jury to hear Trevino’s admissions. At the time of trial, there

were a number of cases from the Supreme Court establishing the Sixth and Fourteenth Amendment

do not permit rules that “disable a defendant from presenting her version of the events for which



18
   And while Leza disagrees with the court’s conclusion Amanda was required to limit her
testimony to direct quotations from Trevino, counsel should have prepared Amanda so she would
testify Trevino said “I slit her throat and I tied her up,” rather than frustrating the Court by saying:
“That she slit her throat and she tied her up.” 18 RR 109.
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she is on trial.” Rock v. Arkansas, 483 U.S. 44, 61 (1987); see also Davis v. Alaska, 415 U.S. 308,

319 (1974). Indeed, not long before trial, the Supreme Court cautioned: “[T]he Constitution …

prohibits the exclusion of defense evidence under rules that serve no legitimate purpose or that are

disproportionate to the ends that they are asserted to promote.” Holmes v. South Carolina, 547

U.S. 319, 326 (2006). The Supreme Court found exclusion of hearsay testimony that a second

defendant admitted to killing the victim was relevant in the punishment phase and the exclusion

of this testimony violated the defendant’s right to a fair trial. Green v. Georgia, 442 U.S. 95 (1979).

In sum, because of the trial court’s error and the deficient performance of trial counsel, the jurors

did not hear at the punishment phase Trevino’s confession to Amanda Leza. If they had, there is a

reasonable probability that at least one juror would have voted for a sentence of less than death.

CLAIM EIGHT (INCONSISTENT THEORIES)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the State improperly relied on inconsistent

theories of guilt between Leza and Trevino to convict Leza. In addition, trial counsel were

ineffective for failing to object to the use of inconsistent theories. Exhaustion: This claim has not

been presented to the state courts because of the ineffectiveness of trial and initial post-conviction

counsel.

A.     Trevino Pleaded Guilty To Killing Allen By Cutting And Stabbing Her With A
       Knife

       As discussed in Claim Five, approximately six months prior to Leza’s trial, Trevino signed

a plea agreement with the Bexar County District Attorney, in which she agreed to plead guilty to

the murder of Allen and additionally “judicially confess[ed] and admit[ted]” that she “did

intentionally cause the death of an individual, namely, Caryl Jean Allen, . . . , by CUTTING AND

STABBING THE COMPLAINANT WITH A DEADLY WEAPON, NAMELY A KNIFE, THAT


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IN THE MANNER OF ITS USE AND INTENDED USE WAS CAPABLE OF CAUSING

DEATH AND SERIOUS BODILY INJURY.” Ex. 83 at 1; Ex. 85 at 2. Following Trevino’s plea,

the trial court entered judgement against Trevino, finding her guilty of first degree murder with a

deadly weapon. Ex. 129.

       Despite Trevino’s admission and confession to cutting, stabbing, and ultimately causing

Allen’s death, the State argued Leza was responsible for killing Allen and presented this as a theory

under which the jury could convict Leza of capital murder. In fact, the State specifically argued to

the jury Leza was guilty of capital murder because he “intentionally caused the death of . . . Allen,

by cutting or stabbing her with a deadly weapon, which is a knife . . . .” 16 RR 31. As a result of

the evidence presented, the State secured both a conviction for first degree murder against Trevino

and a conviction of capital murder against Leza. The jury never discovered Trevino pleaded guilty

to causing Allen’s death, and therefore, was unable to take this fact into consideration when

weighing the evidence against Leza.

B.     The State’s Use Of Inconsistent Theories To Convict Leza Violated His Due
       Process Rights

       The Due Process Clause guarantees the right to a trial that comports with basic tenets of

fundamental fairness. Lassiter v. Department of Soc. Servs., 452 U.S. 18, 24–25 (1981). As part

of that guarantee, the law recognizes prosecutors have “the unique duty to ensure fundamentally

fair trials by seeking not only to convict, but also to vindicate the truth and to administer justice.”

Thompson v. Calderon, 120 F.3d 1045, 1058 (9th Cir. 1997), vacated on other grounds, 523 U.S.

538 (1998). Accordingly, a state’s use of factually contradictory theories that “exist at the core of

the prosecutor’s case against defendants for the same crime,” in an effort to obtain multiple murder

convictions, violates the principles of due process. Smith v. Groose, 205 F.3d 1045, 1052 (8th Cir.

2000); see also Bradshaw v. Stumpf, 545 U.S. 175, 187-88, 191-92 (2005); Johnson v. Dretke, 442


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F.3d 901 (5th Cir. 2006); Drake v. Kemp, 762 F.2d 1449, 1479 (11th Cir. 1985) (Clark, J., specially

concurring); In re Sakarias, 106 P.3d 931, 945 (Cal. 2005).

       Here, the State violated Leza’s rights when it sought to convict him of capital murder based

on arguments inherently inconsistent with Trevino’s admission and plea, in which Trevino

conceded that she caused Allen’s death by cutting and stabbing her with a knife. In an effort to

secure Leza’s conviction, the State offered four theories of guilt during trial: (1) Leza acted alone,

(2) Leza was the main actor and Trevino assisted, (3) Trevino was the main actor and Leza assisted,

and (4) Leza entered into a conspiracy with Trevino to commit the robbery and, in an attempt to

carry out the conspiracy, Trevino caused Allen’s death. 16 RR 9-10, 33-34.

       Based on Trevino’s plea agreement, it is clear the arguments and evidence presented by the

State are premised on inherently inconsistent theories of guilt. Specifically, the State’s first theory

that Leza acted alone in causing Allen’s death, is clearly inconsistent with Trevino’s plea

agreement, which admits that Trevino caused Allen’s death by cutting and stabbing her with a

knife. Additionally, the State’s second theory that Leza was the main actor and Trevino helped

merely by “t[ying] [Allen] up,” is also inherently inconsistent with Trevino’s plea, which concedes

that she did more than tie Allen up, but actually stabbed and cut Allen with a knife. 16 RR 33.

       The State’s strategy of using legally inconsistent theories in an attempt to secure two

convictions rendered Leza’s trial fundamentally unfair. Because Texas’s Penal Code does not

require a jury to specify the theory under which it found Leza guilty, the State was able to exploit

the ambiguity and lead the unknowing jury to believe there was overwhelming evidence to find

Leza guilty under four different theories, when in reality, two of the theories were inconsistent

with the legal findings of Trevino’s plea agreement. The State’s exploitation of these inconsistent

theories unfairly burdened Leza and violated the State’s duty to administer justice by allowing the



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State to seek more serious convictions and sentences than would have likely been possible in a

single trial based on a fair consideration of the evidence. See Thompson, 120 F.3d at 1058. Leza

was, therefore, unfairly burdened with the responsibility of attacking all four theories—a task made

even more difficult because the trial court refused to allow any evidence of Trevino’s plea

agreement or confession to Amanda Leza to come in at trial. See 12 RR 4. Accordingly, the State’s

exploitative actions deprived Leza of his due process rights to a fair trial.

       The State’s use of legally inconsistent theories additionally had a prejudicial effect on

Leza’s sentencing. During the punishment phase of trial, the jury was instructed to determine

“whether, taking into consideration all the evidence, including the circumstances of the offense,

Armando Leza’s character and background, and the personal moral culpability of Armando Leza,

there is a sufficient mitigating circumstance or circumstances to warrant that a sentence of life

imprisonment without parole rather than a death sentence be imposed.” 3 CR 820-21. Leza’s moral

culpability in the commission of this crime was a factor that had a direct impact on the jury’s

decision between a sentence of death and a sentence of life in prison. By failing to disclose

Trevino’s confession that she stabbed and cut Allen, the State knowingly withheld material facts

from the jury. The jury was consequently led to believe there was evidence to support a finding

Leza acted alone and was, therefore, the principal actor in killing Allen, which would have

undoubtedly increased his moral culpability in the eyes of the jury. Bradshaw, 545 U.S. at 187

(recognizing the prosecutor’s use of inconsistent theories could have affected petitioner’s sentence

because it is likely the belief that petitioner played a principal role in the offense was material to

the sentencing determination). Consequently, the State’s knowing exploitation of inconsistent

theories violated Leza’s right to due process and deprived him of a fair sentencing.




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C.     Trial Counsel And Post-Conviction Counsel Were Ineffective

       Trial counsel and post-conviction counsel were ineffective for failing to object to the

State’s reliance on legally inconsistent theories and to raise them on post-conviction review,

respectively. Although trial counsel made efforts to have Trevino’s plea agreement admitted into

evidence, trial counsel ultimately failed to object to the State’s blatant use of legally inconsistent

theories. Had trial counsel objected to the State’s reliance upon legally inconsistent theories in

violation of its duty to ensure a fair trial, trial counsel could have narrowed the theories under

which the jury was permitted to find Leza guilty by eliminating the two theories in which Leza

was the primary actor. In light of the insufficient evidence to prove the conspiracy theory, as

discussed below, it is reasonably probable the jury would have then been left without sufficient

evidence to convict Leza of the capital murder charge. In the alternative, there is a reasonable

probability of a more favorable outcome at the punishment phase.

CLAIM NINE (CONSPIRACY THEORY)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because: (1) there was insufficient evidence to

support a conspiracy charge; (2) the trial court gave an improper jury instruction on the conspiracy

charge by omitting the requirement the jury find an overt act was committed in furtherance of the

conspiracy; and (3) the State committed misconduct by arguing the jury could convict Leza under

a conspiracy theory despite the lack of evidence supporting the theory. In addition, trial counsel

were ineffective for failing to request removal of the conspiracy charge and failing to object to the

State’s and trial court’s misstatements of the law. Exhaustion: This claim has not been presented

to the state courts because of the ineffectiveness of trial and initial post-conviction counsel.




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A.     There Was Insufficient Evidence To Support A Conspiracy Charge

       The State presented four theories to find Leza guilty of capital murder: (1) Leza acted

alone; (2) Leza was the main actor and Trevino assisted; (3) Trevino was the main actor and Leza

assisted; and (4) Leza entered into a conspiracy with Trevino to commit the robbery and, in an

attempt to carry out the conspiracy, Trevino caused Allen’s death. 16 RR 9-10, 33-34. In relying

on the conspiracy theory to convict Leza of capital murder, the State’s argument was premised on

a finding that Leza, having allegedly entered into an agreement with Trevino to commit robbery,

was guilty because Trevino caused Allen’s death in furtherance of the conspiracy. Id. at 10, 33-34.

       However, the State’s entire case, including the evidence it presented—specifically Leza’s

statements about binding Allen, getting the knife, and cutting her throat—was premised on the

theory that Leza was not just involved, but that he ultimately caused Allen’s death. 16 RR 38. In

fact, the State conceded there was no evidence to support the conspiracy charge based on Trevino

causing Allen’s death, when it specifically stated during closing argument that such a theory was

“contrary to everything [the jury] learned in th[e] courtroom.” Id. Nevertheless, the State argued

the jury could convict Leza based on this theory because of the following five statements from

Leza’s recorded interrogation: “We went over there together”; “We knew her”; “We knocked on

the door”; “We asked her for money”; and “We went in.” Id. at 34. Presumably, the State relied

on these statements in an attempt to establish the existence of an agreement to commit robbery.

Yet, nothing in these five statements, nor any other evidence in the record, satisfied the State’s

burden to show whether Trevino took actions in furtherance of the conspiracy that ultimately

caused Allen’s death, or that any agreement to commit robbery existed.

       Accordingly, based on the State’s own concession that a conspiracy charge was contrary

to everything presented at trial, and its failure to provide evidence during trial to support its

argument to the jury that Trevino was responsible for Allen’s death, there was insufficient evidence

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to establish the conspiracy charge, and thus, the trial court should have omitted the instruction.

Griffin v. United States, 502 U.S. 46, 60 (1991).

B.     The Trial Court Erred By Giving A Jury Instruction That Misstated The Law

       The trial court read the following instruction to the jury regarding the conspiracy charge:

“The term ‘conspiracy,’ as used in these instructions, means an agreement between two or more

persons, with intent that a felony be committed that they, or one or more of them, engage in conduct

that would constitute the offense.” 16 RR 10; 3 CR 801. Under Section 15.02 of the Texas Penal

Code, a person is guilty of criminal conspiracy if, with the intent to commit a felony, he agrees

with one or more persons that they or one or more of them engage in conduct that would constitute

the offense and he or one or more of them performs an overt act in pursuance of the agreement.

Tex. Penal Code Ann. § 15.02. Thus, contrary to what the jury instructions provided here, criminal

conspiracy under Texas law requires more than just an agreement between two or more parties to

(1) commit a felony, and (2) engage in conduct that would constitute the offense—it also requires

an overt act by at least one of the conspirators in pursuance of the agreement.

       In this case, the trial court misstated the law when it failed to include the statutory

requirement that one or more of the parties “perform[] an overt act in pursuance of the agreement.”

See 16 RR 10; 3 CR 801. This was particularly prejudicial because it led the jury to believe

evidence of an agreement between Leza and Trevino to commit the robbery alone could be

sufficient to find Leza guilty of murder. 16 RR 34. Accordingly, the trial court’s erroneous jury

instruction unfairly prejudiced Leza because it created a lower standard of proof under which the

jury could convict Leza of murder. In re Winship, 397 U.S. 358, 364 (1970).




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C.     The State Improperly Argued The Jury Could Convict Leza On The Basis Of
       A Conspiracy When There Was No Evidence To Support The Conspiracy
       Charge

       In addition to the trial court’s errors, the State committed misconduct when it argued the

jury could convict Leza of murder on the basis of a conspiracy theory whereby Trevino caused

Allen’s death, despite its own concession there was no evidence to support such a theory. A

prosecutor’s misstatement of the law amounts to a constitutional violation if it “so infected the trial

with unfairness as to make the resulting conviction a denial of due process.”               Darden v.

Wainwright, 477 U.S. 168, 181 (1986).

       Here, the State’s misstatement of the law rendered Leza’s trial fundamentally unfair

because it misled the jury to believe that even if there was insufficient evidence to find Leza caused

Allen’s death, they could nevertheless convict Leza on the basis of a conspiracy theory. By making

this argument, the State not only presented a false statement of the law, it also improperly shifted

the burden of proof, forcing the defense to provide affirmative evidence a conspiracy between

Leza and Trevino did not exist. The prejudicial effect of this error was further compounded by the

trial court’s own improper conspiracy instruction to the jury, which required the jury only find

evidence of an agreement to commit a felony and engage in conduct amounting to a felony to find

Leza guilty of murder. Unfortunately, the trial court never corrected this error and defense counsel

did not object. Thus, the jury was left with the erroneous understanding they could find Leza guilty

of murder on the basis of a conspiracy theory—absent any evidence Trevino caused Allen’s death

and based only on circumstantial evidence of an agreement to commit a robbery—thereby

rendering Leza’s trial fundamentally unfair in violation of his right to due process. Darden, 477

U.S. at 181; Donnelly v. DeChristoforo, 416 U.S. 637, 645 (1974).




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D.     Trial Counsel And Post-Conviction Counsel Were Ineffective

       Trial counsel and post-conviction counsel were ineffective for failing to object to the errors

related to the conspiracy charge and to raise them on post-conviction review, respectively. As to

trial counsel, while an objection was raised addressing the insufficiency of the evidence to support

a conspiracy theory instruction, trial counsel never: (1) sought removal of the conspiracy charge

or objected to the State’s and trial court’s misstatements of the law; (2) requested a curative

instruction; or (3) moved for a mistrial. Had trial counsel objected to the State’s misstatement of

the law or the trial court’s erroneous jury instruction, it could have narrowed the theories under

which the jury was permitted to find Leza guilty by eliminating the conspiracy charge from

consideration. Because the jury was not required to specify which of the four theories of guilt it

found the State proved beyond a reasonable doubt, the fact that trial counsel failed to object to

conviction under a conspiracy theory increased the chances the jury improperly convicted Leza on

a theory unsupported by sufficient evidence. Thus, had trial counsel properly objected, it is

reasonably probable the jurors would not have found Leza guilty of capital murder.

CLAIM TEN (MULTIPLE THEORIES/UNANIMITY INSTRUCTION)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the trial court permitted the State to rely

upon four different theories to find Leza guilty of capital murder and refused to issue an instruction

requiring the jury unanimously agree under which of the four theories Leza was guilty. The trial

court’s error violated: (1) Leza’s due process right to a unanimous verdict because it permitted

the jurors to find Leza guilty on multiple theories that were morally and practically inequivalent;

and (2) Leza’s Eighth Amendment right because failing to distinguish between the four theories

preluded the jury from making the necessary factual findings to sentence Leza to death under

Enmund v. Florida, 458 U.S. 782, 788 (1982) and Tison v. Arizona, 481 U.S. 137, 151 (1987).

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Further, trial counsel were ineffective for failing to raise these arguments at trial. Exhaustion:

This claim was presented to the state courts as Point of Error Five in the direct appeal and Claim

VI in the initial state application. Ex. 3 at 71-79; Ex. 6 at 7; Ex. 8 at 91-92. It was additionally

presented to the state courts as Point of Error Four in the direct appeal. Ex. 3 at 37-71; Ex. 6 at 6-

7. The state courts’ adjudication of this claim was contrary to, and consisted of an unreasonable

application of, clearly established federal law, and was based on an unreasonable determination of

the facts. See Ex. 9 at 15-21; Ex. 13 at 177-78.

A.     Due Process Requires Proof Beyond A Reasonable Doubt And Unanimous
       Agreement of Every Element Of A Criminal Offense, And The Trial Court’s
       Instructions Permitted The Jury To Convict Leza In The Absence of
       Unanimous Agreement As To His Role In The Offense

       Due process requires “proof beyond a reasonable doubt of every fact necessary to constitute

the crime with which [the defendant] is charged.” In re Winship, 397 U.S. 358, 365 (1970). Under

Texas law, a jury must reach a unanimous verdict about the specific crime the defendant

committed. Cosio v. State, 353 S.W.3d 766, 771 (Tex. Crim. App. 2011). Thus, conviction of a

capital murder in Texas requires proof beyond a reasonable doubt and unanimous juror agreement

that a person (1) intentionally or knowingly caused the death of an individual, (2) in the course of

committing or attempting to commit . . . robbery. Tex. Penal Code §§ 19.02(b)(1), 19.03(a)(2).

       A defendant’s due process rights are violated when inherently different acts are used to

define an element of the crime without a requirement the jury agree on the specific act committed.

See Schad v. Arizona, 501 U.S. 624, 633 (1991). Although the Supreme Court has found states

may have some flexibility in defining “different course of conduct, or states of mind, as merely

alternative means of committing a single offense,” this flexibility is not unlimited. Id. at 632. When

the “difference between means become so important that they may not reasonably be viewed as

alternatives to a common end,” due process requires the “separate theories of crime [] be treated


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as separate offenses subject to separate jury findings.” Id. at 634. In an effort to make this

distinction, the Supreme Court in Schad directed courts to consider factors like “the moral and

practical equivalence of the different” acts that may satisfy the element of a single offense. Id. at

637.

       1.      The trial court erred when it gave jury instructions that permitted the
               jury to find Leza guilty under two materially different and morally
               inequivalent acts

       In this case, Leza’s right to due process was violated because the trial court allowed the

jury to convict Leza of capital murder under materially different and morally inequivalent acts and

mental states, without requiring a consensus as to the theory under which Leza was found guilty.

The State presented four theories to find Leza guilty of capital murder: (1) Leza acted alone and

caused Allen’s death in the course of the robbery (“Theory One”); (2) Leza, with Trevino’s

assistance, caused Allen’s death in the course of the robbery (“Theory Two”); (3) Leza assisted

Trevino in robbing Allen and causing Allen’s death (“Theory Three”); and (4) Leza entered into a

conspiracy with Trevino to commit robbery, and in an attempt to carry out the agreement to commit

robbery, Trevino caused Allen’s death (“Theory Four”). 16 RR 11-12.

       These four theories, however, fall into two distinct categories, which are both morally and

practically inequivalent. Under the first category, encompassing Theories One, Two, and Three,

the State was required to prove Leza had the specific intent (mens rea) to commit capital murder

and committed acts that constituted direct participation (actus reus) in the capital murder.

Specifically, the State needed to prove beyond a reasonable doubt: Theory One - Leza intended to

and did cause Allen’s death while in the course of committing robbery; Theory Two - Leza, with

Trevino’s assistance, intended to and did cause Allen’s death while in the course of committing

robbery; or Theory Three - Leza intended to assist and did assist Trevino in causing Allen’s death

while in the course of committing robbery. See Tex. Penal Code §§ 7.02, 19.02(b)(1), 19.03(a)(2);

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16 RR 8-10. The second category, however, includes Theory Four, which was strictly based on

Leza’s involvement in a criminal conspiracy (see Claim Nine above).

       Theory Four is morally and practically inequivalent to Theories One through Three, and,

therefore, should have been treated as a distinct theory of capital murder requiring a separate and

unanimous jury finding. See Schad, 501 U.S. at 634. To be guilty of capital murder based on a

criminal conspiracy, the State must prove: (1) with the intent that a robbery would be committed;

(2) Leza entered into an agreement with Trevino that they engage in conduct that would constitute

the robbery; (3) Leza or Trevino performed an overt act in pursuance of the agreement; and (4)

Leza should have anticipated a capital murder could occur as a result of carrying out the

conspiracy. Tex. Penal Code §§ 7.02(b), 15.02; 16 RR 8, 10.

       Unlike Theories One through Three discussed above, convicting Leza of capital murder

under a conspiracy theory does not require the State prove beyond a reasonable doubt Leza actually

had the specific intent to commit capital murder. See, e.g., Canfield v. State, 429 S.W.3d 54, 66

(Tex. App. Houston (1st Dist. 2014)). Rather, for mens rea purposes, the State only needed to

prove (1) Leza had the specific intent to commit the non-capital offense of robbery, and (2) that

he should have anticipated a death could occur as a result of the robbery. Tex. Penal Code §§

7.02(b), 15.02; 16 RR 8, 10. These mens rea requirements are not morally equivalent to the

requirements of Theories One through Three, which mandated the jury find beyond a reasonable

doubt Leza had the specific intent to commit capital murder.

       Additionally, under a conspiracy theory, there is no requirement Leza, himself, actually

committed the murder, or even aided in the commission of the murder. Instead, the only act the

jury needed to find Leza, himself, committed was the act of entering into the agreement to commit

robbery. The remaining requirements—(1) that an overt act be committed in furtherance of the



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agreement, and (2) that a capital murder be committed—are both actions that could have been

taken by Trevino, yet ultimately used to convict Leza. See Tex. Penal Code § 15.02. The actus

reus requirement of entering into an agreement to commit robbery is not morally or practically

equivalent to the requirements under Theories One through Three, which demand that Leza

actually commit or assist in the commission of a murder.

       Accordingly, a conviction of capital murder under Theory Four based on Leza’s

engagement in a conspiracy, requires materially different evidence to support both the mens rea

and actus reus elements of capital murder compared to those required under Theories One through

Three. As the comparison between the two categories of theories are not morally or practically

equivalent, they should have been treated as separate offenses subject to separate, unanimous jury

findings. See Shad, 501 U.S. at 637.

       2.      Leza was deprived of his due process right to a unanimous verdict

       The trial court’s failure to require separate findings had a substantial and injurious effect

on the jury’s verdict because it allowed the jury to convict him of capital murder without

unanimously agreeing on the facts necessary to constitute the crime beyond a reasonable doubt. In

re Winship, 397 U.S. at 365. Absent an instruction from the trial court requiring unanimity, there

was no guarantee all twelve jurors agreed on the mens rea or actus reus elements to support a

conviction. See Ex. 3 at 71-79; Ex. 8 at 91-92. In fact, in light of the general verdict form, there is

a reasonable probability the jurors each disagreed on Leza’s level of involvement. Stromberg v.

California, 283 U.S. 359, 368 (1931).




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B.     The Eighth Amendment Prohibits Capital Punishment Absent A Jury Finding
       The Individual Actually Killed, Attempted to Kill, Or Intended to Kill, Or
       Was A Major Participant In The Crime Who Displayed A Reckless
       Indifference To Human Life, And The Trial Court’s Instructions Permitted
       The Jury To Convict Leza Without Making This Determination

       The Eighth Amendment prohibits any punishment that is not proportional to the crime for

which the defendant was convicted. Enmund v. Florida, 458 U.S. 782, 788 (1982). A death

sentence is not proportional, and therefore may not be imposed, unless the jury finds the defendant

is sufficiently culpable for the capital crime committed. See id. at 797-98; Ring v. Arizona, 536

U.S. 584, 609 (2002); Apprendi v. New Jersey, 530 U.S. 466 (2000). The death penalty may not

be imposed on an individual who did not (1) actually kill, (2) attempt to kill, or (3) intend to kill

the victim. Enmund, 458 U.S. at 797. The only exception to this requirement is if the jury finds

the individual (1) was a major participant in the felony committed, and (2) displayed a reckless

indifference to human life. Tison v. Arizona, 481 U.S. 137, 151 (1987).

       Here, Leza was improperly sentenced to death because the jury imposed the capital

sentence without being required to make the necessary findings under Enmund or Tison.

Specifically, the jury sentenced Leza to death without determining whether Leza (1) actually

killed, attempted to kill, or intended to kill Allen; or (2) was a major participant and displayed a

reckless indifference to human life. See Enmund, 458 U.S. at 788; Tison, 481 U.S. at 151. As

discussed above, while Theories One through Three were premised on Leza having the intent to

commit capital murder, Theory Four—based on Leza’s engagement in a conspiracy with

Trevino—did not share a similar level of intent. Rather, under a conspiracy theory, the jury only

needed to find (1) Leza entered into an agreement with the intent to commit robbery, and (2) that

he should have anticipated the second felony offense of capital murder could have occurred as a

result of carrying out the conspiracy. 16 RR 8. Absent a requirement the jury agree on Leza’s

course of conduct, there was consequently no unanimous jury determination to satisfy the Enmund

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requirements—namely that Leza actually killed, attempted to kill, or had the intent to kill Allen—

in light of the trial court’s inclusion of the conspiracy theory, which did not require any of these

findings to support a conviction. 19

       There was additionally no requirement the jury find sufficient evidence to satisfy the Tison

requirements beyond a reasonable doubt—specifically that Leza was a major participant in the

commission of the murder and that he demonstrated a reckless disregard for life. While the trial

court’s instructions regarding the conspiracy theory included a requirement the jury find Leza

anticipate a murder could occur as a result of carrying out the conspiracy to commit robbery,

anticipating a murder does not sufficiently satisfy the “reckless disregard for life” requirement to

find Leza eligible for a death sentence. In fact, as the Supreme Court noted in Tison “participants

in violent felonies like armed robberies can frequently ‘anticipate that lethal force . . . might be

used,’” but that does not mean they should be eligible for a death sentence. Tison, 481 U.S. at 150-

51. Thus, absent a specific finding by the jury that Leza was a major participant and demonstrated

a reckless indifference to human life, anticipation alone does not sufficiently rise to the level of

culpability required by the Eighth Amendment to sentence Leza to death. Accordingly, a capital

murder conviction premised on a conspiracy theory does not satisfy the requirements under

Enmund or Tison.

       Furthermore, the special instructions provided to the jury during the punishment phase of

Leza’s trial failed to remedy the issue caused by the inclusion of the conspiracy theory during the

guilt phase of trial. Under Texas Code of Criminal Procedure § 37.071, the trial court instructed

the jury that in order to sentence Leza to death, it must unanimously determine beyond a reasonable



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  In fact, the State’s conspiracy theory was premised on the argument that Leza was guilty of
capital murder because Trevino, not Leza, caused Allen’s death in furtherance of the conspiracy.
See 16 RR 10, 34.
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doubt Leza (1) “actually caused the death of Caryl Jean Allen” or (2) “did not actually cause the

death of Caryl Jean Allen but intended to kill Caryl Jean Allen or anticipated that a human life

would be taken.” 19 RR 10. While the first clause of the special instruction satisfies Enmund by

requiring the jury find Leza “actually caused the death” of Allen, the second, alternative clause of

the special instruction—which accounts for the theories in which Leza did not cause Allen’s death,

but is, nevertheless, guilty under a law of the parties theory—allowed the jury to sentence Leza to

death without meeting the requirements of either Enmund or Tison. Similar to the language used

in the conspiracy instruction, the special instruction did not require the jury find Leza demonstrated

“a reckless indifference to human life,” but instead allowed the jury to sentence Leza to death

based merely on his anticipation that a human life would be taken. See Tex. Penal Code § 37.07.

Accordingly, absent a unanimous and specific finding by the jury that Leza’s culpability was

premised on one of the first three theories, and not on the conspiracy theory, the jury never found,

beyond a reasonable doubt, that Leza (1) actually killed, attempted to kill, or intended to kill Allen;

or (2) was a major participant and displayed a reckless indifference to human life, before

sentencing him to death, as required by Enmund and Tison. Accordingly, Leza’s capital murder

conviction and subsequent death sentence violates the Eighth Amendment, and this error is

prejudicial per se.

C.      Trial Counsel Were Ineffective

        Trial counsel were ineffective because they failed to: (1) object to the State’s reliance upon

two sets of materially different and morally inequivalent theories to convict Leza of capital murder,

and (2) request a unanimity instruction be given to the jury in light of the four theories relied upon

to convict. As a result of trial counsel’s failure, the jury was left with four different theories to

convict Leza of capital murder absent any requirement they agree on the specific facts to support

the mens rea or actus reus of the crime. This was particularly problematic in light of the trial court’s

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inclusion of the conspiracy theory. By allowing the trial court to include the conspiracy theory as

a means for finding Leza guilty and then failing to require the jury unanimously specify which

theory they relied upon, Leza was convicted of capital murder without satisfying the constitutional

requirements as outlined under Enmund and Tison. This was additionally problematic in light of

the jury’s use of a general jury verdict form, which only required unanimity on whether the State

successfully met its burden of proof to find Leza guilty. Had the trial court objected and requested

separate jury findings–one for Theories One through Three, and one for Theory Four—the jury

would have been required to unanimously agree on Leza’s specific involvement in the crime.

Based on the evidence presented, specifically the lack of evidence to support a conspiracy theory

and the lack of clarity surrounding Leza’s involvement, it is reasonably probable the jury would

have been left without sufficient evidence to convict Leza of capital murder.

CLAIM ELEVEN (ACTUAL INNOCENCE)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because Leza is innocent of the charged offense of

capital murder. Exhaustion: This claim was presented to the state court as Claim I of the initial

state application. Ex. 8 at 11-23. The state courts’ adjudication of this claim was contrary to, and

consisted of an unreasonable application of, clearly established federal law, and was based on an

unreasonable determination of the facts. See Ex. 13 at 104-14; Ex. 15 at 3.

       There is an abundance of evidence demonstrating that Leza is innocent of the capital

murder of Allen.

       Trevino herself pled guilty to murder before the start of Leza’s trial. In her guilty plea,

Trevino admitted to intentionally causing the death of Allen by “cutting and stabbing” her with a

knife. Ex. 82. See Claim Five, above.



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       Trevino also admitted to the State, before entering into her plea, that she committed the

murder. Specifically, Trevino told the State she got the knife from Allen’s kitchen, tied her up, and

that “I had to kill her, but when I did, I asked God to forgive me.” Ex. 86; see Claim Five, above.

       Trevino also told Amanda Leza that she tied up Allen, slit her throat, and killed her. At the

time Trevino said this, she showed no remorse and actually smiled. 18 RR 105-09, 112-13.

       Trevino also confessed to Leza’s family. Some months after Leza was convicted, Trevino

wrote Leza’s family and told them that Leza was on death row for a crime that Trevino committed.

Ex. 89; Ex. 90; Ex. 87.

       Further, evidence shows Leza could not have committed this crime due to his brain

impairments. These impairments robbed him of executive functionality leaving Leza unable to

commit a crime that required planning. Ex. 65 at 8-9. In addition, Leza’s dependent personality

would have caused him to attach to a perceived protector—in this case, Trevino. See Writ RR 196-

203. As a result, he would have followed Trevino to the crime, as opposed to being the organizer.

In short, Leza’s brain impairments show that he did not possess the capacity to commit a

premeditated crime. Ex. 63 at ¶17; Ex. 17 at 20. This evidence shows that Trevino actually

committed the murder in this case, and Leza was there, at most, after the fact to help remove the

victim’s belongings.

       All of the above is compelling evidence of Leza’s innocence. Thus, Leza is substantively

entitled to relief because he is actually innocent of capital murder. In Herrera v. Collins, 506 U.S.

390 (1993), the Supreme Court assumed, without deciding that “in a capital case a truly persuasive

demonstration of ‘actual innocence’ made after trial would render the execution of a defendant

unconstitutional, and warrant federal habeas relief if there were no state avenue open to process




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such a claim.” Id. at 417. Leza can make such a persuasive demonstration, thus he is entitled to

habeas relief on his free standing actual innocence claim.

        Second, Leza’s actual innocence overcomes any procedural bars to consideration of his

constitutional claims. See Schlup v. Delo, 513 U.S. 298 (1995). In Schlup, the Supreme Court

recognized that actual innocence falls within the “narrows class of cases . . . implicating a

fundamental miscarriage of justice,” thus requiring consideration of constitutional claims even if

procedural obstacles may otherwise bar consideration. Id. at 314-15. Schlup also recognizes that

“newly presented evidence may indeed call into question the credibility of the witnesses presented

at trial” and “[i]n such a case, the habeas court may have to make some credibility assessments.”

Because Leza has made a showing of actual innocence under Schlup, this Court must consider the

merits of Leza’s constitutional claims.

        Insofar as counsel failed to present this evidence of Leza’s innocence, counsel were

ineffective, and there is a reasonable probability of a more favorable outcome if counsel had

performed effectively. Counsel lacked any strategic reason for failing to present evidence

implicating Trevino.

CLAIM TWELVE (IAC REGARDING VOIR DIRE)

        Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution due to the ineffective assistance of trial counsel

during the voir dire proceedings. Exhaustion: Section C of this claim was presented to the state

courts in the initial state application. See Ex. 8 at 39-63. The state courts’ adjudication of this claim

was contrary to, and consisted of an unreasonable application of, clearly established federal law,

and was based on an unreasonable determination of the facts. See Ex. 15 at 2; Ex. 13 at 139-53.

The remaining sections of this claim were not presented to the state courts because of the

ineffectiveness of Leza’s initial post-conviction counsel.

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A.      The Sixth Amendment Requires An Adequate Voir Dire And An Impartial Jury

        The Sixth Amendment guarantees “a fair trial by a panel of impartial, indifferent jurors,”

and thus, includes “an adequate voir dire to identify unqualified jurors.” Irvin v. Dowd, 366 U.S.

717, 722 (1961) (internal quotation marks omitted); Morgan v. Illinois, 504 U.S. 719, 729 (1992);

see Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981). Two specific inquires during voir

dire are constitutionally required: inquiries into racial prejudice when a defendant is charged with

a violent crime against a person of a different race, Mu’Min v. Virginia, 500 U.S. 415, 424 (1991),

and, in a capital case, inquiries into a juror’s views on capital punishment. Morgan, 504 U.S. at

730-32. If voir dire reveals that a juror is biased, the trial court must excuse the juror for cause

because the presence of even one biased juror violates a defendant’s right to a fair and impartial

jury, and constitutes structural error. Virgil v. Dretke, 446 F.3d 598, 607 (5th Cir. 2006); see Parker

v. Gladden, 385 U.S. 363, 366 (1966). “‘The bias of a prospective juror may be actual or implied;

that is, it may be bias in fact or bias conclusively presumed as [a] matter of law.’” Solis v. Cockrell,

342 F.3d 392, 395 (5th Cir. 2003).

        A juror harbors an actual bias, if his “views would prevent or substantially impair the

performance of his duties as a juror in accordance with his instructions and his oath.” Soria v.

Johnson, 207 F.3d 232, 242 (5th Cir. 2000) (quoting Wainwright v. Witt, 469 U.S. 412, 424

(1985)). To demonstrate actual bias, a defendant must point to an “admission” or present “factual

proof” of bias on the juror’s part. United States v. Thomas, 627 F.3d 146, 161 (5th Cir. 2010). For

instance, “a juror who will automatically vote for the death penalty in every case” demonstrates

actual bias because the juror “has already formed an opinion on the merits,” and “the presence or

absence of either aggravating or mitigating circumstances is entirely irrelevant to such a juror.”

Morgan, 504 U.S. at 729. “If even one such juror is empaneled and the death sentence is imposed,

the State is disentitled to execute the sentence.” Id. A “juror’s assurances that he is equal to [the]

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task [of rendering a verdict based on the evidence] cannot be dispositive of the accused’s rights.”

Murphy v. Florida, 421 U.S. 794, 800 (1975). “The determination of implied bias is an objective

legal judgment made as a matter of law and is not controlled by sincere and credible assurances

by the juror that he can be fair.” Brooks v. Dretke, 418 F.3d 430, 434 (5th Cir. 2005).

        Texas statutes set forth similar standards with respect to the dismissal of jurors for bias.

See Tex. Crim. Proc. Code Ann. § 35.16. Under Texas law, a juror may be challenged for cause if

he or she exhibits “a bias or prejudice in favor of or against the defendant,” or when it “is

established in the mind of the juror such a conclusion as to the guilt or innocence of the defendant

as would influence the juror in finding a verdict.” Id. §§ 35.16(a)(9), (10); see also id. § 35.16(c)(2).

B.      Trial Counsel Failed To Question The Venire Regarding Racial Bias

        The Supreme Court requires questioning regarding racial bias in capital cases involving

interracial violence to protect against racial prejudice infecting a verdict. Turner v. Murray, 476

U.S. 28, 37 (1986). Here, Leza, a Hispanic man, was accused of a capital crime of violence against

Allen, a Caucasian female. Nonetheless, trial counsel failed to question the venire regarding racial

bias, or even mention the issue during voir dire. Counsel’s failure exposed Leza to an unacceptable

risk that racial prejudice would infect his trial, and constituted ineffective assistance.

C.      Trial Counsel Failed To Adequately Question The Seated Jurors And Challenge
        Them For Cause

        Trial counsel failed to adequately question or challenge for cause any of the seated jurors

during voir dire. Each of the seated jurors made written statements in their questionnaires and oral

statements during voir dire demonstrating both actual and implicit bias, often in favor of imposing

a death sentence. But trial counsel failed to adequately question the jurors regarding this bias, or

challenge them for cause. Trial counsel’s performance was particularly inexplicable because first

chair counsel McDonald testified during Leza’s initial post-conviction proceeding that he selected


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jurors almost exclusively based on juror questionnaires and veniremembers’ views on the death

penalty. Writ RR 187-89. Counsel’s performance was therefore unreasonable.

       1.      K. Moreno – potential juror no. 7, first juror

       Juror K. Moreno marked on his juror questionnaire that he had difficulty reading, speaking,

or understanding written or spoken English, Ex. 25 (question 8), suggesting he was not qualified

to serve as a juror. See Tex. Crim. Proc. Code Ann. § 35.16(a)(11). Moreno’s other responses on

his questionnaire corroborate his reported difficulty with the English language and indicate he did

not understand what was being asked. For instance, Moreno answered many portions of the

questionnaire with one-word answers, such as “Yes,” “No,” and “N/A,” even when the questions

did not solicit such answers. Id. (questions 46(i), 54-56, 71-72, 100, 106-15, 140, 152-54). Moreno

repeatedly responded he was “uncertain” when asked about his views on different aspects of the

criminal trial process. Id. (questions 86-99). When asked what his best arguments were for and

against the death penalty and a sentence of life in prison, Moreno responded with variants of the

phrase, “[i]f someone kills.” Id. (questions 131-33).

       Moreno’s other responses on the questionnaire demonstrated both actual and implied bias

in favor of the death penalty. Moreno indicated he would vote to impose a death sentence on

anyone who committed murder. 20 Moreno repeatedly stated he believed the death penalty should

always be imposed on a person who commits capital murder or intentionally kills, and that life

imprisonment was an inappropriate sentence under such circumstances. Ex. 25 (questions 117-19,

132-33). Moreno agreed he would “probably vote for the death penalty” if he “found someone

guilty of capital murder.” Id. (question 125). Moreno also stated a defendant’s background,

criminal history, age, mental condition, and other factors should not be considered when deciding


20
  Moreno also indicated he believed the Supreme Court is “too lenient with criminal defendants,”
suggesting a bias against criminal defendants generally. Ex. 25 (question 145).
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whether to impose the death penalty, and indicated he would not need to consider these factors

when sentencing Leza. Id. (questions 139-40). Finally, Moreno represented he was “unsure”

whether he could apply the law to the facts of Leza’s case when it “was contrary to [his] beliefs

concerning the death penalty.” Id. (question 142).

       Moreno also demonstrated bias during voir dire. When asked whether Moreno would have

“any problem deciding” Leza’s future dangerousness at punishment, Moreno replied, “I think he

will be dangerous in the future.” 5 RR 73. When the prosecutor asked if Moreno could consider

imposing a death sentence, Moreno replied, “Well, if he murdered somebody, I would think to

give the death penalty.” 5 RR 74. When asked whether he could determine the special issues in

punishment according to the evidence, Moreno twice replied, “No.” 5 RR 75. When asked if his

feelings were “so pro-death penalty or against the death penalty that [they] would make it

impossible for you to be a juror in this case,” Moreno responded, “Yes, like the pro, it depends --

.” 5 RR 75. Nevertheless, trial counsel asked Moreno only one substantive question on voir dire:

whether two people who committed the same crime should receive the same punishment. 5 RR 77.

Trial counsel subsequently agreed to Moreno’s selection as a juror. 5 RR 78.

       Moreno’s statements established Moreno was pre-disposed to impose the death penalty.

Moreno also displayed linguistic difficulties. At the very least, Moreno’s statements warranted

detailed examination regarding these issues on voir dire.

       2.      J. Esparza – potential juror no. 10, second juror

       Juror J. Esparza’s responses on his jury questionnaire demonstrated both actual and implied

bias. Some of Esparza’s answers reflect a bias against criminal defendants, and that defendants

had to affirmatively introduce evidence to raise a reasonable doubt about their innocence. Esparza

agreed that “[a]n accused in a criminal case should be required to present some evidence to prove

his innocence,” and believed the term “reasonable doubt” meant “[t]o convince [him] with

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[p]roo[f] evidence[] [sic].” Ex. 26 (questions 96, 99). Esparza also agreed with the statement that

“[t]he law should concern itself more with victims of crime than those accused or convicted of

crimes.” Id. (question 90).

       Esparza’s answers to other questions reflect a bias in favor of imposing the death penalty

for any intentional killing. Ex. 26 (question 105). In addition, in two separate questions, Esparza

“strongly agree[d]” that a person who intentionally kills another deserves the death penalty,

regardless of their background or other factors. Id. (questions 123-24). Esparza also demonstrated

a pro-death-penalty bias indicating his support for the death penalty was “a Bible thing” because

prohibition against murder was “one of the Ten Commandments.” 6 RR 17. Esparza also stated a

person who takes a life “should suffer the same.” 6 RR 19. Trial counsel failed to question Esparza

regarding his pro-death-penalty bias and subsequently agreed to Esparza’s selection. 6 RR 28.

       Esparza’s statements demonstrated both actual and implicit bias against criminal

defendants generally and in support of the death penalty for those who took a life. Trial counsel

should have challenged Esparza for cause. At the very least, counsel should have questioned

Esparza about whether he could impose a sentence other than death if Leza was found guilty of

murder.

       3.      G. Estrada – potential juror no. 3, third juror

       Some of juror G. Estrada’s answers reflect a bias against criminal defendants generally.

Estrada claimed she was “[n]ot at peace,” in response to a question about how she felt about

persons accused of violent crimes. Ex. 27 (question 46(i)). Estrada also agreed with statements

suggesting the criminal justice system was too lenient with defendants. Id. (questions 89, 145,

148). Estrada reported that she would tend to believe the word of a law enforcement officer over

that of a civilian witness. Id. (question 93). Estrada also expressed uncertainty as to whether she



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agreed that an accused in a criminal case was presumed innocent and did not have to prove

anything at trial. Id. (questions 92, 96, 98).

        Estrada’s answers to other questions reflect a bias in favor of imposing the death penalty

for any intentional killing. Ex. 27 (questions 118, 120). Estrada also agreed that a person who

intentionally kills another deserves the death penalty, regardless of their background or other

factors. Id. (questions 123-24). In fact, Estrada expressed uncertainty about whether those factors

should even be considered at all when deciding on the death penalty. Id. (questions 127-30).

Estrada stated there were no instances where life in prison was a more appropriate sentence for

someone convicted of capital murder. Id. (question 137). Estrada also expressed uncertainty about

whether her views would render her unable to apply the law to Leza’s case. Id. (questions 141-42).

Trial counsel did not question Estrada regarding her biases during voir dire, or challenge her for

cause and subsequently agreed to Estrada’s selection as a juror. 6 RR 72.

        At the very least, trial counsel should have questioned Estrada about whether she had

already decided Leza was guilty, and whether she could impose a sentence other than death.

        4.      C. Waters – potential juror no. 16, fourth juror

        Juror C. Waters’s responses on her jury questionnaire demonstrated both actual and implied

bias. Waters reported she once had to defend herself against physical force from her ex-boyfriend,

suggesting a possible bias against individuals accused of violent crimes. Ex. 28 (question 46(b)).

Waters also expressed uncertainty about whether she would be inclined to vote for the death

penalty if she found someone guilty of capital murder. Id. (question 125). Trial counsel failed to

question Waters about her altercation with her ex-boyfriend, or ask whether it would affect her

ability to be impartial during Leza’s trial. 6 RR 119-28. At the very least, trial counsel should have

questioned Waters further about her prior altercation with her ex-boyfriend.



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       5.      R. Mason – potential juror no. 18, fifth juror

       Juror R. Mason’s responses on his jury questionnaire demonstrated both actual and implied

bias, specifically based on ties to law enforcement. Mason reported that his wife was a municipal

hearing officer, and that his ex-son-in-law had worked with the City Attorney’s Office. Ex. 29

(questions 26(a), 27). Mason suggested he might believe the word of a law enforcement officer

over a civilian witness, and agreed “[t]here are too many technicalities in the law that allow guilty

people to go free.” Id. (questions 89, 93). Mason also suggested he would vote for the death penalty

upon finding a defendant guilty of capital murder, and ranked the defendant’s childhood and

background as “[n]ot at all [i]mportant” in this decision. Id. (questions 125, 135). Mason stood by

this response during voir dire, agreeing that “some people tend to blame their environment on the

decisions they make and . . . use that as an excuse.” 6 RR 144. Despite these responses, trial

counsel failed to question Mason about whether his ties to law enforcement would affect his ability

to be impartial. 6 RR 142-47. At the very least, trial counsel should have questioned Mason further

about his ties to law enforcement and his ability to consider Leza’s background when deciding to

impose the death penalty.

       6.      G. McAnear – potential juror no. 19, sixth juror

       Juror G. McAnear’s responses demonstrated a bias against persons accused of violent

crimes. McAnear reported she had been in a situation where her life was threatened and where she

had to defend herself or another against physical force and that someone in her family or close to

her had been sexually assaulted. Ex. 30 (questions 46(a), (b), (h)). McAnear stated she felt

“[a]ngry” at persons accused of violent crimes and expressed uncertainty with respect to the

proposition that an accused in a criminal case should be required to present some evidence in

support of his or her innocence. Id. (questions 46(i), 96). McAnear also stated she felt the Supreme

Court is “too lenient with criminal defendants.” Id. (question 145). McAnear also spoke about an

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incident where her ex-boyfriend once became very angry toward her and started asking for a gun.

7 RR 19. McAnear stated the incident led her to believe that some people have anger issues that

motivate them to kill, and that such people may deserve the death penalty. 7 RR 19-21.

         McAnear’s answers to other questions also reflected a bias in favor of imposing the death

penalty for any intentional killing. Ex. 30 (question 105). McAnear also agreed that she would

“probably vote for the death penalty” if she found someone guilty of capital murder. Id. (question

125); see also 7 RR 23.

         Counsel did not ask McAnear about any of the repeated incidents of violence, follow up

on her feelings of anger at persons accused of violent crimes, or challenge McAnear for cause. 7

RR 26. At the very least, trial counsel should have questioned McAnear further about her

experiences with violence and whether they would affect her ability to be impartial during Leza’s

trial.

         7.     L. English – potential juror no. 30, seventh juror

         Juror L. English’s responses on her questionnaire, in which she repeatedly stated the

Supreme Court and the criminal justice system treated defendants too leniently, demonstrated both

actual and implied bias against criminal defendants. Ex. 31 (questions 145, 148, 150).

Nevertheless, trial counsel did not ask English any questions during voir dire. 7 RR 195-97. At the

very least, trial counsel should have questioned English further about these statements.

         8.     S. Lopez – potential juror no. 46, eighth juror

         Juror S. Lopez’s responses on her jury questionnaire demonstrated both actual and implied

bias. Lopez stated she believed persons accused of violent crimes “[s]hould be punished severely,”

and claimed repeatedly that the criminal justice system treats defendants too leniently. Ex. 32

(questions 46(i), 145, 150). Lopez also strongly agreed with the proposition that “[a]n accused in

a criminal case should be required to present some evidence to prove his innocence.” Id. (question

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96). With respect to the death penalty, Lopez opined it should be used on “any person who

intentionally kills another,” and especially when the victim was elderly. Id. (questions 118, 112,

138). Lopez also indicated she believed a defendant’s background should not be considered when

deciding whether to impose the death penalty. Id. (question 127). Lopez’s statements demonstrated

both actual and implicit bias. Trial counsel should have challenged Lopez for cause in light of

these statements, or at the very least questioned Lopez further about these statements.

       9.      F. Vargas – potential juror no. 50, ninth juror

       Juror F. Vargas reported suffering from a number of medical problems that rendered him

unfit to serve as a juror. Vargas reported suffering from hearing loss, headaches, and double vision,

and also reported hearing ringing sounds in at least one of his ears. Ex. 33 (questions 158, 160).

Vargas stated he had surgery for a brain tumor, which affected the left side of his body, and caused

blurry vision, double vision, and headaches. 9 RR 81-82. These medical issues rendered Vargas

unqualified for jury service. See Tex. Crim. Proc. Code Ann. § 35.16(a)(5).

       Vargas’s answers also reflected a strong bias against criminal defendants generally and in

favor of law enforcement. Vargas stated someone in his family or close to him had been murdered,

and that he did “[n]ot [feel] to[o] good” about persons accused of violent crimes, Ex. 33 (questions

46 (g), (i)). Vargas repeatedly agreed with statements suggesting the criminal justice system was

too lenient with defendants. Id. (questions 89, 145, 148, 150). Vargas stated “I think it[’s] wrong”

that “[a]n accused citizen does not have to testify on his or her own behalf.” Id. (question 154).

Vargas also agreed with the following statements: (1) “[t]he law should concern itself more with

victims of crime than those accused or convicted of crimes”; (2) “[p]eople sentenced to prison do

not serve any significant portion of their punishment”; (3) “I would tend to believe a law

enforcement officer over a civilian witness”; and (4) “[i]f a defendant does not testify, it must

mean that he or she has something to hide.” Id. (questions 90, 91, 93, 97). In addition, Vargas

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strongly agreed that: (1) “[i]f someone confesses to a crime, that must mean they did it”; and (2)

“[a]n accused in a criminal case should be required to present some evidence to prove his

innocence” Id. (questions 95-96). Vargas also believed the term “reasonable doubt” meant “[t]ell

[sic] they present the[ir] case, and all the evidence.” Id. (questions 99). Vargas’s answers show he

believed criminal defendants are presumptively guilty, and must affirmatively introduce evidence

to raise a reasonable doubt about their innocence.

       Vargas’s answers to other questions repeatedly manifested a strong bias in favor of

imposing the death penalty for any intentional killing. On a scale of 1 to 10, with 10 being the most

like to always vote for death, Vargas ranked himself as a “10.” Ex. 33 (question 105). Vargas

stated he was “strongly in favor of capital punishment as an appropriate penalty in every homicide

case.” Id. (question 102) (emphasis added). Vargas also stated life in prison was “inappropriate for

a person who has killed another” and that the death penalty is an “appropriate punishment in any

murder case.” Id. (questions 119-20). Vargas reported that he believed in the death penalty because

“[w]hoever commit[s] a crime got to pay [and] be punish[ed].” Id. (question 112). Vargas claimed

there was “too much delay between trial and the imposition of the death sentence.” Id. (question

126). Vargas also claimed the death penalty should be carried out more often than it was in Texas

because “a [l]ot [of] people getting away with murder.” Id. (question 136).

       Vargas also repeatedly indicated how he would vote during Leza’s trial. In one set of

responses, Vargas agreed with the statement, “I feel strongly about capital punishment, and if I

convict a person of a capital murder, I will always vote for the death penalty.” Ex. 33 (question

117). Vargas elsewhere stated he would “usually” or “always” vote for the death penalty when the

law allowed him to. Id. (question 122(d), (e)). Vargas later also agreed that he would “probably

vote for the death penalty” if he “found someone guilty of capital murder.” Id. (question 125).



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Vargas indicated his views about the death penalty were “so strong . . . that they would prevent

[him] from performing [his] duties as a fair, objective[,] and impartial juror in a criminal case

where the death penalty is a possible sentence.” Id. (question 141).

       Trial counsel failed to question Vargas regarding any of these responses, or challenge him

for cause. See 9 RR 82-86. At the very least, trial counsel should have questioned whether Vargas

had already decided on Leza’s guilt and whether he could impose a sentence other than death if

Leza was found guilty of capital murder.

       10.     S. Oakes – potential juror no. 56, tenth juror

       Juror S. Oakes’s responses on her jury questionnaire demonstrated both actual and implied

bias under both federal constitutional and Texas statutory standards. Oakes stated she “sometimes”

felt that persons accused of a crime probably committed it. Ex. 34 (question 46(j)). In addition, on

a scale of 1 to 10, with 10 being a person who would always vote for the death penalty, Oakes

ranked herself as a “6.” Id. (question 105). Nevertheless, trial counsel failed to question Oakes

regarding these responses during voir dire, or challenge her for cause. 10 RR 40-43. Trial counsel

should have challenged Oakes for cause in light of these statements, or at the very least questioned

Oakes further about these statements.

       11.     S. Goodwin – potential juror no. 61, eleventh juror

       Juror S. Goodwin’s answers reflect a bias against criminal defendants generally. For

instance, Goodwin repeatedly agreed with statements suggesting the criminal justice system was

too lenient with defendants. Ex. 35 (questions 89, 145, 148). Additionally, Goodwin’s answers to

other questions reflected a bias in favor of imposing the death penalty for any intentional killing,

regardless of any other factors. For instance, when asked to rank herself on a scale of 1 to 10, with

10 being a person who would always vote for the death penalty, Goodwin ranked herself as an “8.”

Id. (question 105). Goodwin stated the death penalty was an “appropriate punishment in any

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murder case” and should be used “on any person who intentionally kills another.” Id. (questions

118, 120). Goodwin stated she believed life imprisonment was “inappropriate for a person who

has killed another,” and that “[t]hose who kill [with] intent, particularly against those without

proper protection, should be sentenced to death.” Id. (questions 119, 133). Goodwin agreed that a

person who intentionally killed should be put to death, regardless of their background or other

factors. Id. (question 123). In fact, Goodwin marked a defendant’s childhood and background was

“[n]ot at all [i]mportant” to the decision of whether to impose the death penalty. Id. (question 135).

Goodwin agreed that she “would probably vote for the death penalty” if she “found someone guilty

of capital murder.” Id. (question 125). 21 Because Goodwin’s statements demonstrated both actual

and implicit bias against criminal defendants and in support of the death penalty, trial counsel, at

the very least, should have questioned Goodwin further about these statements.

       12.     K. Harris – potential juror no. 64, twelfth juror

       Juror K. Harris’s responses on her jury questionnaire demonstrated both actual and implied

bias on a number of grounds. First, Harris noted she had personally been affected by crime: her

mother was injured by a prisoner while she was working at a correctional facility. Ex. 36 (question

44). Harris elaborated further, stating her mother worked as a prison guard at a federal correctional

facility and was injured when an inmate tried to snap her neck. 10 RR 127-29. Harris’s mother

was later diagnosed with post-traumatic stress disorder as a result of the attack. 10 RR 128. Harris

herself admitted she did not know whether she was prejudiced against criminal defendants as a

result of the incident. 10 RR 124. The incident and Harris’s statements concerning it indicate she

could not serve as an impartial juror.



21
   Juror Goodwin also stated she believed in the death penalty as a punishment because life
imprisonment created a burden on taxpayers. Goodwin stated she believed the death penalty
“should be used more often.” Ex. 35 (questions 112, 114, 136).
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       Harris also stated during voir dire she did not want to see gruesome pictures at trial,

acknowledged that she might be prejudiced by them, and stated she could not guarantee she would

not give such pictures undue weight when reaching a verdict. 10 RR 125-27 (see Claim Twenty(D),

below). Harris also voiced dissatisfaction with the sentencing range for non-capital murder,

commenting she had a problem with the idea that a person could only be sentenced from five years

to life in prison for committing non-capital murder and could not be sentenced to death. 10 RR

131. Finally, on a scale of 1 to 10, with 10 always voting for the death penalty, Harris ranked

herself as a “6.” Ex. 36 (question 105).

       Harris’s statements demonstrated both actual and implicit bias, in particular with respect

to whether she would be prejudiced by gruesome photographs and her mother’s assault. Trial

counsel should have challenged Harris for cause in light of these statements, or at the very least

questioned Harris further about these statements.

D.     Trial Counsel Were Ineffective For Failing To Adequately Challenge Biased
       Prospective Jurors For Cause And Instead Using Peremptory Strikes

       Trial counsel failed to adequately challenge eleven biased prospective jurors for cause, and

instead peremptorily struck them. As a result, Leza was prejudiced because trial counsel were left

without peremptory strikes to remove the biased jurors identified in Subsection C above. 22

       1.      J. Seward – potential juror no. 2

       Trial counsel were ineffective for failing to challenge for cause J. Seward. When asked to

rank herself on a scale of 1 to 10, with 10 being a person who would always vote for death, Seward

ranked herself as an “8.” Ex. 37 (question 105). Seward stood by this response during voir dire,

stating she would “probably” vote for the death penalty regardless of the mitigation evidence


22
   Both the prosecution and defense were allotted fifteen peremptory challenges. Trial counsel used
all of their available peremptory challenges during voir dire. 10 RR 84 (trial counsel’s final
peremptory strike).
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presented. 5 RR 34-35. Trial counsel challenged Seward for cause, but did not identify what

statements justified the challenge. 5 RR 36. Trial counsel’s challenge for cause was inadequate

because they did not cite Seward’s statements exhibiting bias, which ultimately resulted in the

challenge being denied and trial counsel having to use a peremptory strike to excuse Seward. To

the extent the Court finds trial counsel’s challenge for cause was supported by adequate grounds,

Leza contends in the alternative the trial court erred in denying it.

       2.      C. Moore – potential juror no. 6

       Trial counsel were ineffective for failing to challenge for cause C. Moore. When asked to

rank herself on a scale of 1 to 10, with 10 being a person who would always vote for death, Moore

ranked herself as a “10.” Ex. 40 (question 105). In addition, Moore indicated she believed that a

criminal defendant was obligated to come forward with evidence of innocence. 5 RR 93-94.

Instead of challenging Moore for cause, however, trial counsel peremptorily struck her. 5 RR 105.

Trial counsel’s failure to challenge Moore for cause based on these statements constituted

ineffective assistance of counsel.

       3.      C. Brackett – potential juror no. 9

       Trial counsel were ineffective for failing to challenge for cause C. Brackett. Brackett

repeatedly endorsed the view that a criminal defendant probably committed the crime he or she

was accused of. Ex. 38 (questions 46(j), 92). Brackett also agreed that if a defendant does not

testify at trial, he or she likely has something to hide. Id. (question 97). In addition, Brackett

marked that he was “in favor of capital punishment as an appropriate penalty in every homicide

case.” Id. (question 102). Brackett stood by this response during voir dire, stating he believed a

person should be put to death if he or she intentionally killed. 5 RR 137. Brackett also repeatedly

stated he would always consider a person who committed murder to present a future danger, and

would vote accordingly during the punishment phase. 5 RR 139-40, 142. Trial counsel challenged

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Brackett for cause, but did not identify what statements justified the challenge. 5 RR 144. Instead,

trial counsel claimed Brackett had a “bias against the law.” Id. The trial court denied trial counsel’s

challenge. 5 RR 145. Trial counsel then peremptorily struck Brackett. Id. 145.

       Trial counsel’s challenge for cause was inadequate. As a result, the challenge was denied

and trial counsel were forced to use a peremptory strike to excuse Brackett. Had trial counsel

properly supported the challenge with Brackett’s statements, the challenge would have been

granted, thereby avoiding use of a peremptory strike. To the extent the Court finds trial counsel’s

challenge for cause was supported by adequate grounds, the trial court erred in denying it.

       4.      V. Duerr – potential juror no. 14

       Trial counsel were ineffective for failing to challenge for cause V. Duerr. Duerr’s

statements evidenced bias arising out of her personal experience with homicide. During voir dire,

Duerr stated her mother was a victim of homicide in 1990 and the defendant was sentenced to

death. 6 RR 81. Duerr stated that the perpetrator remained on death row for sixteen years because

“he kept getting appeals, appeals, appeals.” Id. The perpetrator later obtained a new trial in 2007.

Id. Duerr stated she thought it was unfair the death penalty was not carried out for prolonged

periods of time. 6 RR 86. Duerr’s statements and personal experience with homicide showed she

was unable to act impartially as a juror, and would have been biased against Leza—a defendant

accused of the same crime as her mother’s killer. Instead of challenging Duerr for cause on this

basis, trial counsel peremptorily struck her. 6 RR 87. Trial counsel’s failure to challenge Duerr for

cause based on her statements constituted ineffective assistance of counsel.

       5.      P. Tate – potential juror no. 15

       Trial counsel were ineffective for failing to challenge for cause P. Tate. Tate showed a bias

in favor of law enforcement and against criminal defendants. Tate endorsed the view a criminal

defendant probably committed the crime he or she was accused of, and that it was the defendant’s

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burden to present evidence showing his or her innocence. Ex. 39 (questions 92, 96). Tate also

repeatedly stated he was “in favor of capital punishment as an appropriate penalty in every

homicide case.” Id. (questions 102, 105). In addition, Tate repeatedly stated he believed police

officers were more credible as witnesses because of their status and that he would consider an

illegally obtained confession, even if the trial court instructed him not to. 6 RR 102-04, 106-07.

Trial counsel challenged Tate for cause, but did not cite Tate’s statements in the questionnaire in

support of the challenges. 6 RR 101, 103, 104, 107. As a result, the challenges were denied and

trial counsel were forced to use a peremptory strike. 6 RR 101, 103, 104, 107-08. Had trial counsel

properly supported the challenges with Tate’s statements, the challenges would have been granted

and trial counsel would not have been forced to use a peremptory strike. To the extent the Court

finds trial counsel’s challenges for cause were supported by adequate grounds, the trial court erred

in denying them.

       6.      S. Campos – potential juror no. 20

       Trial counsel were ineffective for failing to challenge for cause S. Campos. On her juror

questionnaire, Campos agreed that “[a]n accused in a criminal case should be required to present

some evidence to prove his innocence.” Ex. 41 (question 96). In addition, Campos stated she was

raised to believe in the concept of “a life for a life,” and repeatedly agreed that she believed that

“if somebody takes a life, that they have forfeited their life.” 7 RR 32, 44-45. Campos also agreed

“the death penalty should be used if someone intentionally kills another.” 7 RR 47. Instead of

challenging Campos for cause, however, trial counsel peremptorily struck her. 7 RR 48. Trial

counsel’s failure to challenge Campos for cause based on these statements constituted ineffective

assistance of counsel.




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        7.      S. Valadez – potential juror no. 27

        Trial counsel were ineffective for failing to challenge for cause S. Valadez. On her

questionnaire, Valadez indicated she was “in favor of capital punishment as an appropriate penalty

in every homicide case.” Ex. 42 (question 102). In addition, Valadez agreed she did not “think life

in prison for somebody who’s committed murder [was] much of a punishment at all.” 7 RR 145.

Valadez also stated she believed criminal defendants should be required to come forward with

evidence of their innocence. 7 RR 146-48. Instead of challenging Valadez for cause, however, trial

counsel peremptorily struck her. 7 RR 148. Trial counsel’s failure to challenge Valadez for cause

amounted to ineffective assistance of counsel.

        8.      L. Penalver – potential juror no. 33

        Trial counsel were ineffective for failing to challenge for cause L. Penalver. During voir

dire, Penalver repeatedly stated she would automatically vote to impose the death penalty if the

prosecution presented evidence, witnesses, and photographs showing the crime occurred. 8 RR

47-49. Trial counsel challenged Penalver for cause, but did not identify what statements justified

the challenge. 8 RR 52. As a result, the trial court denied trial counsel’s challenge, and trial counsel

then peremptorily struck Penalver. Id. Had trial counsel properly supported the challenge with

Penalver’s statements, the challenge would have been granted and trial counsel would not have

been forced to use a peremptory strike. To the extent the Court finds the challenge for cause was

supported by adequate grounds, the trial court erred in denying it.

        9.      J. Simpson – potential juror no. 23

        Trial counsel were ineffective for failing to challenge for cause J. Simpson. When asked to

rank herself on a scale of 1 to 10, with 10 being a person who would always vote for death, Simpson

ranked herself as an “8.” Ex. 43 (question 105). Simpson also repeatedly endorsed the view that a

criminal defendant probably committed the crime he or she was accused of, and stood by this view

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during voir dire. Id. (questions 46(j), 92); 9 RR 22-23. Furthermore, Simpson stated she was

bothered that defendants who committed non-capital murder could not be sentenced to death, and

that the cost of their imprisonment would be borne by taxpayers. 9 RR 18-19. Instead of

challenging Simpson for cause, however, trial counsel peremptorily struck her. 9 RR 25. Trial

counsel’s failure to challenge Simpson for cause based on these statements constituted ineffective

assistance of counsel.

       10.     B. McCarthy – potential juror no. 51

       Trial counsel were ineffective for failing to challenge for cause B. McCarthy. When asked

to rank herself on a scale of 1 to 10, with 10 being a person who would always vote for death,

McCarthy ranked herself as an “8.” Ex. 44 (question 105). In addition, McCarthy stated during

voir dire that she could not imagine a situation where she could find sufficient mitigation evidence

to justify a life sentence. 9 RR 98-100. McCarthy also stated she was opposed to a sentence of life

imprisonment because the costs of imprisonment would be borne by taxpayers. 9 RR 99. Instead

of challenging McCarthy for cause, however, trial counsel peremptorily struck her. 9 RR 101. Trial

counsel’s failure to challenge McCarthy for cause based on these statements constituted ineffective

assistance of counsel.

       11.     L. McNamee – potential juror no. 60

       Trial counsel were ineffective for failing to challenge for cause L. McNamee. During voir

dire, McNamee stated that while he could consider the evidence before making a decision with

respect to imposition of the death penalty, he stated his verdict would be “almost automatic” if the

victims were children or very old people (such as the alleged victim here) who “aren’t able to

defend themselves.” 10 RR 69-70. Instead of challenging McNamee for cause, however, trial

counsel peremptorily struck him. 10 RR 84. Trial counsel’s failure to challenge McNamee for

cause based on these statements constituted ineffective assistance of counsel.

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E.     Cumulative Error

       The multiple errors of trial counsel contained herein, when their cumulative nature is

considered, prejudiced and deprived Leza of his federal constitutional rights. The seating of one

biased juror is prejudicial per se. Moreover, the errors and omissions of trial counsel and the trial

court had a substantial and injurious effect on the verdicts, and there is a reasonable probability of

a more favorable outcome if counsel had performed effectively.

CLAIM THIRTEEN (IAC FASD/NEUROLOGICAL IMPAIRMENT)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because his trial counsel failed to investigate and

present crucial evidence that Leza suffered from Fetal Alcohol Spectrum Disorder/Alcohol Related

Neurodevelopmental Disorder, which could have been presented to Leza’s jury in: (1) the guilt

phase as evidence of his inability to form the mental state necessary for conviction of capital

murder; and (2) the punishment phase as compelling mitigation evidence that could have caused

at least one juror to vote for a sentence less than death. Exhaustion: This claim was presented to

the state court in Claim V of the initial state application. Ex. 8 at 31-39, 75-91. The state courts’

adjudication of this claim was contrary to, and consisted of an unreasonable application of, clearly

established federal law, and was based on an unreasonable determination of the facts. See Ex. 13

at 155-64; Ex. 15 at 3-4.

A.     Trial Counsel Were Ineffective For Failing To Investigate FASD

       Although an attorney is not required to investigate and diagnose a medical condition in the

absence of any indicators, see Clark v. Mitchell, 425 F.3d 270, 286 (6th Cir. 2005), this does not

excuse an attorney’s deficient performance when red flags alert him/her to the possibility of such

an issue. In addition, while a reasonable strategy not to investigate further when based on “sound

assumptions” will not be faulted, “‘[c]ounsel can hardly be said to have made a strategic choice

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against pursuing a certain line of investigation when s/he has not yet obtained the facts on which

such a decision could be made.’” Kenley v. Armontrout, 937 F.2d 1298, 1308 (8th Cir. 1991).

       1.      FASD/ARND

       Fetal Alcohol Spectrum Disorder (“FASD”) is a permanent medical condition that causes

significant central nervous system dysfunction that manifests in structural, foundational, and/or

neurological abnormalities. Ex. 63 at ¶8. Individuals with FASD lack mental capacities essential

for decision-making. Thus, persons with FASD lack the biological capacity to reflect, appreciate

the wrongfulness of their actions, and control impulses. Id. at ¶16.

       FASD is an umbrella term for four specific diagnostic conditions: Fetal Alcohol Syndrome

(“FAS”); Partial FAS; Alcohol Related Neurodevelopmental Disorder (“ARND”) 23; and Alcohol

Related Birth Defects (“ARBD”). Ex. 63 at ¶4. A diagnosis of FASD requires two elements: (1)

a documented history of prenatal exposure to significant amounts of alcohol—more than an

occasional drink; and (2) a finding of the presence of physical, intellectual, or behavioral

abnormalities consistent with prenatal exposure to alcohol. Ex. 65 at 6; Writ RR 131-32.

       In this case, Leza suffers from, and has been diagnosed, with FASD, specifically, ARND.

Writ RR 70-72, 100-02; Ex. 65 at 1, 6.

       2.      What trial counsel knew at the time of trial

       At the time of Leza’s trial in 2009, there was a great deal of information known about

FASD to put counsel on notice of the need to conduct an investigation. See Rompilla v. Beard,

545 U.S. 374 (2005) (from 1988 trial, counsel were ineffective for failing to investigate and present

evidence of FAS); Trevino v. Davies, 829 F.3d 328 (5th Cir. 2016) (petitioner adequately pleaded

in federal petition that counsel from 1997 trial performed deficiently in failing to investigate and


23
 Unlike FAS and Partial FAS, ARND does not require facial abnormalities or a growth deficit.
Writ RR 132-33.
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present evidence of FASD); Kemp v. Kelly, 2015 WL 5842538, *13 (E.D. Ark. 2015) (fetal

alcohol exposure was “in the air” by 1994; also referencing 1991 NAACP Legal Defense Fund

Airlie Conference training on FAS); Ex parte Kerr, No. AP-75,500, 2009 Tex. Crim. App. Lexis

245 (Tex. Crim. App. 2009) (applicant was denied effective assistance of counsel where attorneys

at 1995 Bexar County trial were unaware of mitigation evidence including “possible fetal alcohol

syndrome”); Interest of B.B. and P.B., 971 S.W.2d 160, 170 (Tex. Ct. App.-Beaumont 1998)

(termination of parental rights because of the special care required due in part to child’s FAS based

upon mother’s prenatal drinking); Writ RR 128-30 (testimony of Dr. Brown). Even the Texas

Defender Services, a group of attorneys who assist Texas capital counsel, alerted counsel to FASD.

Writ RR 185. But trial counsel did not follow-through with any investigation. Writ RR 186.

       Further, at the time of the trial, there was significant evidence available to trial counsel to

alert them that Leza had significant intellectual deficits and manifested indicators of FASD; yet,

trial counsel failed to investigate or present this evidence. For example, counsel knew from Leza’s

own mother, Celia, that she drank twelve to eighteen beers a day during her pregnancy with Leza.

Writ RR 18 (trial mitigation expert’s conversation with Celia Leza); see also Writ RR 138-39

(Celia Leza interview with Dr. Brown); Writ RR 161, 171, 173, 176 (hearing testimony of Celia

Leza); Ex. 64 at ¶¶20, 71, 126 (post-conviction social historian report). Trial counsel also had

access to others who could have affirmed Leza’s mother’s prenatal alcohol consumption. See Writ

RR 21-22 (Armando Leza, Sr.); Ex. 111 at ¶ 5; Ex. 64 at ¶126; Ex. 104 at ¶¶5-6. 24 Even trial

defense expert, Dr. John Roache, was aware of the potential for investigation into FASD. Dr.

Roache informed the defense team of the possibility that Leza suffered from FASD and that he




24
  There is also evidence that Celia Leza took anti-depressants during her pregnancy with Leza
which can also cause FASD. Ex. 63 (Brown collateral interview with Celia Leza).
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would need additional information in order to confirm or rule out such a diagnosis, but he never

received any further information from trial counsel. Writ RR 14-16; see also Ex. 21.

       In addition, trial counsel had access to evidence documenting Leza’s history of multiple

developmental delays, including motor skill delays (delay in walking by six months), language

delays (delay in talking by one year), and learning disabilities (being held back multiple times in

elementary school and severe academic failure). These multiple neurocognitive deficits are

typically caused by an underlying medical condition like FASD. Ex. 63 at ¶24; Ex. 65 at 7. Despite

the presence of these well-documented learning disabilities, counsel did not explore FASD.

       Trial counsel also had access to Leza’s juvenile records, specifically Dr. Sherman’s 1993

report, which provided evidence of Leza’s significant intellectual deficits. Ex. 69. According to

Dr. Sherman’s 1993 report, Leza’s full scale IQ was well below average—a marked deficit

consistent with FASD, which is known to cause areas of severe damage alternating with areas of

relatively normal functioning. Ex. 65 at 7; Ex. 69. Dr. Sherman also diagnosed Leza with Aphasia,

which is a red flag for brain damage. Writ RR 135; Ex. 69 at 1, 5.

       All of the above should have alerted counsel to the need to hire experts and to have Leza

undergo neuropsychological testing; yet, trial counsel failed to make any requests. Had trial

counsel ordered neuropsychological testing, they would have discovered Leza suffered significant

deficits consistent with FASD. For example, neuropsychological testing conducted post-

conviction by Dr. Murphey shows low IQ scores for Leza, and subtests which demonstrated a

significant degree of “scatter”—a psychological test finding that indicates brain damage. Both of

these findings are consistent with FASD. Ex. 65 at 7; Ex. 67.

       Neuropsychological testing conducted post-conviction by Dr. Milam also produced results

consistent with FASD in that Leza tested in the intellectually disabled range on all verbally loaded



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subtests, while in other areas he was in the normal range. The test additionally showed Leza scored

two or more standard deviations below the mean on “dominance,” suggesting that he was very

submissive and dependent on others—a factor consistent with FASD. Furthermore, Dr. Milam

found ample proof that Leza suffered from poor decision making, and adaptive failures with

developmental delays, which are also hallmarks of FASD. Ex. 65 at 7; Ex. 66 at ¶128; Ex. 63 at

¶24; Writ RR 140-42. In total, Dr. Milam indicated that Leza had deficits in five neurocognitive

domains, including significant deficits in executive functioning. Ex. 65 at ¶4; Ex. 63 at ¶24; Writ

RR 140.

       All of this information would have alerted counsel to the need to investigate and present

evidence of FASD as it related to Leza. In short, if counsel had hired expert(s), they would have

discovered that Leza suffers from FASD. Ex. 63 at ¶33; Ex. 65 at 1, 6-10. However, trial counsel

failed to investigate Leza’s cognitive deficits and admitted there was no strategic decision in not

investigating and presenting evidence of FASD. Writ RR 186. The omission of this evidence had

a prejudicial impact on both the guilt phase and punishment phase of Leza’s trial.

       3.      IAC guilt phase

       FASD was directly relevant to the guilt phase of Leza’s trial because it directly effects the

mens rea finding as executive functioning processes channel conscious decision-making into

intentions and/or actions. Specifically, Leza’s FASD has robbed his brain of executive functioning

and thus he is unable to plan for the future, let alone for a crime that required scheming, planning,

or cunning thoughts. Ex. 65 at 8-9. Furthermore, Leza’s dependent personality, which is another

aspect of FASD, would have caused him to attach to a perceived protector—in this case, Trevino.

Id. at 9. As a result, he would have followed Trevino to the crime, as opposed to being the

organizer. This would have furthered the defense theory that Trevino committed the crime and

Leza merely helped to recover the goods after the victim’s death. Such information would have

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been compelling evidence for the jury to find Leza did not commit the crime. At most, he was

there after the fact, but was not involved as a party to the offense or as a co-conspirator.

       In short, Leza’s FASD would have provided evidence that he did not possess the capacity

to commit a premeditated crime. Ex. 63 at ¶¶14, 16-17, 34. Had Leza’s trial counsel investigated,

developed, and presented this crucial information, it is reasonably probable that Leza would not

have been convicted of capital murder. Counsel’s failure to have experts evaluate and diagnose

Leza for FASD was prejudicial to Leza’s guilt phase case.

       4.      IAC punishment phase

       Further, counsel’s failure to investigate and present evidence of Leza’s FASD prejudiced

his punishment phase case. See Ex. 64 at ¶158. In a case such as this, where “‘the only reasonable

and available defense strategy requires consultation with experts or introduction of expert

evidence,’” failure to consult with and present the testimony of necessary experts amounts to

ineffective assistance of counsel. Hinton v. Alabama, 134 S. Ct. 1081, 1088 (2014). Here, if

counsel had performed effectively, the jury would have heard that, because of this medical

diagnosis of FASD, Leza struggled through his day-to-day life through no fault of his own but

rather, as a result of his mother’s prenatal drinking.

       Persons who suffer from FASD have basic neurocognitive deficits called “primary

disabilities.” These include intellectual functioning (IQ); achievement or learning; memory;

attention (including hyperactivity and impulsivity); motor skills; sensory processing and

integration; language/communication; and executive functioning, which ultimately affects social

functioning and other adaptive skills. Primary disabilities in FASD interact with adverse

environmental experiences and manifest in adolescence and adult years as “secondary disabilities”

which include, but are not limited to, mental health problems (94% of individuals with FASD have

one or more co-morbid mental health conditions); school disruption (61%); substance abuse

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(35%); trouble with the law (60%); and confinement in psychiatric hospitals, jails, prison, or

residential substance abuse treatment settings (50%). Two additional secondary disabilities have

been identified in adults with FASD:          dependent living (over 80%); and problems with

employment (80%). Ex. 63 at ¶12.

       With respect to primary disabilities, neuropsychological testing shows that Leza has severe

language deficits, learning disabilities, attention problems, impulsivity, decision making problems,

and adaptive deficits. These were caused by Leza’s FASD. And Leza displayed functional

evidence of these deficits throughout his entire life. Ex. 63 at ¶29; Ex. 66; Writ RR 73. Evidence

of FASD would have uncovered reasons why Leza did not talk until the age of two, following

which he still continued to struggle with expressive and receptive language disabilities. Ex. 63 at

¶23. Leza’s FASD would have further answered for the jury why Leza was delayed in walking,

and had such difficulties in school, ultimately dropping out in the seventh grade.

       In addition to primary disabilities, there was also abundant evidence of Leza’s “secondary

disabilities” in adolescence that were associated with FASD. These included experimentation with

drugs at age eleven, leading to serious marijuana abuse, cocaine abuse, and heroin abuse. This led

to Leza’s dropping out of school, and eventually committing crimes. By the age of sixteen, while

in the custody of TYC, Leza was diagnosed with several mental health problems including Reading

Disorder, Arithmetic Disorder, Expressive Language Disorder, and Specific Developmental

Disorder NOS/Spelling. By the time he was eighteen years of age, Leza had already been

incarcerated multiple times. And during his adult years, Leza was unable to live independently or

sustain long-term employment. In fact, Leza’s condition was so severe that he exhibited almost

every secondary disability associated with FASD. Ex. 63 at ¶26. This evidence would have been

crucial for jurors to understand Leza’s life trajectory.



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        Further, the jurors should have heard that FASD is often a “hidden disability” because most

affected individuals frequently go undiagnosed. Ex. 63 at ¶7. Knowing that a brain-damaged

individual, like Leza, was exposed to multiple childhood adversities without receiving any

intervention or assistance, would have been important information for trial counsel to present to

the jury. Without such information, it is likely the jurors assumed that Leza’s behavior was within

his control. Id. at ¶31.

        Counsel’s ineffectiveness prejudiced Leza’s punishment phase case. Had trial counsel

investigated, developed and presented this crucial information, it is reasonably probable that the

jury would have would not have chosen to impose a death sentence.

CLAIM FOURTEEN (IAC SOCIAL HISTORY)

        Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because trial counsel failed to investigate and

present evidence of Leza’s psycho-social history, thereby failing to conduct an effective mitigation

investigation. Exhaustion: This claim was presented to the state court as Claim V of the initial

state application. Ex. 8 at 77-90. The state courts’ adjudication of this claim was contrary to, and

consisted of an unreasonable application of, clearly established federal law, and was based on an

unreasonable determination of the facts. See Ex. 13 at 134-38, 155; Ex. 15 at 3-4.

A.      What Trial Counsel Presented At The Punishment Phase

        Trial counsel presented four witnesses during the punishment phase: Amanda Leza, Juliza

Leza Sanchez, Armando Leza Sr., and Frank AuBuchon. 25 Three of these witnesses were family;

the fourth (AuBuchon) was an expert witness who testified about the Texas prison system.




25For the purposes of this Claim and to avoid confusion, Leza will be referred to as “Armando,”
and his friends and family members will similarly be referred to by first names.
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       The jury first heard from Amanda, Armando’s youngest sister, who asked the jurors to

spare her brother’s life. 18 RR 115. Defense counsel, however, did not ask Amanda anything about

the childhood she shared with her brother, and there is no evidence the trial team interviewed

Amanda about any aspect of Armando’s life. The jury also heard from Armando’s half-sister,

Juliza, who described witnessing Celia’s cruelty to their father, Armando Sr.—including an

incident where Celia swung a chain at Armando Sr. 18 RR 118-19. The jury, however, never found

out that Armando had other siblings who resided with him, much longer than the few months Juliza

lived with the Leza family. The jury also heard from Armando’s father who testified with the aid

of an interpreter that he was afraid of Celia because she called the police on him. His testimony is

only two and a half pages long and appeared to end prematurely due to the interpreter not

understanding what Armando Sr. was trying to say. 18 RR 124-26.

       None of these witnesses provided even a glimpse into the circumstances that affected

Armando’s development and behavior and which ultimately led him to be on trial for capital

murder. Trial counsel’s failure to present a full narrative of Armando Leza’s complex and nuanced

life story constitutes deficient performance, which prejudiced his punishment phase case.

B.     A Brief Summary Of What Counsel Failed To Investigate And Present 26

       Armando was the fourth of seven children born to Celia Sanchez Leza. While pregnant

with Armando, Celia consumed alcohol and prescription drugs. During the pregnancy, Celia

became involved with Armando Leza Sr. who would frequently beat her. Ex. 63 at 13-14; Writ

RR 138-39, 156-61. As a baby, Armando suffered several incidents of neurological distress:

seizures, high fevers, and difficulty breathing. Ex. 104 at ¶24.




26Due to the page limitation set by this Court, Leza’s full social history can be found in Exhibit
124 to this Petition.
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       Celia and Armando Sr. were in a common law marriage for eight years, before ultimately

ending their relationship. Their relationship was marred by alcoholism, serial adultery, and

violence. Ex. 103 at ¶¶13-16. Neither Celia nor Armando Sr. nurtured or cared for their children.

Id. The eldest of Celia’s children, Ernie, who was six years older than Armando, was the closest

the children had to a parent. Ernie attempted to shield his siblings from the violence between their

parents, but was often unsuccessful. Ex. 101 at ¶20; Ex. 104 at ¶8. Following their eventual

divorce, Armando Sr. disappeared for a period of time, and when he did re-establish contact, Celia

often prevented him from seeing the children. Ex. 107 at ¶¶2-4.

       Celia was a violent, unemployed alcoholic—solely responsible for her seven children. Ex.

107 at ¶¶2-4. She spent time in bars and often came home drunk accompanied by much younger

men. Celia frequently used her sons to steal from empty apartments for her own financial gain. Ex.

109 at ¶19. Celia experienced outbursts of extreme anger and violently lashed out at her children.

Celia sometimes raged until she wore herself out, telling her children this behavior was necessary

to keep her from going insane. Ex. 103 at ¶¶28-29; Ex. 107 at ¶5.

       After the divorce, the Leza family was frequently forced to move to get away from Celia’s

financial problems and the legal problems of her older children and therefore, occasionally ended

up homeless. Ex. 104 at ¶¶14-15; Ex. 107 at ¶6. Between ages eight and sixteen, Armando lived

in at least ten different places—some of which were not actual residences. Ex. 101 at ¶¶22-23, 25;

Ex. 106 at ¶¶6-10. Because of their frequent relocations, Armando’s education was inconsistent

and disorganized. While in grades two through eight, Armando attended seven different schools,

but failed multiple grades. He eventually left school during his second attempt at the sixth grade,

completely skipped seventh grade, and attempted to complete eighth grade, but dropped out. Celia




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placed no emphasis on school and even encouraged her children to drop out. Ex. 107 at ¶7; Ex.

103 at ¶¶26-27. Armando later enrolled in a GED program, but he was unable to finish.

       School records document Armando’s inability to learn and teachers’ suspicions he needed

special education services. Unfortunately, because the family moved so often, there was never an

opportunity for an effective intervention by school officials. By the time he was a teenager,

Armando’s reading and writing were assessed at third and fourth grade levels. See Ex. 48 (Leza

school records). Armando’s intellectual limitations were also obvious outside of the school setting.

Armando spent weekends working at Armando Sr.’s restaurant, but he was unable to perform the

simplest tasks there. Armando’s impairments also prevented him from being able to use household

appliances, go shopping, ride the bus alone, or hold down a job. Ex. 105 at ¶¶17-22; see Claims

One and Thirteen, above.

       As a teenager, Armando had no friends of his own and is described as a loner who was

uncomfortable in social settings. Ex. 105 at ¶20; Ex. 103 at ¶¶41-42. When Armando was fifteen

years old, his mother allowed Liza Mendez, a twenty-two year old woman to reside with them.

Armando and Lisa had a baby together when Armando was just sixteen. To make friends, Armando

attempted to become a part of his older brother, William’s, peer group, but he was often

manipulated by these older boys into committing crimes for them. Armando’s first arrest, at age

fifteen, arose from crimes committed by Williams and his friends. Armando did not appear to

understand the peril he placed himself in and frequently did whatever he was asked to do. Ex. 107

at ¶¶8, 17. For each of his criminal arrests, Armando was manipulated and led by an adult. As a

result of the crimes he was involved in, Armando was sentenced to several months in a youth

facility before eventually being released to his mother. State App., Exs. 22, 23 (Bexar County

Juvenile Probation Department records and TYC records).



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       Following his release, Armando resided with his mother, his siblings and their significant

others, his mother’s boyfriend, and a large number of nieces and nephews. The family moved

frequently, and some of Armando’s siblings and their partners were addicted to heroin and

sometimes incarcerated. Armando became addicted to heroin and had more problems with the law

and was sent to prison in 1998. When Armando was released from prison in 2004, three of his

siblings who were not incarcerated were addicted to heroin and his mother was selling drugs for

the Mexican Mafia. Ex. 107 at ¶33; Ex. 101 at ¶29; Ex. 113 at ¶23; Ex. 103 at ¶52. Even though

he made an effort to get a job and lead a clean life, Armando was soon using heroin and cocaine

with his siblings and his new girlfriend, Dolores Trevino.

       Without any protection from adversity, Armando’s life was lost to drug addiction and

criminal activity. Armando’s only role models were neglectful people who abandoned their

children. His family was ravaged by addiction disease and they failed to ever establish roots in a

community. Because Armando changed schools so often it was impossible for him to be identified

as an at-risk child. In addition to Armando’s neglected upbringing, his significant limitations

caused by his ID and FASD destroyed any possibility that he could have a positive future.

       Trial counsel’s failure to develop and present the available evidence contained herein and

in Exhibit 124 was not strategic. Further, trial counsel were on notice of the need to investigate

Leza’s life history. Had trial counsel adequately investigated, counsel would have learned of the

information provided herein, and presented that information to the jury. If the jury had heard this

evidence, there is a reasonable probability at least one juror would have voted for a sentence of

less than death. Wiggins, 539 U.S. at 516.

CLAIM FIFTEEN (IAC ADDICTION)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because his trial counsel failed to investigate and

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present crucial evidence that Leza suffered from addiction. This evidence could have been

presented to Leza’s jury in the punishment phase as compelling mitigation evidence, the

presentation of which could have shifted the balance and caused at least one juror to vote for a

sentence of less than death. Further, an expert in addiction could have assisted counsel in choosing

a jury. Exhaustion: This claim has not been presented to the state courts because of the

ineffectiveness of Leza’s trial and initial post-conviction counsel.

A.     What Trial Counsel Knew At The Time Of Trial

       Trial counsel was well aware Leza was addicted to drugs as Leza himself admitted to law

enforcement he had recently used heroin before his arrest. See 3 RR 82-85; 13 RR 138; Ex. 77 at

6. For example, Leza told the trial defense investigator that he (Leza) had a $300 to $400 a day

cocaine and heroin habit at the time of the crime, and that he had started experimenting with

marijuana at age thirteen, before ultimately turning to cocaine and heroin. Ex. 64 at ¶¶60, 80. It

was further evident trial counsel knew of Leza’s drug addiction as trial counsel even referred to

Leza as a “junkie” in closing guilt argument. 16 RR 25.

       Counsel additionally had evidence affirming Leza’s addiction through the State’s Fifth

Notice of Intent to Introduce Rule 404(b) evidence, which showed multiple drug related

arrests/offenses/bad acts for Leza including: use of drugs including heroin and cocaine between

1994 and 2007; use of marijuana from 1993 to 2007; possession of marijuana in 1996 and 1997;

use of $120 worth of heroin and $100 worth of cocaine per day during 1998; use of $100 worth of

heroin and $100 worth of cocaine per day during 2007; selling cocaine and heroin from 1997 to

2007; and possession of drug paraphernalia in 2005. CR at 717-26. Leza’s prior prison and jail

records also showed evidence of addiction. See Ex. 50 at 16, 37-38, 44, 47, 51-54, 56-60 (history

of heroin and cocaine use and heroin withdrawal). Furthermore, counsel could have spoken with

Leza’s family members and learned similar information about Leza’s addiction. See Ex. 103 at

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¶53 (William Chapman); Ex. 107 at ¶¶17-18, 21, 25-26 (Fernando Leza); Ex. 106 at ¶¶17-18, 21

(Amanda Leza); Ex. 113 at ¶37 (Orlando Leza); Ex. 104 at ¶22 (Ofelia Arellano).

       Counsel was clearly aware Leza’s drug use could have an impact on his cognitive

functions, as counsel hired Dr. John Roache to testify about the effects Leza’s heroin and cocaine

use had on the voluntariness of Leza’s confession. 3 RR 77-101. Despite all of this information,

however, some of it directly from Leza, trial counsel failed to hire an expert on addiction. Trial

counsel had no strategic reason for failing to fully investigate, develop, and present evidence

through an expert, that addiction informed Leza’s behavior throughout his lifetime.

B.     Counsel’s Deficient Performance Prejudiced Leza’s Punishment Case

       Leza’s trial counsel should have hired an expert in addiction like Gantt Galloway, an expert

in pharmacology who regularly assesses people who suffer from addiction. See Ex. 18. Galloway

could have informed the jurors of Leza’s genetic predisposition to drug addiction, how the drugs

affected his brain, and how his addiction diminished his already impaired impulse control—

thereby mitigating Leza’s behavior both prior to and at the time of the offense.

       An expert could have informed the jurors that addiction is a disease of the pleasure and

reward system of the brain and that dysfunction in the brain circuits leads to biological,

psychological, social, and spiritual manifestations. The jurors could have been told that the signs

and symptoms of the disease include: compulsive reward seeking behavior; craving or drug

hunger; hypofrontality; and continued use of drugs despite adverse consequences. An expert could

have testified that addiction can manifest itself as a chronic, progressive disease characterized by

loss of control over use, so that the loss of control over behavior occurs more readily as the disease

progresses. Ex. 18 at 2-3.

       Additionally, evidence of Leza’s drug use could have been presented to the jury to support

the conclusion that his addiction was mitigating, not aggravating. For example, the jurors should

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have been informed that compulsive use, the defining hallmark of addiction, directly interferes

with normal controls over decision-making. Furthermore, the jurors could have been informed

Leza did not understand addiction as a risk when he started using drugs before the age of eighteen.

Ex. 18 at 7-8. An expert could have also educated jurors as to the medical evidence regarding how

addiction arises and the effect of long-term addiction. This could have clarified for the jurors that

Leza’s actions were not voluntary or a matter of personal choice and willpower. Ex. 18 at 9.

       The jurors should also have been informed that addiction is a disease with a known genetic

predisposition. In predisposed individuals, addiction develops at a young age and progresses more

rapidly. In addition to intoxication, the drugs exacerbate symptoms of genetic legacy like

inattention, impulsivity, and hyperactivity. Ex. 18 at 6, 8. An expert could have testified Leza has

a family history consistent with addictive disease, including alcoholism and drug addiction.

Specifically, an expert could have testified about Leza’s genetic risk, early onset of drug use,

history of abuse, and inconsistent parental supervision—all of which combined to explain why

Leza became addicted to drugs like heroin and cocaine. An expert could have informed the jury it

was unsurprising Leza followed in the footsteps of his family and developed addiction. Id. at 6, 8-

9.

       The jurors could also have been told Leza had another risk factor for developing addiction:

FASD. The impulsivity and impaired ability to weigh consequences both played key roles in the

association of FASD with an initial decision to use illicit drugs and also the continued use despite

the adverse consequences of addiction. Ex. 18 at 6.

       Through an expert, the jurors would have known that many elements of Leza’s upbringing

had risk factors for addiction including the fact that Leza’s mother was an inconsistent parent, sold

drugs, drank heavily, and was frequently drunk herself. Ex. 18 at 6-7. Leza was also lacking in



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many protective factors that could have reduced the likelihood of initial drug use and eventual

addiction. For example, Leza did not have adequate language skills and had great difficulty making

friends. Additionally, he was ID and could not succeed scholastically. Id. at 7.

       An expert also could have helped the jurors understand how addiction, intoxication,

craving, and sleep deprivation combine to influence behavior and how drug and alcohol use are

not “voluntary” but rather are “compulsive” and are a part of the addiction process. Ex. 18 at 8-9.

       An expert also could have assisted trial counsel in choosing jurors. An expert could have

advised trial counsel to voir dire expressly about prospective jurors’ opinions on addiction, and to

excuse prospective jurors (1) who would not consider evidence of the scientific and medical

consensus that, because of drugs, people commit acts they normally would not do, and (2) who

believed that drug use and addiction was only a personal choice. Ex. 18 at 10.

       Counsel’s ineffectiveness prejudiced Leza’s punishment phase case. Had trial counsel

investigated, developed, and presented evidence of addiction, it is reasonably probable the jury

would not have chosen to impose a death sentence.

CLAIM SIXTEEN (IAC WITNESS PREPARATON AND PRESENTATION)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because Leza’s trial counsel failed to prepare and

present witnesses to testify on his behalf at the punishment phase. Exhaustion: Section B of this

claim has been previously presented as Claim V of the initial state application. Ex. 8 at 72-77. The

state courts’ adjudication of this claim was contrary to, and consisted of an unreasonable

application of, clearly established federal law, and was based on an unreasonable determination of

the facts. See Ex. 15 at 3-4. Section A and C of this claim have not been presented to the state

courts because of the ineffectiveness of trial and initial post-conviction counsel.



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A.     Trial Counsel Failed To Prepare Armando Leza Sr., Juliza Leza, And Amanda
       Leza To Testify At The Punishment Phase

       The punishment phase of a capital trial requires both intensive pre-trial investigation, and

presentation of all reasonably available evidence which might serve as the basis for a sentence less

than death. See, e.g, Rompilla v. Beard, 545 U.S 374, 380-81 (2005); Tennard v. Dretke, 542 U.S.

274, 284-85 (2004); Wiggins v. Smith, 539 U.S. 510, 527 (2004). Here, trial counsel’s presentation

at sentencing was cursory and unpersuasive. See Claim Fourteen.

       Armando Leza Sr. testified for the defense for less than four full pages of the transcript. 18

RR 124–27. He was asked only a general question about his son, and offered only a single sentence

asking the jury to spare his son’s life. The reason for this was that Armando Sr. was not interviewed

by counsel before his testimony nor was he told what he would be testifying to. Ex. 111 at ¶20. If

he had been properly interviewed and prepared, he could have testified to the following.

       Armando Leza Sr. could have testified about Celia’s alcohol abuse even when she was

pregnant. Ex. 111 at ¶5. He also could have testified about Celia’s rage and temper, including her

physical abuse of himself and the children. Id. at ¶¶6-7. Armando Sr. could have testified to Celia’s

suicide threats which scared the children. Id. at ¶9. He was not asked but could have testified to

Celia’s making the children steal to make money, and how she got them involved in drugs. He also

could have testified to Celia’s own selling of drugs which led to one of her children being

kidnapped to pay for a drug debt she owed. Id. at ¶¶14-15. Armando Sr. could have testified to

Celia’s leaving the children home alone while she went to bars. Id. at ¶12. He also could have

testified to Celia’s disinterest in education and letting the children drop out of school. Id. at ¶16.

Armando Sr. could have testified about how he wanted to guide Armando “to do right in life” but

that “Celia sent him in the wrong direction.” Id. at ¶17. Armando Leza Sr.’s lack of value as a

witness was the result of counsel’s failure to interview him and to ask relevant questions. Smith v.


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Stewart, 140 F.3d 1263, 1269 (9th Cir. 1998). Had the jury heard this evidence, it is reasonably

probable that at least one juror would have voted for a sentence less than death.

          Trial counsel also failed to prepare Juliza Leza for her testimony. The result was a witness

who was asked only cursory questions and who testified only briefly about Leza. Specifically,

Juliza was only able to tell the jury she was close to Leza when they were growing up, that she

was afraid of Celia Leza, and that Celia threatened her and her father, Armando Leza Sr. 18 RR

116, 118-20. Juliza had more to testify to, but did not meet with anyone from Leza’s defense team

prior to her testimony. Ex. 109 at ¶27. To that end, she was a witness at the request of her father,

not because defense counsel contacted her. Id.

          If Juliza Leza had been properly interviewed and prepared, she could have testified to the

following: Leza was always very quiet and reserved, even around people he knew well, Ex. 109 at

¶17; following the divorce, Celia often refused to allow her children to leave with Armando Sr.,

saying that they could not go unless she was also allowed to go, id. at ¶13; Celia often climbed in

the car with them, forcing her way into an outing with Armando Sr. and the boys, id.; Celia drank

a lot and would routinely argue with Armando Sr., id.; and Leza and his brothers would beg to

remain with their father—not wanting to go home to their mother at the end of a weekend visit. Id.

at ¶15.

          If properly prepared and questioned, Juliza Leza could have described how Orlando,

Armando’s brother, used to talk about how Celia and her lover, Robert (Pena), would sit down to

a dinner they bought and not offer any to their children. Ex. 109 at ¶16. She could have also

testified that Celia often berated Armando Sr. for wanting to take Leza on weekends; saying things

(in front of Leza) like, “Why would you want him, he’s not even your kid.” Id. at ¶18.

Additionally, Juliza Leza could have testified that Celia accepted and even required her children



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to engage in criminal behavior. As a teenager, Leza told Juliza he did not like living with his

mother because she “made” the boys steal for her. Id. at ¶19. Leza told Juliza about having to break

into empty apartments where they lived, and stealing ceiling fans and hot water heaters for Celia

to sell. Id. Lastly, Juliza could have added insight into Leza’s upbringing. She observed that Celia

and the children tore one house to pieces before they moved out, leaving holes in the walls and

removing anything that could be stolen when they left the house. Id. at ¶20. After Celia and the

children departed, Armando Sr. was left cleaning up the mess, as well as making the house

payments. Id. Juliza was aware that Celia and children moved several more times during Leza’s

childhood. Id.

       Trial counsel also failed to properly prepare Amanda Leza to testify. The direct examination

of Amanda was only two pages. 18 RR 104–05. The jury heard Amanda was Leza’s sister. 18 RR

104. Amanda offered only one statement that could be considered mitigating: “Just please don’t

kill my brother.” 18 RR 115.

       If properly prepared and questioned, Armanda could have offered valuable mitigation

evidence. Through her testimony, the jury could have learned about Leza’s chaotic upbringing in

a series of residences, including housing projects. Ex. 106 at ¶¶6-11. Jurors could have learned that

Leza lived with an alcoholic mother who suffered from depression and allowed Leza to have an

older girlfriend live with him when he was a teenager. Id. at ¶¶5, 15. The jury could have learned

about Leza’s broken back and use of narcotics to self-medicate. Id. at ¶¶17-18. They could have

learned about Leza’s long-term heroin addiction and ill-fated coupling with Trevino. Id. at ¶¶18,

20-22, 24. The jurors could have learned about Trevino bragging about stealing from people and

her negative influence on Leza. Id. at ¶¶20-21.




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       But the jurors did not hear any of this evidence based upon counsel’s ineffectiveness. Had

they heard this evidence, it is reasonably probable that at least one juror would have voted for a

sentence less than death.

B.     Trial Counsel Failed To Counter the State’s Evidence Regarding Leza’s
       Involvement In A Prior Drive-By Shooting

       In the punishment phase, the prosecution argued Leza was an active participant in a prior

homicide involving a drive-by shooting. 17 RR 6-7. The State called three witnesses and stipulated

with the defense that the victim, Abel Carrasco, was killed due to gunshot wounds he received on

September 19, 1992. 17 RR 27–18 RR 21. The State elicited testimony that during the shooting,

Leza was in the back of pickup truck and he loaded a clip and handed it to the shooter, Rudy

Trevino. 17 RR 38.

       Defense counsel was ineffective for failing to call the shooter, Rudy Trevino, to testify. At

the time of Leza’s trial, Trevino was serving a state prison sentence for Carrasco’s murder but had

been bench-warranted back to the Bexar County to testify on Leza’s behalf. However, Trevino

was never called as a witness. Ex. 91. If Trevino had been called, he would have testified that Leza

was not involved in the drive-by shooting. Id.

       Defense counsel was also ineffective for failing to call William Chapman, Leza’s brother.

He too, like Rudy Trevino, was serving a state prison sentence for Carrasco’s murder but had been

bench warranted back to the county jail to testify at Leza’s trial. Ex. 88; Ex. 103 at ¶2. If he had

been called, Chapman would have testified that Leza was in the truck, but he did not in any way

participate in the shooting. Id. Collectively, Chapman would have testified that Leza did not

participate in the shooting, and Trevino found Leza’s presence to be so negligible that he did not

recall him even being in the truck. Id. at ¶103; Ex. 88.




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        Trial counsel were ineffective for failing to adequately prepare the witnesses called, and to

call additional witnesses to rebut the prosecution’s case in aggravation.

C.      Trial Counsel Failed To Combat Evidence Of Leza’s Attempted Escape

        At the punishment phase, the State presented evidence Leza attempted to escape from the

Connally Unit in August 2001. Two correctional officers testified Leza and two other inmates were

not in their cells during a night count, but were later found in the prison kitchen around 1 a.m. Also

found in the kitchen was a baker’s rack that officers believed was being used as a ladder to get

onto a freezer which would give the inmates access to the roof of the building. The officers testified

that Leza was on the baker’s rack, a roof hatch was broken, and that pants, shirts, and heavy coats

were found in the ceiling crawl space above the freezer. 18 RR 28-37, 40-48. The State used this

evidence to argue that Leza was attempting to escape the Unit, and that he was a future danger to

society, per special issue number one. 19 RR 4, 25-28, 34.

        If counsel had investigated this incident, they could have presented the testimony of John

Pina, who was one of the three inmates involved. Pina would have testified that the incident was

far from an escape attempt.

        Pina was assigned the night shift in the kitchen and was working the night of the “incident.”

Also there that evening was Leza, who worked in the commissary, and a third inmate named Roy

Garcia. Ex. 112 at ¶¶3, 6. According to Pina, he, not Leza, was standing on a baker’s rack, and

rather than trying to escape, Pina was trying to repair a latch in the door to the ceiling when officers

saw him. Pina also would have testified that as a result of the incident, he was written up as being

“out of place” because he was in the hallway and not the kitchen, but nothing more than that

because there was no evidence that anyone was attempting to escape. Pina also would have told

the jurors that he was supposed to be in the kitchen that night as his shift did not end for a few



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more hours. Ex. 112 at ¶7. Pina also could have told the jurors that the door latch and the bread

rack were nowhere near the freezer below where the clothing was found. Id. at ¶12.

       Pina also would have testified that the kitchen was in the middle of the Connally Unit (see

Ex. 121) and that if someone actually did get onto the roof of the kitchen, that person would still

have to find a way to get off the roof, then navigate around open areas and guard towers in order

to even reach the perimeter fences a person would then have to climb over. Ex. 112 at ¶11. Pina

also would have testified that he, Leza, and Garcia were in the commissary area of the kitchen

directly in front of the kitchen office, which had huge windows and therefore would have been

difficult to escape without being noticed. Id. at ¶10.

       Pina also would have testified that he only knew Leza in passing. Pina would have testified

that Leza told him he had just been granted parole, making it unlikely that Leza would attempt to

escape as he was so close to being released. Ex. 112 at ¶¶13-14. Pina also would have told the

jurors he would not have depended on Leza for something like an escape because Leza was not

smart and did not appear to be very bright. Id. at ¶14.

       At the time of Leza’s trial, Pina had been released from prison and was living in San

Antonio, Ex. 112 at ¶15, so trial counsel could have easily located and interviewed him. If Pina

had been called as a witness (he was willing to testify), he could have convinced the jurors that the

State’s evidence of an attempted escape was much ado about nothing, and therefore the jurors

would not have used this evidence to show that Leza was a future danger (special issue number 1).

Counsel’s failure prejudiced Leza’s punishment case. Considered singly and cumulatively, there

is a reasonable probability of a more favorable outcome if counsel had performed effectively.

CLAIM SEVENTEEN (FAILURE TO DEFINE SENTENCING TERMS)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the aggravating factors employed in the

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Texas capital sentencing scheme do not properly channel the jury’s discretion. Further, trial

counsel were ineffective for failing to raise this argument at trial. Exhaustion: This claim was

presented to the state courts in multiple parts as: (1) Claim VII in the initial state application, Ex.

8 at 93-94; (2) Point of Error Eight in the direct appeal, Ex. 3 at 102-06, Ex 6 at 7; (3) Point of

Error Nine in the direct appeal, Ex. 3 at 106-08; Ex. 6 at 7; and (4) Point of Error Thirteen in the

direct appeal, Ex. 8 at 129-32; Ex. 6 at 7. The state courts’ adjudication of these claims was

contrary to, and consisted of an unreasonable application of, clearly established federal law, and

was based on an unreasonable determination of the facts. See Ex. 15 at 2; Ex. 13 at 179-80; Ex. 9

at 30. Further, trial counsel were ineffective for failing to raise these claims at trial.

A.      The Eighth Amendment Prohibits The Arbitrary And Capricious Infliction of
        The Death Penalty Arising From Vague Sentencing Scheme

        The Eighth Amendment prohibits the arbitrary and capricious infliction of the death

penalty. Furman v. Georgia, 408 U.S. 238 (1972). A capital-sentencing scheme that includes a

“vague aggravating factor employed for the purpose of determining whether a defendant is eligible

for the death penalty fails to channel the sentencer’s discretion.” Stringer v. Black, 503 U.S. 222,

235    (1992).     A     constitutionally     adequate     sentencing     scheme      “must   channel

the sentencer’s discretion by ‘clear and objective standards’ that provides ‘specific and detailed

guidance,’ and that ‘make rationally reviewable the process for imposing a sentence of death.’”

Godfrey v. Georgia, 446 U.S. 420, 428 (1980) (internal citation omitted). A sentencing scheme

that relies on a vague sentencing factor creates an “unacceptable risk of randomness” in violation

of the Eighth Amendment. Tuilaepa v. California, 512 U.S. 967, 974 (1994).

B.      Texas’s Capital Sentencing Scheme Is Unconstitutionally Vague

        In this case, Leza’s Eighth Amendment right was violated because Texas’s capital-

sentencing scheme relies on a special instruction that is unconstitutionally vague and, therefore,


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failed to give Leza’s sentencers sufficient guidance. Pursuant to Texas Code of Criminal Procedure

§ 37.071(2)(b)(1), the court instructed the jury it must determine whether “beyond a reasonable

doubt [] there is a probability that the defendant, Armando Leza, would commit criminal acts of

violence that would constitute a continuing threat to society.” 19 RR 8-9. The trial court further

instructed the jury to “consider all evidence admitted at the guilt or innocence stage and the

punishment stage, including evidence of the defendant’s background or character or the

circumstances of the offense that militates for or mitigates against the imposition of the death

penalty.” 19 RR 9 (emphasis added). The trial court, however, did not give the jury any definition

of the substantive requirements of this instruction. Specifically, the trial court failed to define the

terms: probability, criminal acts of violence, continuing threat to society, and militates. The jury

was, therefore, left without any direction on how to apply these terms, which created an

unacceptable risk of randomness in Leza’s capital sentence in violation of the Eighth Amendment.

       1.      Probability

       The trial court failed to provide the jurors with a definition of “probability.” Under Texas

Code of Crim. Pro. § 3.01: “All words, phrases and terms used in this Code are to be taken and

understood in their usual acceptation in common language, except where specially defined.”

Section 3.01 has been held to apply to the term “probability,” and thus, prior Texas court decisions

have indicated the term “probability” need not be defined for the jury. See, e.g., Robison v. State,

888 S.W.2d 473, 481–82 (Tex. Crim. App. 1994); Kemp v. State, 846 S.W.2d 289, 309 (Tex.

Crim. App. 1992) (internal citations omitted). However, contrary to the requirements of Section

3.01, the legal definition of probability approved by Texas courts differs from the common

understanding of the term and from the actual definition of the term.

       “Probability” is a statement as to the degree of confidence, expressed as a numerical

measure. It is defined in various dictionaries as: “a measure or estimate of the degree of confidence

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one may have in the occurrence of an event, measured on a scale from zero (impossibility) to one

(certainty),” “a measure of how likely something is to happen”, and “the likelihood of something

occurring or the chance of something happening.” Ex. 92 at 2. In other words, a one percent

estimate of confidence that Leza would be a continuing threat to society is a “probability” just as

a fifty-one percent estimate of confidence that Leza would be a continuing threat to society is also

a “probability.”

       The term “probability”, however, is often misunderstood, see, e.g., Catalain Barbonianu,

The Mathematics of Slots: Configurations, Combinations, Probabilities (INFAROM, 2013) at 90

(“There is a clear distinction between the mathematical notion of probability and the probability

we use in the common speech, which we often confuse with possibility.”), and it appears the Texas

court’s interpretation of “probability” is based upon this common misunderstanding. See Hughes

v. State, 878 S.W.2d 142, 146–48 (Tex. Crim. App. 1992) (noting different understandings of the

term “probability” and finding trial court abused its discretion in not granting motion to challenge

juror for cause who applied the correct statistical definition of probability, yet still noting there

was no trial court error in not defining the term for the jury).

       Texas courts have defined the term “probability” as meaning “more likely than not,

[defendant] represents a continuing threat to society.” Robison, 888 S.W.2d. at 481. However,

contrary to the understanding of Texas courts, “probability” does not contain an inherent measure

of likelihood, and thus, “more likely than not” – i.e. a measure of confidence of greater than 50%

- is not the correct definition of probability. By defining probability as “more likely than not” (or

a measure of confidence of greater than 50%), Texas appellate courts have inserted a specific

measure of probability, which differs from the common understanding of the term, and approved




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its constitutionality, while simultaneously allowing trial courts to avoid sharing that specific

definition with the jury.

       If Texas courts misunderstand the term and know jurors misunderstand the term, then there

is an impermissible risk the jury in Leza’s case did not understand the term. This risk is guaranteed

when the constitutionally approved measure of risk (“more likely than not”) is not part of the

common definition of “probability.” Absent a specifically defined measure of probability as

greater than 50% (as approved in Robison), the jury could have found a 1% probability Leza would

commit criminal acts of violence that would constitute a continuing threat to society in order to

sentence Leza to death. Because the court did not advise the jury the State was required to prove a

measure of probability greater than a 50% likelihood, reliance upon the undefined term

“probability” unconstitutionally decreased the State’s burden of proof and failed to narrow the

category of defendants subject to the death penalty. The failure to define “probability” also left

Special Issue Number 1 unconstitutionally vague in violation of due process.

       2.      Criminal acts of violence

       The trial court also failed to provide the jurors with a definition of “criminal acts of

violence.”

The problem with failing to define “criminal acts of violence” is that the statutory definition differs

from a lay understanding of the phrase and does not exclude “criminal acts of violence” against

property from its definition.

       Absent such a limiting definition, for example, the jury could have considered the risk that

Leza may commit “criminal mischief” (Tex. Penal Code Ann. § 28.03) involving the intentional

or knowing damage to the property of another to be a future “criminal act of violence.” Boyd v.

State, 899 S.W.2d 371, 374 n.5 (Tex. Crim. App.1995) (criminal mischief is a crime of violence

under Texas law); United States v. Reyes-Maya, 305 F.3d 362, 367 (5th Cir. 2002) (finding Texas

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criminal mischief conviction should have been excluded from criminal history score in federal

sentencing guidelines). Likewise, absent a limiting definition from the court, a jury could even

construe the future risk of disorderly conduct (Tex. Penal Code Ann. § 28.03) to be a “criminal act

of violence” since it “can include violent acts such as discharging a firearm in a public place.”

Reyes-Maya, 305 F.3d at 367 (noting disorderly conduct can include violent acts and should be

excluded from criminal history in federal sentencing guidelines). Likewise, because “criminal acts

of violence,” was not defined to exclude property crimes, burglary could even be included as a

potential future violent crime. Gardner v. State, 699 S.W.2d 831 (Tex. Crim. App. 1985) (looking

at factual circumstances of prior burglary conviction to determine if it involved “actual violence

to property”). Of course, if the jury were provided with a proper definition for “criminal acts of

violence” then this risk of misapplication of the aggravator by the jury would have been reduced.

See United States v. Landeros-Gonzales, 262 F.3d 424, 425–27 (5th Cir. 2001) (finding Texas

“criminal mischief” conviction for graffiti to not be a prior “crime of violence” under federal law).

       In this case, the State focused on Leza’s past property crimes and nonviolent offenses to

convince the jury to return a death penalty verdict. The State introduced Leza’s prior convictions

for theft of automobile, burglary of a habitation without the use of force, burglary of a building,

and criminal trespass to show there was a probability Leza would commit criminal acts of violence

that would constitute a continuing threat to society. 17 RR 20; 19 RR 23-25. The State also argued

Leza was “disrespecting people’s property” through a prior offense and by failing to identify

himself to police that he was “disrespecting authorities” and “[d]isrespecting an officer.” 19 RR

25. The State focused on information that did not involve any violence against persons in arguing

that Leza “would commit criminal acts of violence that would constitute a continuing threat to

society.” If the Court had defined “criminal acts of violence” to exclude property crimes, then the



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jury would have better understood that these prior offenses did little, if anything, to advance the

State’s argument that the jury should affirmatively find Special Issue Number 1 applied to Leza.

Ultimately, the Court should have advised the jury that it may only consider “criminal acts of

violence” that involved the use of force against another person, but not “criminal acts of violence”

against another person’s property. Cf. 18 U.S.C. § 16 (federal definition for “crime of violence”).

       Without a definition, the jurors were left without guidance as to how to apply this critical

phrase and, instead, may have given weight to factors that should have been excluded from their

consideration, and arbitrarily applied their own personal definitions. Accordingly, the jury

instructions did not allow for the proper narrowing eligibility for the death penalty and, therefore,

failed to “protect[] against arbitrary and capricious impositions of the death sentence” in violation

of the Eighth Amendment. Sawyer v. Whitley, 505 U.S. 333, 341 (1992); Lowenfield v. Phelps,

484 U.S. 231, 244 (1988). Additionally, without any guiding definition, the “criminal acts of

violence” phrase was unconstitutionally vague and violated Leza’s right to due process. Johnson

v. United States, 135 S. Ct. 2551 (2015).

       3.      Continuing threat to society

       The trial court additionally failed to define the phrase “continuing threat to society” in its

instruction to the jury. In determining whether a defendant will be a continuing threat to society,

Texas courts have held the jury should consider whether the defendant constitutes a threat, either

in or out of prison. Estrada v. State, 313 S.W.3d 274, 284 (Tex. Crim. App. 2010). However, Texas

courts are under no obligation to inform the jury of this inclusion, and in this case, the trial court

made no such clarification. 27 See 19 RR 9. Leaving “society” ambiguous and undefined creates a



27
  While trial counsel argued to the jury society is defined as the “penal society,” the trial court’s
instructions, which the jury is admonished to follow, does not contain a similar distinction. See 19
RR 19-21, 23.
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risk the jurors will focus on the future dangerousness to the society they belong to—i.e. the general

public. In fact, there is a risk that leaving “society” undefined will “exacerbate[] the jurors’ concern

that there is some scenario in which the defendant could be released from prison.” Ex. 92 (54 Am.

Crim. L. Rev. 57, 86 (2017)). This in turn creates an unfair risk jurors will rely upon emotion and

fear as opposed to fairly weighing the evidence presented to them when considering whether a

defendant constitutes a continuing threat to their own community. Not only does this create unfair

prejudice, but considering whether a defendant constitutes a continuing threat to society outside of

the prison population, is entirely irrelevant because consideration of a capital sentence necessarily

means the defendant will never be released into the general population. Accordingly, the ambiguity

created in this case by the trial court’s failure to define the parameters of the phrase “continuing

threat to society” was unnecessarily prejudicial and violated Leza’s right to be protected against

the arbitrary infliction of the death penalty.

        4.      Militates

        Lastly, the trial court failed to define the term “militates” in its instruction to the jury.

“Militates” is not a commonplace word and may, therefore, not be recognized by most jurors. Even

when “militate” is recognized by the jury, it would not necessarily be understood by them. The

dictionary definitions of “militates” vary. See, e.g., Merriam-Webster Online Dictionary:

www.merriam-webster.com/dictionary/militates (last visited September 7, 2017) (“Etymology:

Latin militates, . . ; to have weight or effect”); Cf. www.dictionary.com/browse/militate (last

visited September 7, 2017) (“to have a substantial effect; weigh heavily”). “Militates” therefore

generally means to have some weight or effect or to cause a change. But, in the context of a capital

case, “militates” means, in effect, to justify or operate in favor of, the death penalty. This is

different from the usual meaning that would typically be understood by the jury.



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       Terms with a technical legal meaning may need to be defined, particularly “when there is

a risk that the jurors may arbitrarily apply their own personal definitions of the term or where a

definition of the term is required to assure a fair understanding of the evidence.” Middleton v.

State, 125 S.W.3d 450, 454 (Tex. Crim. App. 2003). Given the acknowledged difficulty jurors

have understanding instructions that may seem commonplace to lawyers, and that “militates” is

not frequently encountered, it is unlikely the term will be readily understood by the average juror.

       The jurors here were left without guidance as to how to apply this critical word and

consequently may have given weight to factors which should have been excluded, or arbitrarily

applied their personal definitions. For example, as a statutory matter, the State may not offer

evidence of race and ethnicity to suggest that those factors make it more likely the defendant will

engage in future criminal conduct. Tex, Code Crim. Proc. Art. 37.071 § 2(a)(2). An admonition to

the jury to the same effect would have served to protect Leza, a Hispanic male, from a juror giving

his race inappropriate weight. Miller-El v. Dretke, 545 U.S. 231, 234 (2005). Age, sex, national

origin, religion, political views, and sexual orientation are personal characteristics which are

protected by the courts, and not normally relevant to a capital sentencing absent some specific

relevance. See, e.g., Barclay v. Florida, 463 U.S. 939, 949 (1983). Instructions should therefore

have been given to insure that the other factors to which the trial court’s attention was alerted by

defense counsel’s objections were not improperly considered by the jury. Fritz v. State, 946

S.W.2d 844 (Tex. Crim. App. 1997) (gender discrimination violates Equal Protection clause);

Marx v. State, 150 S.W.2d 1014, 1016-17 (Tex. Crim. App. 1941) (inflammatory comments

concerning national origin required reversal); Dawson v. Delaware, 503 U.S. 159, 166-67 (1992)

(mere proof of membership in the Aryan Brotherhood showed only “abstract belief,” and therefore

implicated defendant’s First Amendment right of association); Lawrence v. Texas, 539 U.S. 558



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(2003) (state cannot criminalize private homosexual activity). The instruction, as given, did not

preclude the jury from consideration of Leza’s constitutionally protected personal characteristics

in deciding the first special issue and thus, reversal is required.

C.      Trial Counsel’s Performance Was Deficient

        Despite the trial court’s failure to define these key terms, trial counsel never objected or

requested the trial court amend the special issue instructions to include definitions of “probability,”

“criminal acts of violence,” “continuing threat to society,” and “militates.” Had trial counsel

requested the special instructions contain definitions of the terms, the jurors would have been

precluded from applying their own definitions and interpretations to these legal terms. The jurors,

therefore, would not have been able to consider Leza’s past property crimes and non-violent

offenses, they would not have been prejudiced by fears of Leza being a threat to the general

population outside of prison, and there would have been no risk the jurors considered improper

characteristics, like Leza’s race. Absent these improper considerations, there is a reasonable

probability the jurors would not have sentenced Leza to death.

CLAIM EIGHTEEN (DEFICIENT GRAND JURY INDICTMENT)

        Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the grand jury did not consider any of the

aggravating circumstances as part of the True Bill of Indictment, yet aggravating circumstances

were still considered by the jury in the punishment phase. Exhaustion: This claim was presented

to the state court as Point of Error Three in the direct appeal. Ex. 3 at 29–37; Ex. 6 at 5-6. The state

court’s adjudication of the claim was contrary to, and consisted of an unreasonable application of,

clearly established federal law, and was based on an unreasonable determination of the facts. Ex.

9 at 14-15. To the extent this claim was not raised at trial, trial counsel’s performance was deficient.



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Further, post-conviction counsel’s failure to raise the ineffectiveness of trial counsel amounted to

deficient performance.

A.     Texas Indictments

        “An ‘indictment’ is the written statement of a grand jury accusing a person therein named

of some act or omission which, by law, is declared to be an offense.” Tex. Crim. Proc. Code Ann.

§ 21.01; also see Tex. Const. art. V, § 12. “Everything should be stated in an indictment which is

necessary to be proved.” Tex. Crim. Proc. Code Ann. § 21.03; also see Tex. Const. art. I, § 10.

Texas law prohibits amendment to the Indictment “if the amended indictment . . . charges the

defendant with an additional or different offense or if the substantial rights of the defendant are

prejudiced.” Tex. Crim. Proc. Code Ann. § 28.10; also see Tex. Crim. Proc. Code Ann. § 28.19.

The purpose of the Texas indictment is not only to provide notice to the defendant, but also to

ensure that the grand jury finds probable cause exists before the State can bring charges. Gunville

v. Gonzales, 508 S.W.3d 547, 563–64 (Tex. Crim. App. 2016) (“The court has often emphasized

the role of a grand jury as an independent body which acts as check on prosecutors.”).

       In Leza’s case, the grand jury issued a True Bill of Indictment for murder in the course of

a robbery with an enhancement allegation for Leza’s prior conviction of burglary of a habitation.

CR 16. The indictment did not contain any grand jury charge that there was a probability that Leza

would commit future acts of violence that would constitute a continuing threat to society, nor did

it reflect a grand jury charge that the mitigating circumstances were insufficient to warrant a

sentence of life imprisonment. 19 RR 8–13. Although not listed in the indictment, trial counsel did

not object to the presentation of the three aggravating factors for the jury’s consideration at the

punishment phase.




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B.     Analysis

       The Supreme Court has found the Fifth Amendment requires that “any fact (other than

prior conviction) that increases the maximum penalty for a crime must be charged in an indictment,

submitted to a jury, and proven beyond a reasonable doubt.” Apprendi v. New Jersey, 530 U.S.

466, 470 476, 490 (2000) (emphasis added) (holding a criminal defendant is entitled to “a jury

determination that [he] is guilty of every element of the crime with which he is charged, beyond a

reasonable doubt,” and any fact that increases the penalty for a crime beyond the prescribed

statutory maximum is subject to the same requirements); Alleyne v. United States, 133 S. Ct. 2151,

2155 (2013) (“any fact that increases the mandatory minimum is an ‘element’ that must be

submitted to the jury”). Subsequently, the Court held in Ring v. Arizona, 536 U.S. 584, 609 (2002)

that “aggravating factors operate as ‘the functional equivalent of an element of a greater offense,’”

and thus, “the Sixth Amendment requires that they be found by a jury.” Id.

       In light of Apprendi and Ring, it is clear Texas’s enumerated aggravating factors are “the

functional equivalent of an element of a greater offense” because they subject a criminal defendant

to capital punishment, and thus, must be specifically alleged in the grand jury indictment and

supported by sufficient evidence of probable cause. See United States v. Cotton, 535 U.S. 625,

627 (2002) (holding prosecutions in federal courts require that aggravators be alleged in the

indictment and supported by probable cause); Tex. Crim. Proc. Code Ann. § 21.03 (“Everything

should be stated in an indictment which is necessary to be proved.”) While the Fifth Amendment

applies to the guarantee of indictment by grand jury in federal court, Texas also elects to indict

defendants through a grand jury procedure. In such circumstance, the notice requirement under the

Sixth and Fourteenth Amendments requires defendants to be informed of the charges against them.

See Harris v. United States, 536 U.S. 545 (2002).



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       In Leza’s case, the aggravating factors were not submitted to the grand jury. All elements

to a crime must be charged in an indictment before they can be considered by a jury. If Texas is

allowed to proceed without a grand jury finding probable cause for each aggravating circumstance,

then state prosecutors will be left with an unacceptable level of discretion. The State will continue

to unilaterally add aggravating circumstances that were never contemplated by the grand jury.

Absent the indictment’s express presentation of every aggravator, the grand jury was never tasked

to perform its protective role. The rights of a Texas state court defendant, like Leza, cannot

consistently with the Equal Protection Clause, be fundamentally diminished in contrast with a

defendant in federal court. Thus, Leza’s conviction or, at a minimum his death sentence, must be

reversed as this error had a substantial and injurious effect on the proceedings.

CLAIM NINETEEN (STATUTORY 10-12 RULE)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because Texas’s statutory “10-12 rule” is

misleading and results in arbitrariness in the imposition of the death penalty. Exhaustion: This

claim was presented to the state courts in Claim Seven of Leza’s direct appeal and Claim VIII of

the initial state application. Ex. 8 at 89-102; Ex. 3 at 95-120; Ex. 6 at 7. The state courts’

adjudication of the claim was contrary to, and consisted of an unreasonable application of, clearly

established federal law, and was based upon an unreasonable determination of the facts. Ex. 9 at

29-30; Ex. 15 at 2; Ex. 13 at 181-82.

       The court’s charge during the punishment phase instructed the jury it could not return an

answer of “No” on the first and second special issues, or an answer of “Yes” on the third special

issue, unless ten or more of the jurors agreed. 19 RR 8, 10-11. The trial court’s instruction to the

jury was false because, under Texas law, ten votes are not required for a capital defendant to be

sentenced to life rather than death. Instead, if even a single juror had voted “No” on the first or

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second special issues or “Yes” on the third special issue, Leza would have been sentenced to life

in prison. Tex. Code. Crim. Proc. art. 37.071, § (2)(g). The court’s “10-12” instruction, also known

as the Texas “Gag Statute,” was misleading. 28 There is no doubt this false instruction by the trial

court misled several jurors. 29

        The Eighth Amendment forbids misleading jurors in the manner that the jurors were here.

Simmons v. South Carolina, 512 U.S. 154, 171 (1994). According to the Court in Simmons, due

process demands jurors understand the true range of punishment and their actual authority and

power to ensure reliability in capital sentencing. This principle is abridged when jurors are misled,

particularly when that statement causes a juror who would have otherwise insisted on a life

sentence to accede to a death sentence.

        As in Simmons, the jurors in Leza’s case were misled about the consequences of their

answers to the questions they were presented. Had jurors not been misled by the court’s charge,

they would have answered the special issues in a manner that resulted in Leza being sentenced to

life rather than death. While the constitutional sufficiency of a capital sentencing instruction is

ultimately determined by what a reasonable juror could have understood the instruction to mean,

see California v. Brown, 479 U.S. 538, 541 (1987), this error was not harmless.

        The “10-12 rule” also creates an impermissible risk of arbitrariness in the sentencing

process. Furman v. Georgia, 408 U.S. 238, 249 (1972) (Douglas, J., concurring) (“[W]henever

there is a reasonable likelihood that a juror will misunderstand a sentencing term, a defendant may

demand instruction on its meaning, and a death sentence following the refusal of such a request




28
   See Robert Clary, Texas’s Capital-Sentencing Procedure Has A Simmon’s Problem: Its Gag
Statute and 12-10 Rule Distort The Jury’s Assessment of the Defendant’s “Future Dangerousness,
54 Amer. Crim. L. Rev. (2017).
29
   Leza raised this claim in a pretrial motion, which the trial court denied. 1 CR at 195-213, 214.
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should be vacated as having been ‘arbitrarily or discriminatorily’ imposed.”). The court’s

instruction fostered confusion because it failed to explain what happens if the jurors could not

reach the number of votes asked for by the instruction. Because the jurors are told a life sentence

ensues from one set of answers and a death sentence from the other, a reasonable juror would

conclude the only way to obtain either of these punishments is to answer the questions posed to

the jury. See Francis v. Franklin, 471 U.S. 316 (1985). Thus, a juror can only speculate as to the

result if agreement cannot be reached: a lesser sentence, an expensive retrial, or some other result.

       The instruction also denied Leza the right to an individualized sentencing. Mills v.

Maryland, 486 U.S. 367, 374-75 (1988). Here, a jury may decide that sufficient mitigation exists

to warrant a life sentence (issue one) or that there is insufficient evidence of future dangerousness

(issue three), the “10-12 rule” provides them with no clear outlet to express their individualized

findings. The “10-12 rule” also deprived the jury of an effective vehicle to express their reasoned

moral response to the mitigating evidence as it made it impossible for an individual juror to know

the potential impact of their vote and likely resulted in a juror or jurors being compelled to vote

against their conscience. See Andres v. United States, 333 U.S. 740, 752 (1948); but see Webb v.

Collins, 2 F.3d 93, 95-96 (5th Cir. 1993).

       And finally, the “10-12 rule” prevents the defendant from receiving effective assistance of

counsel. Article 37.071(2)(a)(1) prohibits the trial court, either attorney, and the defendant from

informing the jury, or prospective juror, that the failure to answer any of the issues presented will

result in a mandatory life sentence. But this rule renders counsel ineffective as he or she cannot

inform a sentencing jury of sentencing alternatives. See Burley v. Cabana, 818 F.2d 414, 418 (5th

Cir. 1987).




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        In sum, the court’s instructing the jury with the “10-12 rule” resulted in multiple

constitutional errors. Given that at least one juror could have influenced a life sentence, and that

the instructions given were calculated to confuse and coerce such a juror, the error had a substantial

and injurious effect on the punishment verdict.

CLAIM TWENTY (OTHER IAC CLAIMS)

        Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because his trial counsel failed to: (1) make an

opening statement at the guilt phase; (2) object to Detective McCampbell’s statement about Leza’s

arrest; (3) object to the improper show-up shown to Mohammad Chahrour; and (4) object to the

admission of gruesome photographs. Exhaustion: Subpart (A) of the Claim was presented to the

state courts in Claim V of the initial state application. Ex. 8 at 64-65. The state courts’ adjudication

of this Claim was contrary to, and consisted of an unreasonable application of, clearly established

federal law, and was based on an unreasonable determination of the facts. Ex. 13 at 153; Ex. 15 at

3-4. Subparts B, C, and D of this Claim were not presented to the state courts because of the

ineffectiveness of trial and initial post-conviction counsel.

A.      No Opening Statement

        Leza’s defense counsel waived opening statement, claiming “We would like to reserve our

right to make an opening statement until later.” 12 RR 21. However, prior to the close of evidence,

the trial court asked if defense counsel would like to make an opening statement, and defense

counsel declined and rested. 14 RR 19. Trial counsel did not make an opening statement because

he lacked a defense, evidence, and witnesses. Writ RR 193.

        Opening statements may be made in both bench and jury trials. Crist v. Bretz, 437 U.S. 28,

50 (1978). The opening statement is important and often “designed to force the opposition’s hand

or shape the jurors’ perception of events.” Lee v. Kemna, 534 U.S. 362, 402 (2002) (Kennedy, J.,

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dissenting). An opening statement provides the opportunity “to state what evidence will be

presented, to make it easier for the jurors to understand what is to follow, and to relate parts of the

evidence and testimony to the whole[.]” United States v. Dinitz, 424 U.S. 600, 612 (1976) (Burger,

J., concurring). Leza’s trial counsel waived the first opportunity to introduce and personalize Leza,

to explain the defense’s theme, to provide a framework for the evidence, to alert the jurors there

were two sides to the case and to keep an open mind, and to build rapport with the jury.

       The failure to offer an opening statement was deficient performance which prejudiced Leza

and undermined confidence in the verdict. The jury did not hear any evidence as to the defense’s

theory of the case, if any, until closing argument. Thus, the jury had no alternate lens in which to

view the evidence it received; only the lens offered by the prosecution. 12 RR 17–25.

B.     Detective McCampbell’s Statement About Leza’s Arrest

       During Leza’s trial, the State questioned Detective McCampbell about the arrests of Leza

and Trevino. 12 RR 104–05. McCampbell described preparing arrest warrants for Trevino and

Leza. 12 RR 105. McCampbell was then asked to define an arrest warrant for the jury. Id.

McCampbell testified: “Basically, I type out my probable cause, the events of the crime, to show

that Armando Leza and Dolores Trevino were responsible for the death of Caryl Allen, and then I

went and had the warrants signed by a Judge and they were arrested for the offense of murder.”

Id.

       “The general rule in Texas is that the State is entitled to show circumstances surrounding

an arrest. However, when such evidence is inherently prejudicial and has no relevance to any issue

in the case, the general rule no longer applies, and the evidence becomes inadmissible.” Hayden

v. State, 155 S.W.3d 640, 646 (Tex. App. 2005).

       Here, the State went beyond describing the circumstances of Leza’s arrest. In addition to

recounting the simple circumstances surrounding the arrest, the State solicited testimony that

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indicated the detective could “show” Leza and Trevino were responsible for the victim’s death and

that a judge signed the arrest warrant. These statements had no tendency to make a fact of

consequence more or less probable. Tex. R. Evid. 401. Irrelevant evidence is not admissible. Tex.

R. Evid. 402. Admission of this evidence also served to confuse the jury by suggesting that “a

judge” had already made the factual finding that the jury was to determine, i.e., that Leza was

“responsible for” the victim’s death. 12 RR 105.

       Trial counsel did not object at any point during this exchange between the prosecutor and

McCampbell. The defense did not seek a mistrial nor did the defense move to strike these

statements. Finally, the defense failed to request a curative instruction. The defense failed to

address the introduction of irrelevant and unduly prejudicial testimony in violation of Leza’s right

to due process.

C.     Convenience Store Show-Up

       Following Trevino and Leza’s arrest, Detective McCampbell received information that

some of the victim’s property was sold at a convenience store. 12 RR 102. Officer Tim Angell

showed photographs of Trevino and Leza to the convenience store employee, Mohamad Chahrour.

13 RR 75-76. Chahrour testified he was “shown single photographs of a male and a single

photograph of a female,” and recognized the individuals as his customers. Id. at 63. Leza and

Trevino were in custody at the time Chahrour was interviewed by Angell. Id. at 62.

       Leza’s photograph was identified in a one-person lineup; also known as a show up

identification. As Leza was already in custody, there was no exigent circumstance that prohibited

law enforcement from utilizing a six-pack photographic lineup with photographs of other

individuals. Instead, the State used a “show up” identification that was highly suggestive and has

been condemned for four decades because of its suggestibility. Stovall v. Denno, 388 U.S. 293,

302 (1967); see also Simmons v. United States, 390 U.S. 377, 383 (1968). Here Leza’s photograph

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was emphasized “under unnecessarily suggestive circumstance arranged by law enforcement”

(Perry v. New Hampshire, 565 U.S. 228, 248 (2012)) as it was the only photograph shown to the

convenience shop employee. Because of the use of a single photograph, the likelihood of

misidentification violated Leza’s right to due process.

        Further, Leza is Hispanic and Mohamad Chahrour is not. This increases the significant risk

of misidentification as people have a more difficult time identifying people from another ethnicity.

In this case, the danger of a misidentification because of the show up procedure was coupled with

the dangers of cross-racial misidentification. See, e.g., Ex. 93; Ex. 100.

        Trial counsel were ineffective for not seeking to exclude this suggestive and unreliable out

of court show up identification. Counsel was further ineffective for failing to request from the

court a cautionary instruction about the show up. And state post-conviction counsel were

ineffective for failing to raise the ineffectiveness of trial counsel for failing to raise this issue.

D.      Gruesome Photographs

        During the testimony of City of San Antonio Police Officer Robert Moreno (12 RR 53, 70-

71) and Dr. Randall Frost, the chief medical examiner for Bexar County (12 RR 145), the State

admitted into evidence four photographs showing the victim’s bloody body at the crime scene or

bloated face at the autopsy. See 12 RR 53, 70-71, 145; Ex. 122. Trial counsel did not object to the

admission of any of the four photographs even though they were highly prejudicial and ensured

that the jury would be unable to purge the memory of those horrific photographs while deliberating.

        The prejudice here is clear. During voir dire, juror Harris stated that she did not want to see

gruesome pictures at trial and that she might be prejudiced by them. 10 RR 125-26 (see Claim

Twelve, above). Harris also stated she could not guarantee she would not give such pictures undue

weight when reaching a verdict. 10 RR 126-27. The four photographs mentioned above no doubt

were the type that Harris was speaking of.

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       Counsel’s failure to object constituted deficient performance and there is a reasonable

probability of a more favorable outcome if counsel had performed effectively.

CLAIM TWENTY-ONE (TRIAL COURT ERROR – JURY INSTRUCTIONS)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because the trial court failed to instruct the jury as

to various points of law concerning victim impact evidence. Specifically, the trial court failed to

instruct the jurors that its consideration of victim impact evidence: (1) should not be considered in

connection with the future dangerousness special issue; and (2) did not relieve the State of its

burden to prove the “future dangerousness issue beyond a reasonable doubt.” Moreover, trial

counsel were ineffective for failing to request the court give these instructions and for failing to

object to the victim impact evidence which ran afoul of controlling Supreme Court precedent.

Exhaustion: The portion of the claim related to the failure to give jury instructions related to

victim impact evidence was presented to the state court as Point of Error Twelve in the direct

appeal. Ex. 3 at 124-29; Ex. 6. The state court’s adjudication of this claim was contrary to, and

consisted of an unreasonable application of, clearly established federal law, and was based upon

an unreasonable application of the facts. See Ex. 9 at 28-29. The portion of the claim related to the

failure to object to inadmissible victim-impact evidence has not been presented to the state court

due to the ineffectiveness of trial and initial post-conviction counsel.

A.     Victim Impact Evidence

       Under Payne v. Tennessee, 501 U.S. 808 (1991), the State’s presentation of victim impact

evidence is limited to a “quick glimpse” of the victim’s life and “the impact of the murder on the

victim’s family.” 501 U.S. at 822, 827. The State may not present a victim’s family members’

characterization or opinion about the crime, the defendant, or the appropriate sentence. Payne, 501

U.S. at 830 n.2 (citing Booth v. Maryland, 482 U.S. 496 (1987)); Erin McCampbell, Tipping the

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Scales: Seeking Death Through Comparative Value Arguments, 63 Wash. & Lee Rev. 379 (2006)).

Admission of victim impact evidence is unconstitutional under the due process clause if it is so

unduly prejudicial that it renders the sentence fundamentally unfair. Payne, 501 U.S. at 825; accord

Miller v. Dretke, 404 F.3d 908, 919 (5th Cir. 2005).

       The victim evidence presented at Leza’s trial came from Daryl Allen, the victim’s twin

brother. While the majority of Allen’s testimony centered upon the impact his twin sister’s death

had on his life and the other three surviving siblings, 18 RR 93-101, Allen made improper

comments directly to Leza saying: “Why did you hurt my little sister,” “That was my sister, you

fool. You coward. That’s what you are. You're a damn coward.” 18 RR 101.

B.     Trial Court Error Regarding Victim Impact Instructions As It Related To
       Future Dangerousness

       The jury should have been instructed that its consideration of victim impact evidence could

not be conducted in connection with the future dangerousness special issue. The Supreme Court

in Payne held that the legitimacy of the State’s decision to permit victim-impact evidence depends

on its relevance to the jury’s decision. 501 U.S. at 827. Indeed, Payne specifically refers to the

legitimate role that such evidence can play when the jury is also considering the defense’s

mitigation evidence. Id. at 826.

       Whatever relevance Allen’s testimony may have had to the uniqueness of the victim, the

impact of her death upon their families, and in rebuttal of the defense’s mitigation case, it logically

bore no relationship to the issue of whether Leza would commit criminal acts of violence in the

future. The good qualities of the victim and the suffering of her loved ones did not make Leza’s

propensity to commit future violent acts more or less likely.

       Since this evidence had no relevance to the “future dangerousness” issue, permitting its

consideration in that context encouraged the very kind of process that is prohibited: one that allows


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a decision to turn upon a factor that is entirely arbitrary and random. Furman v. Georgia, 408 U.S.

238, 255 (1972).

       Further, the jury should have been instructed that its consideration of victim impact

evidence did not relieve the state of its burden to prove the “future dangerousness” issue beyond a

reasonable doubt. An appropriate instruction from the court would have served to focus the jury

on the State’s burden of proving “future dangerousness” beyond a reasonable doubt. Given the

lack of a logical nexus between the inherently emotive victim-impact evidence and the probability

that Leza would commit future criminal acts of violence, an instruction would have reminded the

jury that what the State had to prove concerned Leza’s own future conduct and not the past and

continuing impact of the victim’s death. Failure to so instruct the jury again raised the risk of an

arbitrary rather than a channeled sentencing process, in violation of the Eight and Fourteenth

Amendments. Jurek v. Texas, 428 U.S. 262, 276 (1976).

       In addition to the court’s error, trial counsel were also ineffective for failing to request

these instructions. See Ex. 9 at 29. Counsel’s ineffectiveness was prejudicial.

C.     Counsel’s Failure To Object To Improper Victim Impact Evidence

       Further, trial counsel were ineffective for failing to object to victim impact evidence that

was outside the permissible bounds articulated by the Supreme Court in Payne. Allen’s statements

at the punishment phase directed specifically to Leza—“Why did you hurt my little sister,” “That

was my sister, you fool. You coward. That’s what you are. You’re a damn coward” (18 RR 101)—

was a clear violation of Payne as these remarks constituted impermissible opinion regarding Leza.

Payne, 501 U.S. at 830, n.2. This victim-impact evidence was so unduly prejudicial that it rendered

Leza’s trial “fundamentally unfair” (id. at 825) and counsel’s failure to object to it was prejudicial.

Further, post-conviction counsel’s failure to raise this claim in the initial post-conviction



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establishes cause for Leza’s failure to raise these claims below. Based upon the above, Leza is

entitled to punishment phase relief.

CLAIM TWENTY-TWO (ELECTED JUDGES)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because Leza’s capital trial, sentencing, and

appellate review were conducted before state judicial officers whose tenures were not dependent

on good behavior, but rather dependent on popular elections. Exhaustion: This claim was

presented to the state court as Point of Error Six in the direct appeal. Ex. 3 at 80-89; Ex. 6 at 7.

The state courts’ adjudication of the claim was contrary to, and consisted of an unreasonable

application of, clearly established federal law. See Ex. 9 at 21-22.

       The tenure of judges of the Texas state courts, including the CCA, is dependent upon

popularly contested elections and retention elections. Tex. Const., Article V, § 1. The justices of

the CCA perform mandatory review of capital death sentences directly without intermediary

appellate review. Tex. Code Crim. Proc. Art. 37.071, §2(h). Appeal to the CCA is automatic. Id.

       At the time of the adoption of the United States Constitution, the common law definition

of due process of law included the requirement that judges who presided over trials in capital cases,

which at that time potentially included all felony cases, have tenure during good behavior. This

mechanism was intended to preserve judicial independence by insulating judicial officers from the

influence of the sovereign that would otherwise have improperly affected their impartiality.

       Texas law does not include any mechanism for insulating state judges and justices from

majoritarian or political pressures which would affect the impartiality of an average person as a

judge in a capital case. Making unpopular rulings favorable to a capital defendant or to a capitally-

sentenced appellant poses the threat to a judge or justice of expending significant personal

resources, of both time and money, to defend against an election challenger who can exploit

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popular sentiment against the jurists’ pro-capital defendant rulings, and poses the threat of ultimate

removal from office. Judges and justices who are subject to popular election cannot be impartial

in any capital case within due process standards because of the threat of removal as a result of

unpopular decisions in favor of a capital defendant.

       Because the facts of this case—the killing of a woman who was a Hurricane Katrina

refugee (as repeatedly told to the jury by the State)—were particularly disturbing, the case

naturally received media attention in Bexar County and its surrounding communities. A ruling

favorable to Leza on any dispositive issue in his capital case, at trial or on post-conviction, would

have been devastating to the chances of reelection of any judicial officer who made such a ruling,

and at minimum would have required the judicial officer to expend significant resources in time

and money to retain his or her office.

       Conducting a capital trial or direct appeal before a tribunal that does not meet constitutional

standards of impartiality and requires that Leza’s conviction and sentence be vacated.

CLAIM TWENTY-THREE (CONFLICT OF INTEREST)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution because Leza’s post-conviction counsel was subject

to a conflict of interest when he signed Leza’s state post-conviction petition. Exhaustion: This

claim has not been presented to the state courts because of the ineffectiveness of initial post-

conviction counsel.

       To raise an ineffective assistance of counsel claim, Leza must show counsel’s performance

was deficient and that deficient performance prejudiced the defense. When the grounds for an

attorney’s ineffectiveness is based on a conflict of interest, prejudice will be presumed if the

attorney has an actual conflict that adversely affected his or her performance. Beets v. Scott, 65

F.3d 1258 (5th Cir. 1995) (citing Cuyler v. Sullivan, 446 U.S. 335, 348 (1980)).

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       In this case, Leza was denied his right to assistance of non-conflicted counsel because his

post-conviction attorney, Jay Brandon, was subject to a conflict of interest when he signed and

filed Leza’s post-conviction petition. Brandon was appointed to represent Leza in June 2009. Ex.

2. In late January to February 2011, while still representing Leza, Brandon began working as an

assistant district attorney for the Bexar County District Attorney’s Office—the same office

opposing Leza’s post-conviction petition. See Exs. 4, 7. Although Michael Gross was appointed

as Brandon’s co-counsel during Brandon’s transition to the District Attorney’s Office, Brandon

failed to withdraw prior to filing Leza’s petition. Ex. 5. On April 26, 2011, while working for the

District Attorney’s Office, Brandon signed and filed Leza’s post-conviction petition. Ex. 8.

       Brandon’s continued representation of Leza violated Leza’s Sixth Amendment right to the

effective assistance of counsel because Brandon’s employment with the Bexar County District

Attorney’s Office, the office specifically opposing Leza’s petition, created an actual conflict of

interest, which prevented Brandon from faithfully and adequately representing Leza’s interests.

Accordingly, Leza’s Petition should be granted, and he should be afforded a new trial. 30

CLAIM TWENTY-FOUR (CUMULATIVE ERROR)

       Leza’s conviction and sentence of death violate the Fifth, Sixth, Eighth, and Fourteenth

Amendments of the United States Constitution due to cumulative error. Exhaustion: This claim

has not been presented to the state courts because of the ineffectiveness of his trial and initial post-

conviction counsel.

       Leza is entitled to relief based upon the cumulative errors in his trial, appeal and state post-

conviction proceedings (see Claims Two through Ten, Twelve, Seventeen, Eighteen, Nineteen,

Twenty-One, Twenty-Two, and Twenty-Three). See Derden v. McNeel, 978 F.2d 1453, 1454 (5th


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  Further, this conflict acts as cause with respect to claims which otherwise would be subject to
default.
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Cir. 1992); Moore v. Quarterman, 526 F. Supp. 2d 654, 710-11 (W.D. Tex. 2007). Each of the

claims specified in this Petition requires vacation of the conviction or death sentence including:

the erroneous admission of false DNA evidence, the improper introduction of Leza’s confession,

the prejudicial exclusion of Trevino’s guilty plea and Trevino’s confession to Amanda Leza, the

State’s withholding of Brady evidence, the presentation of impermissible and inconsistent theories

of guilt, and the misleading jury instructions presented at both phases of trial.

       Leza is also entitled to relief upon the cumulative errors in his ineffective assistance of

counsel claims (see Claims One through Ten, Twelve through Eighteen, Twenty, and Twenty-

One). These errors included: the failure to introduce evidence of Leza’s ID, FASD, and addiction,

all which showed that Leza was ineligible for the death penalty, the failure to properly voir dire

prospective jurors, the failure to properly investigate Leza’s life history, the failure to properly

prepare witnesses, and the failure to make appropriate objections. A single, serious error by

counsel may be a sufficient basis on which to grant relief on a claim of ineffective assistance of

counsel. Kimmelman v. Morrison, 477 U.S. 365, 384 (1986). Nonetheless, it is not necessary that

any one error alone rise to the level of prejudice; multiple errors considered together may also

warrant relief under Strickland.

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                                      PRAYER FOR RELIEF

       For the reasons stated above, this Court should issue a writ of habeas corpus and vacate

Leza’s conviction and sentence, and grant him a new trial and sentencing hearing. 31

       Respectfully submitted this 9th day of January, 2018.

                                                            RENE VALLADARES
                                                            Federal Public Defender

                                                            /s/ Brad D. Levenson
                                                            BRAD D. LEVENSON
                                                            Assistant Federal Public Defender

                                                            /s/ Erik R. Guenther
                                                            ERIK R. GUENTHER
                                                            Assistant Federal Public Defender
                                                            Attorneys for Armando Leza


                               VERIFICATION OF PETITION

       I, Brad D. Levenson, declare as follows, under penalty of perjury:

1.     I am an attorney admitted to practice law in the State of Texas and am an attorney with the

Office of the Federal Public Defender. I am admitted to practice in this Court.

2.      I have read the foregoing Petition for Writ of Habeas Corpus and declare that the facts

alleged are true to the best of my knowledge based upon my reading of what I know to be true

copies of documents in this action.

3.     I am authorized by Armando Leza to file this Petition for Writ of Habeas Corpus on his

behalf. I make this verification because Mr. Leza is incarcerated in a state different than that in

which my office is located, and because the truth and accuracy of the facts contained herein are

more within my knowledge than that of Mr. Leza.



       31 The FPD wishes to acknowledge the contributions of attorneys Katherine Tanaka and
Raj Shah in the drafting of this Petition.
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       I declare under penalty of perjury under the laws of the United States of America and the

State of Texas that the foregoing is true and correct.

       Executed this 9th of January, 2018, in Las Vegas, Nevada.

                                                           /s/ Brad D. Levenson
                                                           BRAD D. LEVENSON
                                                           Assistant Federal Public Defender


                                CERTIFICATE OF SERVICE

       In accordance with LR CV-5 of the Local Rules of Practice, the undersigned hereby

certifies that on the 9th day of January, 2018, a true and correct copy of the foregoing PETITION

FOR WRIT OF HABEAS CORPUS was served by the United States District Court, CM/ECF

electronic filing system to:

       George A. d’Hemecourt
       Assistant Attorney General
       Criminal Appeals Division
       George.d’hemecourt@oag.texas.gov



                                                           /s/ Stephanie Young
                                                           An Employee of the
                                                           Federal Public Defender
                                                           District of Nevada




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                                          APPENDIX

A.     Issues raised on direct appeal

Points One and Two: The trial court erred in denying the motion to suppress Leza’s videotaped
statement.
Point Three: The trial court erred when it refused to preclude the death penalty as a sentencing
option or, to quash the indictment.
Point Four: The absence of a parties special issue in the jury charge at guilt innocence violated
the rule in Apprendi v. New Jersey and Tison v. Arizona.
Point Five: Leza’s right to a unanimous verdict was violated.
Point Six: Leza’s capital trial was conducted before State judicial officers dependent upon
popularly-contested elections.
Point Seven: The “10-12” Rule results in arbitrariness in the imposition of the death penalty.
Point Eight: The trial court failed to define the word “militates.”
Point Nine: The trial court failed to define the phrase “criminal acts of violence.”
Point Ten: The trial court erred in failing to grant Leza’s motion for mistrial.
Point Eleven: The trial court erred in excluding Trevino’s statement against penal interest.
Point Twelve: The trial court erred by failing to give certain jury instructions regarding victim
impact evidence.
Point Thirteen: The trial court failed to define the word “probability.”
Point Fourteen: The State withheld Brady material.

B.     Issues raised in the initial state application

Claim I: Leza is innocent of the charged offense of capital murder.
Claim II: Leza’s rights were violated when the trial judge excluded evidence of Leza’s innocence.
Claim III: Leza’s right to due process and a fair trial were violated because the Applicant’s
confession was obtained illegally.
Claim IV: The trial court wrongly excluded evidence of Trevino’s plea bargain.
Claim V: Leza’s trial counsel failed to provide effective assistance of counsel.
Claim VI: The trial judge fundamentally erred in combining the divergent elements of separate
offenses in a single submission of the jury charge.
Claim VII: The aggravating factors employed in the Texas Capital Sentencing Scheme are vague
and do not properly channel the jury’s discretion.
Claim VIII: Leza’s federal constitutional rights were violated when the trial judge failed to
instruct the jury that a vote by one of them would result in a life sentence.




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